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    1    Lee Gelernt*                              Bardis Vakili (SBN 247783)
         Judy Rabinovitz*                          ACLU FOUNDATION OF SAN
    2    Anand Balakrishnan*                       DIEGO & IMPERIAL COUNTIES
    3    AMERICAN CIVIL LIBERTIES                  P.O. Box 87131
         UNION FOUNDATION                          San Diego, CA 92138-7131
    4    IMMIGRANTS’ RIGHTS PROJECT                T: (619) 398-4485
    5    125 Broad St., 18th Floor                 F: (619) 232-0036
         New York, NY 10004                        bvakili@aclusandiego.org
    6    T: (212) 549-2660
    7    F: (212) 549-2654
         lgelernt@aclu.org
    8    jrabinovitz@aclu.org
    9    abalakrishnan@aclu.org
   10    Attorneys for Petitioners-Plaintiffs      *Admitted Pro Hac Vice
   11    Additional counsel on next page
   12
                             UNITED STATES DISTRICT COURT
   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14

   15   Ms. L. et al.,                                    Case No. 18-cv-00428-DMS-
   16                                                     MDD
                         Petitioners-Plaintiffs,
   17          v.                                         Date Filed: June 25, 2018
   18                                                     PLAINTIFFS’
        U.S. Immigration and Customs Enforcement
   19                                                     SUPPLEMENTAL
        (“ICE”); et al.,
                                                          MEMORANDUM IN
   20                                                     SUPPORT OF CLASSWIDE
                         Respondents-Defendants.
   21                                                     PRELIMINARY INJUNCTION

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   23                                                     NO HEARING DATE

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    1
        Spencer E. Amdur (SBN 320069)
    2   Stephen B. Kang (SBN 292280)
    3   AMERICAN CIVIL LIBERTIES UNION FOUNDATION
        IMMIGRANTS’ RIGHTS PROJECT
    4   39 Drumm Street
    5   San Francisco, CA 94111
        T: (415) 343-1198
    6   F: (415) 395-0950
    7   samdur@aclu.org
        skang@aclu.org
    8

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    1                                   INTRODUCTION
    2         On March 9, when Plaintiffs first sought classwide relief, the government
    3   had already taken hundreds of children from their parents. When this case was
    4   argued before the Court on May 4, the number of separated children had grown to
    5   more than 700. The government has since confirmed that between May 5 and June
    6   9 alone, over 2,300 children were separated from their parents. More than 2,000 of
    7   those children remain separated. This follows the government’s “zero tolerance”
    8   policy announced on May 7, three days after this Court held arguments.
    9         On June 20, President Trump signed an Executive Order that purports to end
   10   further separations. It does not. The Order contains explicit loopholes, including
   11   an exception for separations that the government deems in the “interests” of the
   12   child. Because the government interprets that best-interest standard in a way that
   13   would allow separations that are inconsistent with this Court’s prior due process
   14   opinion—and with universally accepted child welfare norms—a preliminary
   15   injunction remains critical to prevent future unlawful separations.
   16         Even more pressing, the Order does not address the reunification of already-
   17   separated families at all, and the government has no meaningful plan for swiftly
   18   ensuring that such reunifications occur. Thus, thousands of families remain
   19   separated, and many parents have no idea where their children are or how to find
   20   them. With each added day of separation, the terrible trauma inflicted by the
   21   government on both parents and children continues to mount. Many of the children
   22   are babies and toddlers who every night are crying themselves to sleep wondering if
   23   they will ever see their parents again. Indeed, one separated child was only 4
   24   months old and another was still breastfeeding. See, e.g., Declaration of Laura
   25   Tuell (“Tuell Decl.”), Ex. 32, ¶ 17b (noting child who was taken from her mother
   26   while breastfeeding); id., ¶ 17a (mother told that daughter would be waiting for her
   27   after court appearance; daughter was gone when mother came back); Declaration of
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    1   Manoj Govindaiah (“Govindaiah Decl.”), Ex. 36, ¶ 6(b) (father separated from
    2   four-month-old baby, then deported without baby).
    3         Without immediate action from this Court, these families will remain
    4   separated. The Office of Refugee Resettlement’s (“ORR”) normal release process
    5   for children in its care will not swiftly reunify most separated families, because that
    6   process is not designed to reunify children with detained parents. Having spent
    7   months cruelly separating families and defending its right to do so—including for
    8   weeks after this Court declared that practice “brutal, offensive” and contrary to
    9   “traditional notions of fair play and decency”—the government cannot be left on its
   10   own to end the suffering it has intentionally caused. This Court’s intervention is
   11   necessary to ensure that these due process violations are swiftly corrected.
   12         As set forth more fully in the proposed Order submitted with this brief,
   13   Plaintiffs respectfully request that the Court require Defendants to:
   14      1) reunify all children with their parents within 30 days, and within 10 days for
   15         children under 5 years old, except where the government has clear evidence
   16         that the parent is unfit or a danger to the child, or the parent is in a criminal
   17         facility that does not house minors;
   18      2) provide parents, within 7 days, telephonic contact with their children;
   19      3) stop separating children from their parents except where there is clear
   20         evidence that the parent is unfit or a danger to the child, or the parent is in a
   21         criminal facility that does not house minors;
   22      4) not remove separated parents from the United States without their children,
   23         unless the parent affirmatively, knowingly, and voluntarily waives the right
   24         to reunification before removal.
   25      I. Recent Events: The Government Has Now Separated More Than Two
   26         Thousand Children from Their Parents.
              Defendants have been separating thousands of families throughout the last
   27
        year. Even before the government formally announced its zero tolerance policy, it
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    1   had separated hundreds of children from their family members. See Decl. of
    2   Stephen B. Kang (“Kang Decl.”), Ex. 38, ¶ 3.
    3         On May 7, 2018, Attorney General Sessions announced an initiative to refer
    4   “100 percent” of immigrants who cross the Southwest border for criminal
    5   immigration prosecutions, also known as the “zero-tolerance policy.” Kang Decl.,
    6   Ex. 38, ¶ 4. Attorney General Sessions stated that as part of that prosecution, the
    7   parent’s child “will be separated from you as required by law.” Id.
    8         In early May, the pace of family separations increased. At a Senate Judiciary
    9   Committee hearing in May, a deputy chief of U.S. Customs and Border Protection
   10   (“CBP”) testified that between May 6 and May 19 alone, a total of 658 children
   11   were separated from their family members. Kang Decl., Ex. 38, ¶ 5. In June 2018,
   12   the Department of Homeland Security (“DHS”) reported that in the six weeks
   13   between April 19 and May 31, the administration took around 2,000 children away
   14   from their parents. Id., ¶ 6. And on June 19, CBP officials confirmed that “[o]ver
   15   2,300 children were separated from their parents at the U.S.-Mexico border
   16   between May 5 and June 9.” Id., ¶ 8; see also id., ¶ 7 (documenting cases of
   17   separated children living in cages and being cared for by other children).
   18         On June 20, President Trump issued an Executive Order (“EO”), Section 3 of
   19   which provides that DHS “shall, to the extent permitted by law and subject to the
   20   availability of appropriations, maintain custody of alien families during the
   21   pendency of any criminal improper entry or immigration proceedings involving
   22   their members.” Kang Decl., Ex. 38, ¶ 9, Sec. 3(a).
   23         The EO contains exceptions that will allow the continued unlawful family
   24   separation of families. Kang Decl., Ex. 38, ¶ 9, Sec. 3(b). And significantly, the
   25   EO makes no mention of how the government intends to reunify already-separated
   26   children with their parents, even though thousands of parents and children remain
   27   apart. The government has since claimed in a public statement that it has begun to
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    1   put in place efforts to reunite. As set forth below, however, those measures are
    2   wholly inadequate. Kang Decl., Ex. 38, ¶ 10. 1  0F




    3        II. There is No System To Reunify Separated Families Expeditiously, and
    4            the Government’s Existing “Reunification” Process Is Not Designed to
                 Address the Current Crisis.
    5
                At the June 22 telephonic hearing, the government’s counsel could not clarify
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        whether Defendants intend to quickly reunify already-separated parents. As to
    7
        parents who had been separated from their children as a result of the government’s
    8
        decision to prosecute them for illegal entry, government counsel admitted that she
    9
        “can’t speak to the . . . further effect of the executive order on that detention”:
   10
                [The Court asked before:] when a parent is released from criminal custody
   11           and taken into ICE custody, is the practice to reunite them in family
                detention? And at that time I said no, that was not the practice. I think my
   12           answer on that narrow question would be the same.
   13   Kang Decl., Ex. 38, ¶ 22 (“June 22 Hearing Transcript”), at 29:25-30:12.
   14           In response to the Court’s questions about whether any system exists that
   15   would allow separated parents to reunite with their children, government counsel
   16   relied entirely on ORR’s preexisting processes for releasing immigrant children
   17   from its custody, which do not address parents who remain in DHS custody:
   18           MS. FABIAN: There are procedures by which O.R.R. then releases minors to
                the custody of a parent who has been released from custody, and those are
   19           the procedures . . . . Whether there is . . . additional procedures that can be
                put in place to improve those procedures or expedite [them], I think that is
   20           something that is the subject of ongoing discussion. But at the moment the
                process is the same . . . .
   21
        June 22 Hearing Transcript at 30:18-31:1 (emphasis added).
   22
                The core problem is that ORR’s preexisting process for releasing children
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        from custody is not adequate to meet the current need for swift reunification. For
   24
        starters, as the government’s counsel explained at the June 22 hearing, ORR’s
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        process only addresses release to non-detained parents. June 22 Hearing Transcript
   26
        at 33:2-22. But DHS continues to detain hundreds, if not thousands, of the parents
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            The Order could of course be rescinded at any time.
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    1   whose children have been taken away. ORR’s existing process will not facilitate
    2   their reunification at all. Declaration of Robert Carey (former head of ORR)
    3   (“Carey Decl.”), Ex. 33, ¶¶ 7-9.
    4         More broadly, ORR’s sponsorship and reunification processes were designed
    5   for the entirely different situation of a child who comes to the border alone, where
    6   ORR must look for a sponsor (family member or otherwise), and investigate that
    7   sponsor. See Carey Decl., Ex. 33, ¶¶ 2-7 (describing purpose and function of
    8   preexisting reunification processes). Here, in contrast, the child was forcibly taken
    9   from his or her own parent. In this situation, ORR must simply give the child back
   10   (absent clear evidence the parent is unfit or a danger). But that is not happening.
   11   ORR’s preexisting process is simply not set up to quickly reunite an unlawfully
   12   separated child. See Kang Decl., Ex. 38, ¶ 23 (describing a separated parent’s
   13   attempt to reunite with her child using ORR’s existing process).
   14         For example, ORR has no systems designed to flag a child as having been
   15   separated from a parent at or near the time of the family’s arrest; track the identity
   16   and detention location of the separated child’s parent after the separation; ensure
   17   regular contact between a separated detained child and her detained parent; or
   18   reunify the child and parent in an ICE family detention facility. See Carey Decl.,
   19   Ex. 33 ¶¶ 8-9; Supplemental Declaration of Michelle Brané (“Supp. Brané Decl.”),
   20   Ex. 31, ¶¶ 4-5, 8-11; Supplemental Declaration of Jennifer Podkul (“Supp. Podkul
   21   Decl.”), Ex. 30, ¶¶ 3-5, 12; Tuell Decl., Ex. 32, ¶¶ 7-17 (numerous parents
   22   separated from kids and given no information about their kids’ locations).
   23         Now that the government is aware that its actions are under scrutiny, it is
   24   likely to point to hastily-created and ad hoc procedures to show that it is addressing
   25   the current crisis. But its June 23 DHS Fact Sheet only describes a process by
   26   which “adults who are subject to removal are reunited with their children for the
   27   purposes of removal.” Kang Decl., Ex. 38, ¶ 10 (“DHS Fact Sheet”); see id.
   28   (describing “removal coordination”). It does not show the existence of any process
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    1   to swiftly reunify all detained parents with their children. See also Supp. Brané
    2   Decl., Ex. 31, ¶ 12 (explaining why the processes described in the Fact Sheet will
    3   not reunify detained parents); Supp. Podkul Decl., Ex. 30, ¶ 14 (same).
    4         Moreover, the evidence demonstrates that these recent steps are woefully
    5   inadequate even to allow communication between parents and children, much less
    6   to reunite them. For instance, ORR has created a 1-800 hotline number that
    7   supposedly allows parents to find the children that have been taken from them. But
    8   ORR’s hotline regularly puts people on hold for 30 minute periods, and it is
    9   infeasible for detained parents to stay on the line that long. See Supp. Brané Decl.,
   10   Ex. 31, ¶¶ 5-6; Supp. Podkul Decl., Ex. 30, ¶¶ 6-8. Moreover, ORR’s hotline is
   11   now generating a constant busy signal. Id. Similarly, DHS has created a hotline for
   12   ORR caseworkers or attorneys trying to find parents. But that hotline merely
   13   permits a caller to request contact with a detained parent, and field offices can
   14   decline to respond to such requests. Supp. Podkul Decl., Ex. 30, ¶¶ 10-11; see also
   15   Govindaiah Decl., Ex. 36, ¶ 6(c) (describing detained separated parents who could
   16   not access ORR/DHS communications systems to contact children).
   17         Thus, if the government is left to follow its existing practices – which put the
   18   onus on parents to request reunification with their children, and without any reliable
   19   system in place for them to do so -- the overwhelming majority of children will not
   20   be reunited any time in the near future. That will mean that more and more children
   21   will suffer irreparable harm. As Plaintiffs’ preliminary injunction briefs explained,
   22   the forcible separation of children can permanently traumatize children, and the
   23   effects can last through the child’s lifetime. Over the past month, the scientific and
   24   professional condemnation of the administration’s practice has only grown, with
   25   thousands of experts joining to describe the lasting harm that every day of
   26   separation inflicts on children. Major medical associations—including the
   27   American Medical Association, the American College of Physicians, the American
   28   Academy of Pediatrics, the American Psychological Association, the American
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    1   Psychiatric Association, and a group of over 5,000 medical professionals and
    2   experts—have voiced their vehement and unified opposition to this brutal practice.
    3   Kang Decl., Ex. 38, ¶¶ 11-19.
    4         Nor is there any question that the assessment of the medical community is
    5   correct. One of the parents who submitted a declaration in this case, J.I.L., was
    6   finally reunited with her 4 and 10 year-old boys after months of separation, but both
    7   boys constantly ask whether someone will come to take them from their mother
    8   again. Declaration of Lisette Diaz, Ex. 35, ¶¶ 2-3. The 4 year-old is having
    9   nightmares, and often wakes in the night to search for his mother. Id., ¶ 3. That
   10   deep-seated, potentially permanent trauma and sense of vulnerability is precisely
   11   what the medical community predicted would occur. This little boy, and thousands
   12   of other small children, will be forever scarred. And this is to say nothing of the
   13   harm that parents are suffering. See Kang Decl., Ex. 38, ¶ 20 (reporting on father
   14   who committed suicide after being separated from his family).
   15         Immediate injunctive relief is necessary to ensure that the daily irreparable
   16   harm of separation ends promptly.
   17      III.   The Flores Settlement Agreement Does Not Prohibit the
   18             Reunification of Separated Children with Their Detained Parents.
              At the June 22 hearing, this Court inquired whether any injunctive relief
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        would “be good for only a 20-day period in light of the Flores Settlement . . . .”
   20
        June 22 Hearing Transcript at 13:5-10. As Plaintiffs explained, even if the Flores
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        settlement rigidly required release of children on the 20th day, which it does not, it
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        would still mean the government should be reuniting children with their detained
   23
        parents for that 20-day period, which the government is not doing. Id. at 13:20-
   24
        14:1. Moreover, many families are released by or before the 20-day mark, because
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        they are able to show they have bona fide asylum claims and are not a flight risk or
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        danger. Id. at 14:2-5; Declaration of Carlos Holguin (“Holguin Decl.”), Ex. 37, ¶ 9.
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        Most fundamentally, the Flores Settlement does not remotely abrogate or remove a
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    1   parent’s existing right to make decisions concerning the care and custody of their
    2   own children. See June 22 Hearing Transcript at 14:6-16:10. The Settlement is for
    3   the benefit of the children and in no way would require the forcible release of a
    4   child where the parent believes it is not in the child’s best interests. Thus, where a
    5   parent and child are detained together in a family detention center, a parent may
    6   choose to keep the child with her, especially where the child is of a tender age. See
    7   Holguin Decl., Ex. 37, ¶¶ 5-8, 10 (Flores Class Counsel explaining that the
    8   settlement does not require release over the parent’s objection). In short, the Flores
    9   Settlement poses no bar to ordering reunification of children with detained parents. 2   1F




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            IV.   Any Injunction Should Ensure That Parents in DHS Custody Can
   11             Remain Detained with Their Children, Even if the Parents Are
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                  Facing Criminal Prosecution.
              Plaintiffs wish to clarify a point of confusion that may have arisen as a
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        consequence of the government’s shifting practice regarding the detention of
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        parents facing criminal prosecution. Plaintiffs continue not to challenge the
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        separation of a parent from a child for the period that the parent is in a criminal
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        facility that does not permit children. However, the mere fact that the parent is
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        being prosecuted for illegal entry does not mean that separation is required. If the
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        parent is being prosecuted but is nonetheless being held in a DHS facility, then
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        there is no need to separate the family, because DHS can house families. And
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        indeed, the June 20 Executive Order directs DHS to detain parents with their
   21
        children “during the pendency of any criminal improper entry or immigration
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        2
   24    Plaintiffs’ claim in this case, and this discussion of Flores, pertain only to those
        parents who came to the United States with their minor children, and were
   25   separated from their children by DHS. This case does not address the rights of
   26   children who come to the United States alone. In addition, any knowing and
        voluntary waiver by the parent of their child’s release rights under Flores would
   27   apply narrowly to the child’s right to be released or held in a licensed facility after
   28   20 days. The parent would not, of course, waive any other rights that Flores
        provides.
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    1   proceedings . . . .” EO Sec. 3(a). Accordingly, a plaintiff parent and child should
    2   have the ability to remain together, even if the parent is currently undergoing
    3   criminal prosecution, as long as the parent is detained in a DHS facility, rather than
    4   a criminal facility that does not permit children.
    5

    6       V. An Injunction to Prevent Future Separations Remains Necessary, and
    7          the Court Should Order the Government to Follow Well-Established
               Child Welfare Standards.
    8
              Plaintiffs also request that this Court preliminarily enjoin future separations.
    9
        Although the June 20 Executive Order purports to end future separations, it
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        contains a significant carve-out that authorizes family separation “when there is a
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        concern that detention of an alien child with the child’s alien parent would pose a
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        risk to the child’s welfare.” Kang Decl., Ex. 38, ¶ 9, EO Sec. 3(b) (emphasis
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        added). Those vague terms are not defined, and allow DHS officers enormous
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        leeway to effect separations for unconstitutional reasons. 3
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              The example of S.S., who was taken from Ms. L. based on a mere allegation
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        that they were not related, is illustrative. As the Court is aware, Defendants have
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        claimed that it was in the 6 year-old’s own interests to be separated from her
   18
        mother, because Ms. L did not have her documents with her by the time she reached
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        the United States after a 10-country journey from the Congo (a common occurrence
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        for asylum seekers, see Anker and Gilman Declarations, Dkt. 48-1, Exs. 19-20).
   21
        Yet rather than verify parentage through a DNA test or other means, the
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        government separated the child for close to 5 months. This ran contrary to well-
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        settled child welfare practices. As explained by one the country’s leading child
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        welfare experts, it would never be in a child’s interests to separate the child before
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        taking basic steps to verify parentage, even where the government genuinely had
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   27   3
         Lawyers representing separated parents testify that separations are continuing to
   28   occur in cases, like Ms. L.’s, where the parent has not been prosecuted. See Tuell
        Decl., Ex. 32, ¶¶ 7-12, 13a, 13c, 14-15, 16d, 16f, 16h, 16i, 16l-16p, 16r-16s.
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    1   doubts about parentage (something that would have seemed unlikely in Ms. L.’s
    2   case given that the child was frantically pleading with officers not to take her away
    3   from her mother). See Guggenheim Decl., Ex. 17, Dkt. 48-1, ¶¶ 14-20.
    4         Critically, Defendants have continued to defend the legality of Ms. L.’s
    5   separation from her daughter. Thus, because the EO allows the government to
    6   separate when it deems it in the interests of the child, the EO does not eliminate the
    7   need for an injunction to prevent future separations. To the contrary, the EO is an
    8   explicit grant of authority for the government to continue separations like Ms. L.’s.
    9         At the June 22 hearing, the Court also asked if it would be appropriate to
   10   separate children on the basis of criminal history. It is not, unless the criminal
   11   history is indicative of a parent’s danger to his or her child. Professor
   12   Guggenheim’s supplemental declaration explains that “the only basis for separating
   13   children from parents in American law is when it is done to protect them from
   14   imminent danger that could result from being allowed to continue to reside with the
   15   parent.” Supp. Guggenheim Decl., Ex. 34, ¶ 6. Therefore, “[c]riminal convictions
   16   are relevant only insofar as they bear on the fitness of the parent, and even then
   17   must be considered in combination with a totality of the factors that go to the best
   18   interests of the child.” Id.; see id., ¶¶ 8-9 (citing state case law explaining that
   19   under a proper application of the best-interest standard, mere fact of criminal record
   20   does not make a parent unfit). Otherwise, a parent could lose her child merely
   21   because she made a mistake in the past. 4 3F




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   23
        4
   24    Indeed, the June 23 DHS Fact Sheet underscores the need for an injunction,
        because it explains that even its limited reunification procedures may not apply
   25   whenever “the adult is a criminal alien.” Kang Decl., Ex. 38, ¶ 10. This broad,
   26   undefined term is deeply at odds with the best-interest standard, as it does not
        provide any individual assessment of the severity of the criminal record, let alone
   27   whether that record bears on the fitness of the parent.
   28

                                                       10                               18cv0428
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    1          Applying this universally-accepted understanding, Plaintiffs’ proposed order
    2   would still permit the government to separate children when there is a genuine
    3   reason for believing that the parent is a danger to the child, but would not permit the
    4   government to separate a family whenever it simply declared it in the child’s
    5   interests.”
    6
           VI.    Parents Facing Imminent Deportation Require Safeguards to Ensure
    7             that They Are Not Removed Without Their Children.
    8          Parents who are facing imminent deportation without their separated children
    9   are in particularly grave need of immediate relief. As the Court observed, parents
   10   facing deportation without their accompanying children are “part and parcel” of this
   11   case. June 22 Hearing Transcript at 41:16-22; Am. Compl., Dkt. 32, at 12.
   12          There is evidence that parents have been deported without their children. See
   13   Govindaiah Decl., Ex. 36, ¶ 6(b) (father separated from four-month-old baby, both
   14   deported separately); Kang Decl., Ex. 38, ¶ 21 (father separated from six-year-old
   15   daughter, then deported without her); Tuell Decl., Ex. 32, ¶ 16k (parent who was
   16   deported without her child). There is a real risk of this continuing to occur given
   17   the lack of tracking, and parents are terrified that this will happen to them. See
   18   Declaration of Kristin Greer Love, Ex. 29, ¶¶ 4-18 (describing cases of fathers at
   19   risk of imminent deportation who remain separated from young children). This
   20   Court should therefore prohibit the government from removing any parent without
   21   their minor child where the parent requests to be deported with the child.
   22      VII. Plaintiffs’ Order Provides the Appropriate Framework for
                Expeditious Reunification.
   23
               Plaintiffs have attached a Proposed Order that sets forth their requested relief
   24
        in greater detail. The Proposed Order includes three key components.
   25
               First, it sets clear deadlines for reunifying already-separated children with
   26
        their parents. Without timetables, it is impossible to ensure compliance with the
   27
        injunction. For example, in this case, Ms. L. was separated from her daughter on
   28

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    1   November 5 and was not reunited until March 16—five months of separation
    2   resulting from the government’s failure to take simple steps to confirm her
    3   relationship with her daughter. Ms. C. was reunited in June, more than eight
    4   months after her release from criminal custody. Mr. U., another parent declarant in
    5   this case, has still not been reunited after eight months. The length of these
    6   separations is typical of the class.
    7         Thirty days is an appropriate general deadline for the government to mobilize
    8   its substantial resources to fix a problem that it deliberately created, and reunify all
    9   parents—whether detained or not—with their children (absent clear evidence of
   10   neglect, abuse or unfitness or a detained parent’s stated desire that the child not be
   11   reunified with them). A shorter deadline—10 days—is appropriate for children
   12   under age five, since they are particularly vulnerable. See, e.g., Hernandez v.
   13   Sessions, 872 F.3d 976 (9th Cir. 2017) (affirming injunction requiring DHS to
   14   provide class members bond hearings within 45 days); Saravia v. Sessions, 280 F.
   15   Supp. 3d 1168, 1205-06 (N.D. Cal. 2017) (ordering agency to grant hearings for
   16   detained youth within 7 days of rearrest); Armstrong v. Schwarzenegger, 2007 WL
   17   2694243, at *6 (N.D. Cal. Sept. 11, 2007) (ordering agency to implement new
   18   tracking system for parole proceedings within 14 days).
   19         Second, the Court should order the government to provide Class Members
   20   with a way to contact their children telephonically within one week of the order.
   21   Many of the parents do not even know where their children are, and have not had
   22   any chance to reassure their children that reunification will happen. See, e.g., Tuell
   23   Decl., Ex. 32, ¶¶ 7-17 (describing dozens of cases at one detention center alone in
   24   which parents were not told where their separated children were taken).
   25         Third, the Court should ensure that any future separations comply with well-
   26   settled constitutional due process standards. Importantly, the mere presence of
   27   criminal history cannot be a categorical bar to reunification, nor can the government
   28

                                                   12                                  18cv0428
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    1   fail to take basic steps to verify parentage prior to separation (as it did in Ms. L.’s
    2   case). See Supp. Guggenheim Decl., Ex. 34, ¶¶ 5-6. 5   4F




    3                                        *      *      *
    4         Defendants may claim in their upcoming filings that they intend to create a
    5   plan for reunification and to stop future separations. The time for vague promises
    6   has passed, especially given that this Court put the government on notice three
    7   weeks ago that the practice of separating fit parents from their children was “brutal
    8   [and] offensive,” in violation of due process.
    9         Despite the Court’s warning, the government continued to separate hundreds
   10   of additional children each week, and, as importantly, has failed to reunify those it
   11   has separated. Indeed, for those separations that occurred due to a prosecution
   12   (such as Ms. C.’s), the government does not even offer a justification for continuing
   13   the separation once the parent is released from jail. It simply argues that the initial
   14   separation was justified while the parent was in criminal custody.. But that is
   15   wholly unresponsive to Plaintiffs’ claim that the continued separation is
   16   unconstitutional without a clear demonstration of unfitness or danger to the child.
   17         Only this Court can immediately remedy the severe harm that the
   18   government’s unconstitutional policies have wreaked on these vulnerable children
   19   and their parents. No more parents and children should have to go sleep wondering
   20   if and when they will ever see each other again.
   21

   22

   23

   24

   25   5
          The Court asked if Plaintiffs currently sought to enjoin separations occurring in
   26   the interior of the United States. June 22 Hearing Transcript at 19:17-22. Plaintiffs
        maintain that all unlawful separations should be enjoined. But if the Court
   27   determines that further record development would be necessary regarding the
   28   interior, the Court can reserve that issue and order relief for all class members who
        were apprehended at or within 100 miles of the U.S.-Mexico border.
                                                   13                                 18cv0428
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    1                                     CONCLUSION
    2         For these reasons, this Court should grant Plaintiffs’ request for a preliminary
    3   injunction.
    4

    5   Dated: June 25, 2018                      Respectfully Submitted,
    6                                             /s/ Lee Gelernt
    7   Bardis Vakili (SBN 247783)                Lee Gelernt*
        ACLU FOUNDATION OF SAN                    Judy Rabinovitz*
    8   DIEGO & IMPERIAL COUNTIES                 Anand Balakrishnan*
    9   P.O. Box 87131                            AMERICAN CIVIL LIBERTIES
        San Diego, CA 92138-7131                  UNION FOUNDATION
   10   T: (619) 398-4485                         IMMIGRANTS’ RIGHTS PROJECT
   11   F: (619) 232-0036                         125 Broad St., 18th Floor
        bvakili@aclusandiego.org                  New York, NY 10004
   12                                             T: (212) 549-2660
   13   Spencer E. Amdur (SBN 320069)             F: (212) 549-2654
        Stephen B. Kang (SBN 292280)              lgelernt@aclu.org
   14   AMERICAN CIVIL LIBERTIES                  jrabinovitz@aclu.org
   15   UNION FOUNDATION                          abalakrishnan@aclu.org
        IMMIGRANTS’ RIGHTS PROJECT
   16   39 Drumm Street
   17   San Francisco, CA 94111
        T: (415) 343-1198
   18   F: (415) 395-0950                         *Admitted Pro Hac Vice
   19   samdur@aclu.org
        skang@aclu.org
   20

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    1                           CERTIFICATE OF SERVICE
    2         I hereby certify that on March 19, 2018, I electronically filed the foregoing
    3
        with the Clerk for the United States District Court for the Southern District of
    4

    5   California by using the appellate CM/ECF system. A true and correct copy of this
    6   brief has been served via the Court’s CM/ECF system on all counsel of record.
    7
                                                    /s/ Lee Gelernt
    8                                               Lee Gelernt, Esq.
    9

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    1           Ms. L. et al., v. U.S. Immigration and Customs Enforcement, et al.
    2      EXHIBITS TO PLAINTIFFS’ SUPPLMENTAL MEMORANDUM IN
    3        SUPPORT OF CLASS-WIDE PRELIMINARY INJUNCTION
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    5

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                Exhibit 29




                                                           Exhibit 29, Page 17
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 1   Lee Gelernt*                               Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                           ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                        DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                   P.O. Box 87131
 3   UNION FOUNDATION                           San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT                 T: (619) 398-4485
 4   125 Broad St., 18th Floor                  F: (619) 232-0036
     New York, NY 10004                         bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654                          Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                          Stephen B. Kang (SBK 292280)
     jrabinovitz@aclu.org                       AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                     UNION FOUNDATION
 8                                              IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs       39 Drumm Street
 9   Additional counsel on next page            San Francisco, CA 94111
                                                T: (415) 343-1198
10
                                                F: (415) 395-0950
11                                              samdur@aclu.org
                                                skang@aclu.org
12
                                                *Admitted Pro Hac Vice
13
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16                         Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
17 v.
                                                        DECLARATION OF KRISTIN
18 U.S. Immigration and Customs Enforcement             GREER LOVE
   (“ICE”); et al.,
19                                                      CLASS ACTION
                            Respondents-Defendants.
20
21
22
23
24
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                                                                   Exhibit 29, Page 18
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 1
     1.    I, Kristin Greer Love, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I am a Staff Attorney with the ACLU of New Mexico. I am an active member
 5
     of the State Bar of New Mexico and an inactive member of the State Bar of
 6
     California.
 7
     3.    On June 21, 2018, I visited the Otero County Processing Center, a private
 8
     prison where people in ICE custody are detained, in Chaparral, New Mexico. There, I
 9
     met with three fathers from Honduras (Mr. S., Mr. J., and Mr. M.) who are separated
10
     from their children and are now facing imminent deportation. All three fathers have
11
     signed forms ordering their removals from the United States. But they remain
12
     separated from their children and fear being imminently removed without their
13
     children.
14
                                              Mr. S.
15
     4.    Mr. S, a 27-year-old father, has been separated from his 6½-year-old son, J.,
16
17
     since May 26, 2018. He has only spoken with his son twice by phone since then. He

18
     wept throughout our meetings and fears that he will never see his son again.

19   5.    Mr. S and his son came to the United States on May 23, 2018. Border Patrol

20   kept them in cold temporary detention cells—known as hieleras or freezers—for three

21   days. On May 26, government agents arrived and lined up the children on one side of
22   the hielera and the parents on the other side. The agents took J., and did not say
23   anything about where they were going to take him. He was devastated and feared for
24   his son’s safety. Mr. S struggles to sleep and thinks constantly about his son.
25   6.    Mr. S. was then sent to a prison in El Paso, Texas. Mr. S. was convicted of
26   illegal entry and sentenced to “time served.” Mr. S was then transferred to ICE
27   custody in Otero.
28



                                                                      Exhibit 29, Page 19
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 1
     7.    Mr. S. knows that his 6-year-old son is detained at a children’s shelter in
 2
     Miami, Florida. But he has had difficulty speaking with his son or his son’s
 3
     caseworker. Mr. S. said that he has to pay for calls to ORR and the shelter, and was
 4
     not aware of any way that he could communicate with ORR or the shelter without
 5
     paying by the minute for calls on the private prison phones.
 6
     8.    On June 21, the day after the President issued the Executive Order on family
 7
     separation, Border Patrol agents visited Mr. S. and told him that he had three options:
 8
     (1) sign a deportation order and be reunited with his child; (2) sign a deportation order
 9
     and request to be deported without his child; (3) refuse to sign the order and be sent to
10
     a “federal prison,” where he would be jailed “indefinitely” with his child.
11
     9.    Mr. S. chose the first option. But he is very scared that the government will not
12
     reunify his son with him before the government deports him to Honduras. The
13
     government and the private prison guards refuse to give him any information.
14
                                              Mr. J.
15
     10.   Mr. J. and his seven-year-old son, L., came to the United States on May 10,
16
17
     2018, and turned themselves in to Border Patrol. Border Patrol agents told Mr. J. that

18
     he would be transferred to federal custody and that his son would be placed in a foster

19   home until he (Mr. J) completed his sentence. The agents asked for Mr. J’s

20   identification card and L’s birth certificate, which Mr. J provided.

21   11.   Mr. J asked the agent why they were separating him and his young son and the
22   agent told him he was “foolish” for bringing his son.
23   12.   In the hielera, when they agents came to take the children, Mr. J. told L. that he
24   was going to play with the other children. The agents took the children away from the
25   holding cell, leaving the parents behind. That was the last time Mr. J saw L.
26   13.   Mr. J spoke with L. once, on June 20, 2018. He believes that his son is in
27   Phoenix, but he is not sure. Mr. J and L’s family members completed paperwork so
28



                                                                       Exhibit 29, Page 20
 Case 3:18-cv-00428-DMS-MDD Document 78 Filed 06/25/18 PageID.1431 Page 25 of 259



 1
     that L could go and live with them. But L. refuses to live with those family members
 2
     because he wants to be with his father.
 3
     14.   On June 21, Border Patrol agents visited Mr. J. (as they did Mr. S.) and gave
 4
     him the same choice between accepting his deportation and being sent to a federal
 5
     facility with his son. Mr. J. chose to be deported with his son.
 6
     15.   L.’s caseworker has contacted Mr. J. and told him that she is waiting for Mr.
 7
     J.’s deportation paperwork so they can be deported together. But Mr. J. has heard of
 8
     other parents being deported without their children, and he fears this will happen to
 9
     him. Mr. J is overwhelmed with grief and sadness and is desperate to be reunified with
10
     his son.
11
                                               Mr. M.
12
     16.   Mr. M is 38 years old and the father of 13-year-old L. They came to the United
13
     States on May 12, 2018. They spent three days together in a cold holding cell. On the
14
     third day, a government agent told Mr. M.: “You will go to a prison for zero to six
15
     months,” the agent said. “The boy will go to a shelter.” They agent allowed the father
16
17
     and son to hug before they took his son away.

18
     17.   That was the last day that Mr. M saw L. He has not spoken with his son since

19   and does not know where his son is. No one at Otero has told him how he can locate

20   his son. Mr. M spoke with the Honduran consulate and pleaded for help. The consular

21   official said that they could not help and that his son is in the hands of the U.S.
22   government.
23   18.   Mr. M. agreed to his deportation more than a week ago and begged the Border
24   Patrol agent who presented him with the form to help reunify him with his son. Mr. M
25   is desperate to be reunified with his son before he or his son is deported. He fears that
26   he will never see his son again.
27
28



                                                                        Exhibit 29, Page 21
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 1
           I declare under penalty of perjury that to the best of my knowledge the above
 2
     facts are true and correct. Executed this 24th day of June, 2018, in Albuquerque, New
 3
     Mexico.
 4
 5
 6
 7
                                                     _________________________
 8                                                   KRISTIN GREER LOVE
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                                                                    Exhibit 29, Page 22
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                Exhibit 30




                                                           Exhibit 30, Page 23
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 1   Lee Gelernt*                            Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                        ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                     DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                P.O. Box 87131
 3   UNION FOUNDATION                        San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT              T: (619) 398-4485
 4   125 Broad St., 18th Floor               F: (619) 232-0036
     New York, NY 10004                      bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654                       Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                       Stephen B. Kang (SBK 292280)
     jrabinovitz@aclu.org                    AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                  UNION FOUNDATION
 8                                           IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs    39 Drumm Street
 9   Additional counsel on next page         San Francisco, CA 94111
                                             T: (415) 343-1198
10
                                             F: (415) 395-0950
11                                           samdur@aclu.org
                                             skang@aclu.org
12
                                             *Admitted Pro Hac Vice
13
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                       Petitioners-Plaintiffs,        Case No. 18-cv-00428-DMS-MDD
17 v.
                                                      SUPPLEMENTAL
18 U.S. Immigration and Customs Enforcement           DECLARATION OF JENNIFER
   (“ICE”); et al.,                                   PODKUL
19
                            Respondents-Defendants.   CLASS ACTION
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                                                                Exhibit 30, Page 24
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 1
     1.    I, Jennifer Podkul, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I am an attorney and Director of Policy at Kids in Need of Defense (“KIND”), a
 5
     national organization that represents children in immigration matters throughout the
 6
     United States, promotes pro bono representation of immigrant children, and advocates
 7
     for laws and policies that ensure the protection of children and promotes their rights to
 8
     due process and fundamental fairness. I am a member of the State Bar of Maryland.
 9
     3.    KIND represents or coordinates the representation of thousands of immigrant
10
     children throughout the United States, including children who are held in the custody
11
     of the Office of Refugee Resettlement (“ORR”), as well as those who have been
12
     reunified with a sponsor in the United States. KIND is representing children detained
13
     in Washington who have been separated from their parents. KIND runs a return and
14
     reintegration program in Guatemala and Honduras for children wishing to return to
15
     their country of origin. We provide technical assistance to lawyers for immigrant
16
17
     children.

18
     4.    Since the government began separating children from their accompanying

19   parents, we have begun representing several such children. We have received

20   numerous requests from other lawyers and advocates who are working with this

21   population and seeking to reunite the children with their parents. Accordingly, our
22   organization is familiar with the issues faced by separated children, including barriers
23   to reunifying them with their accompanying parents.
24   5.    To my knowledge, the government currently has no automatic system for
25   reuniting children the government has separated from their parents. My understanding
26   is that the government has no method for even identifying the parents of separated
27   children.
28



                                                                      Exhibit 30, Page 25
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 1
     6.    Currently, there are two general methods for reuniting separated children with
 2
     their parents, depending on whether the parent remains in ICE custody or has been
 3
     released from immigration detention.
 4
     7.    A parent can only seek to find out where their separated child has been taken by
 5
     calling a hotline. The parent can call that number, explain who they are, and try to
 6
     obtain information about their child. Supposedly, an ORR case worker will try to
 7
     match the parent to a separated child in its custody, and then call the parent back.
 8
     8.    This system is not functioning in practice, however. This hotline is now
 9
     completely overburdened with phone calls, and KIND was receiving reports that
10
     persons calling that number were put on hold for as long as 30 minutes. Parents in
11
     detention have restricted phone access, and cannot stay on the line nearly that long.
12
     9.    Moreover, the toll free number does not work from outside of the country. That
13
     means for parents who have already been deported they cannot call this number to try
14
     and find out where their child is being detained.
15
     10.   Alternatively, the separated child can attempt to find out where their detained
16
17
     parent is located, either through an ORR case worker or the child’s attorney. Of

18
     course, this is only possible if the child is old enough to communicate relevant

19   information; a very young child cannot even do that much. Sometimes, but not

20   always, there is information in the child’s case file that will indicate who the parent is

21   and where they might be detained.
22   11.   As stated above, this ORR worker or child’s attorney cannot directly call a
23   detained parent. Instead, ICE has provided its own hotline number for parents seeking
24   to find out where their separated children are located. So an ORR worker or attorney
25   must call that hotline and leave a message with ICE. The ICE hotline worker then
26   sends a message to the local ICE field office where the parent is detained, and requests
27   that the field office arrange communication between parent and child. Sometimes the
28   field office refuses that request or is too overburdened to timely respond.


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                Exhibit 31




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 1   Lee Gelernt*                               Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                           ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                        DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                   P.O. Box 87131
 3   UNION FOUNDATION                           San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT                 T: (619) 398-4485
 4   125 Broad St., 18th Floor                  F: (619) 232-0036
     New York, NY 10004                         bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654                          Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                          Stephen B. Kang (SBN 292280)
     jrabinovitz@aclu.org                       AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                     UNION FOUNDATION
 8                                              IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs       39 Drumm Street
 9   Additional counsel on next page            San Francisco, CA 94111
                                                T: (415) 343-1198
10
                                                F: (415) 395-0950
11                                              samdur@aclu.org
                                                skang@aclu.org
12
                                        *Admitted Pro Hac Vice
13                         UNITED STATES DISTRICT COURT
14                       SOUTHERN DISTRICT OF CALIFORNIA
     Ms. L., et al.,
15
                           Petitioners-Plaintiffs,    Case No. 18-cv-00428-DMS-MDD
16 v.
17 U.S. Immigration and Customs Enforcement           SUPPLEMENTAL
                                                      DECLARATION OF MICHELLE
18 (“ICE”); et al.,                                   BRANE
19                          Respondents-Defendants.   CLASS ACTION
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                                                                 Exhibit 31, Page 29
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 1
     1.    I, Michelle Brané, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I am an attorney and Director of the Migrant Rights and Justice Program at the
 5
     Women’s Refugee Commission (“WRC”). WRC is a national research and policy
 6
     advocacy organization that protects the rights of women, children, and youth
 7
     displaced by conflict and crisis. I am expert in U.S. immigration policies and
 8
     detention, particularly the custody and detention of young children and families
 9
     fleeing persecution. I am a member of the State Bar of New York.
10
     3.    Since the U.S. government began separating children from their accompanying
11
     family members, WRC has been attempting to identify systems for tracking parents
12
     and children, attempting to track and document identified cases, and advocating for
13
     better systems to reunify separated children with their parents.
14
     4.    My understanding is that the government currently has no system in place for
15
     automatically reunifying a separated child with her parent. Either the parent or the
16
17
     child (working through an Office of Refugee Resettlement (“ORR”) case worker or an

18
     attorney) must request to make contact or for reunification with their family members.

19   5.    My understanding also is that the government has no method for even tracking

20   or identifying the separated child’s parents. When a family comes to the border, and

21   the Department of Homeland Security (“DHS”) or Customs and Border Patrol
22   (“CBP”) takes the child, the parent is currently given no information about where the
23   child will be sent. In some cases parents are told to call a 1-800 hotline number for
24   information, but no other detail is provided. Similarly, when the child is referred to
25   ORR custody, the child is given no information about where their parent is detained.
26   6.    We have received reports from parents who attempt to call the 1-800 hotline
27   that it is ineffective. Some report that they get only busy signals when they call,
28   others report being placed on hold for over 30 minutes which results in being


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 1
     disconnected due to limited phone access from ICE detention. Others have not even
 2
     been informed of this hotline. Even if contact is made through the hotline, they are
 3
     instructed to leave a message with their identifying information and relationship to the
 4
     child, and a number where they can be reached. ICE detainees are not able to receive
 5
     phone calls in detention. Thus, the only method of obtaining information or
 6
     communicating with their child is through one-on-one requests and cooperation from
 7
     an ICE Detention Officer.
 8
     7.    Of course, both children and parents are frequently transferred among different
 9
     facilities. So even if a person knew where their family member was at a specific point
10
     in time, that information will likely be out of date in a matter of days or weeks.
11
     8.    My understanding is that U.S. Customs and Border Protection (which is
12
     responsible for apprehending and processing families arrested at or near the border),
13
     and Immigration and Customs Enforcement (which is responsible for maintaining
14
     long-term immigration detention facilities) do not share a database. The two agencies
15
     also have no way of accessing information contained in the other agency’s database.
16
17
     So when CBP sends a separated parent to ICE, there is no way for ICE to tell whether

18
     the parent was apprehended with minor children, or what happened to those minor

19   children.

20   9.    It is also my understanding that neither the CBP nor the ICE databases are

21   coordinated with the Department of Health and Human Safety (“HHS”) or the Office
22   of Refugee Resettlement (“ORR”).
23   10.   While it is my understanding that CBP has developed an identifying number for
24   families that have been apprehended together, my understanding is that this number is
25   not transferred into the ICE or HHS-ORR databases.
26   11.   It is my understanding that even where contact between a parent and a child is
27   made, ICE has no plans or procedures in place to reunify the parent with the child
28   other than arranging for them to be deported together after the parent’s immigration


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 1
     case is concluded. I am not aware of any directive instructing Deportation Officers to
 2
     facilitate reunification while the immigration case is pending.
 3
     12.   I have seen and reviewed public statements by government agencies since the
 4
     Executive Order was issued, such as the DHS “Fact Sheet” on family separation.
 5
     These statements simply confirm that ORR will use its preexisting processes for
 6
     reuniting children with their parents, which only apply to nondetained parents. As to
 7
     parents in ICE detention, the Fact Sheet, for example, indicates only that they will
 8
     reunite parents “at time of removal.” But removal proceedings can take months or
 9
     even years to resolve, particularly if a parent is requesting asylum, and the
10
     government’s recent statements do not address what will happen to parents in ICE
11
     custody awaiting the conclusion of their proceedings.
12
     13.   I declare under penalty of perjury under the laws of the United States of
13
     America and Maryland that the foregoing is true and correct, based on my personal
14
     knowledge. Executed in Hyattsville, Maryland on June 25, 2018.
15
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17
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19                                                     __________________________
20
                                                       MICHELLE BRANE

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                                                                       Exhibit 31, Page 32
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                Exhibit 32




                                                           Exhibit 32, Page 33
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 1   Lee Gelernt*                            Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                        ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                     DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                P.O. Box 87131
 3   UNION FOUNDATION                        San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT              T: (619) 398-4485
 4   125 Broad St., 18th Floor               F: (619) 232-0036
     New York, NY 10004                      bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654                       Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                       Stephen B. Kang (SBK 292280)
     jrabinovitz@aclu.org                    AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                  UNION FOUNDATION
 8                                           IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs    39 Drumm Street
 9   Additional counsel on next page         San Francisco, CA 94111
                                             T: (415) 343-1198
10
                                             F: (415) 395-0950
11                                           samdur@aclu.org
                                             skang@aclu.org
12
                                             *Admitted Pro Hac Vice
13
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                       Petitioners-Plaintiffs,        Case No. 18-cv-00428-DMS-MDD
17 v.
                                                      SUPPLEMENTAL
18 U.S. Immigration and Customs Enforcement           DECLARATION OF LAURA K.
   (“ICE”); et al.,                                   TUELL
19
                            Respondents-Defendants.   CLASS ACTION
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                Exhibit 33




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 1   Lee Gelernt*                            Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                        ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                     DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                P.O. Box 87131
 3   UNION FOUNDATION                        San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT              T: (619) 398-4485
 4   125 Broad St., 18th Floor               F: (619) 232-0036
     New York, NY 10004                      bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654                       Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                       Stephen B. Kang (SBK 292280)
     jrabinovitz@aclu.org                    AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                  UNION FOUNDATION
 8                                           IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs    39 Drumm Street
 9   Additional counsel on next page         San Francisco, CA 94111
                                             T: (415) 343-1198
10
                                             F: (415) 395-0950
11                                           samdur@aclu.org
                                             skang@aclu.org
12
                                             *Admitted Pro Hac Vice
13
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                       Petitioners-Plaintiffs,        Case No. 18-cv-00428-DMS-MDD
17 v.
                                                      SUPPLEMENTAL
18 U.S. Immigration and Customs Enforcement           DECLARATION OF ROBERT
   (“ICE”); et al.,                                   CAREY
19
                            Respondents-Defendants.   CLASS ACTION
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 1
     1.    I, Robert Carey, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I previously served as Director of the Office of Refugee Resettlement (“ORR”)
 5
     in the Department of Health and Human Services (“HHS”) from March, 2015 to
 6
     January, 2017.
 7
     3.    As Director of ORR, I oversaw all of ORR’s programs, including the
 8
     Unaccompanied Immigration Minor (“UC”) program. In my capacity as Director, I
 9
     became deeply familiar with the ORR policies and procedures for identifying, vetting
10
     and approving sponsors for UCs in the legal custody of ORR, and how this process
11
     operates in practice. I am also deeply familiar with ORR’s policies and procedures for
12
     communicating and exchanging information with other government agencies,
13
     including the Department of Homeland Security (“DHS”), concerning children who
14
     come into ORR custody.
15
     4.    ORR’s existing process for releasing children from custody is called the
16
17
     “reunification” process. It involves identifying, contacting, vetting and approving a

18
     qualified “sponsor” for a child, meaning an individual in the community who can

19   provide care and custody for the child.

20   5.    ORR’s reunification policies are publicly available on the ORR website. See

21   ORR, Children Entering the United States Unaccompanied: Section 2, Safe and
22   Timely Release from ORR Care, (hereinafter, “ORR Policies”), available at
23   https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
24   unaccompanied-section-2.
25   6.    ORR’s reunification process was designed to address the situation of children
26   who come to the border or are apprehended outside the company of a parent or legal
27   guardian. In such circumstances, it is important to engage in a careful process of
28   identifying and vetting potential sponsors to ensure that the child is being released to a


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                Exhibit 34




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   Lee Gelernt*                           Bardis Vakili (SBN 247783)
   Judy Rabinovitz*                       ACLU FOUNDATION OF SAN
   Anand Balakrishnan*                    DIEGO & IMPERIAL COUNTIES
   AMERICAN CIVIL LIBERTIES               P.O. Box 87131
   UNION FOUNDATION                       San Diego, CA 92138-7131
   IMMIGRANTS’ RIGHTS PROJECT             T: (619) 398-4485
   125 Broad St., 18th Floor              F: (619) 232-0036
   New York, NY 10004                     bvakili@aclusandiego.org
   T: (212) 549-2660
   F: (212) 549-2654
   lgelernt@aclu.org
   jrabinovitz@aclu.org
   abalakrishnan@aclu.org
   Attorneys for Petitioners-Plaintiffs *Admitted Pro Hac Vice
   Additional counsel on next page
                         UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF CALIFORNIA
  Ms. L., et al.,
                     Petitioners-Plaintiffs,    Case No. 18-cv-00428-DMS-MDD
  v.
  U.S. Immigration and Customs Enforcement
  (“ICE”); et al.,
                      Respondents-Defendants.   SUPPLEMENTAL
                                                DECLARATION OF MARTIN
                                                GUGGENHEIM
                                                CLASS ACTION

                                                No Hearing Date
   Spencer E. Amdur (SBN 320069)
   AMERICAN CIVIL LIBERTIES UNION FOUNDATION
   IMMIGRANTS’ RIGHTS PROJECT
   39 Drumm Street
   San Francisco, CA 94111
   T: (415) 343-1198
   F: (415) 395-0950
   samdur@aclu.org




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   I, Martin Guggenheim, hereby declare, pursuant to 28 U.S.C. § 1746:
   1. I am the Fiorello LaGuardia Professor of Clinical Law at New York University
      School of Law and a Founding Board Member of the Center for Family
      Representation. I have already submitted a declaration in this case, Dkt. No. 48-1,
      and incorporate my educational and professional background and opinions as set
      out there.
   2. I write to address the impact of a criminal record on custodial rights.
   3. Children and parents are commonly separated when parents are convicted of
      crimes, but only because the parent is sentenced to a prison.
   4. When a defendant who is a parent does not receive a sentence of incarceration after
      a conviction, or after the parent has completed serving any sentence, the only way
      under state or federal law to separate a child from the parent because of the
      criminal act is to bring a separate proceeding in juvenile court charging the parent
      with maltreatment of the child based on the criminal behavior itself. In that new
      proceeding, the question would be whether the state can prove that the child would
      be endangered if permitted to remain in the parent's custody.
   5. As this indicates, the only basis for separating children from parents in American
      law is when it is done to protect them from imminent danger that could result from
      being allowed to continue to reside with the parent. And as I explained in my
      previous declaration, this generally can only be the case when the parent is abusing
      or neglecting the child. It may also occur when the parent has a very serious and
      contagious disease that is likely to harm the child.
   6. Thus, the presence of a criminal record does not displace the general rule that
      “[a]bsent a finding of unfitness, it is presumed that children are best served by
      remaining with their natural parents.” In re Termination of Parental Rights to Max
      G.W., 716 N.W.2d 845, 857 (Wis. 2006) (citing Santosky v. Kramer, 455 U.S. 745,
      760 (1982)). Criminal convictions are relevant only insofar as they bear on the


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      fitness of the parent, and even then must be considered in combination with a
      totality of the factors that go to the best interests of the child.
   7. State law confirms this principle. “[A] parent's criminal history is not an absolute
      bar to custody and must, as with any other factor, be considered in the totality of
      the circumstances.” Jones v. Pagan, 947 N.Y.S.2d 580, 582 (N.Y. App. Div. 2012)
      (internal citations and quotations omitted). The mere “existence of a felony
      conviction or even the existence of multiple felony convictions” is insufficient to
      render the parent unfit to raise the child. In re Baby Girl M., 135 Cal. App. 4th
      1528, 1542 (Cal. Ct. App. 2006) (finding three felony drug and burglary
      convictions did not warrant termination of parental rights); see also In re C.T.E.,
      95 S.W.3d 462, 466 (Tex. App. 2002) (“Although appellant's criminal history is a
      factor in determining the best interest of the children, it is not dispositive.”)
   8. This principle holds even where a criminal conviction is for the most serious
      crimes. See, e.g., In re James M., 65 Cal. App. 3d 254 (Cal. Ct. App. 1976)
      (finding a conviction for murder did not necessarily demonstrate that a father was
      an unfit parent); In re Terry E., 180 Cal. App. 3d 932 (Cal. Ct. App. 1986)
      (convictions for false imprisonment and sex crimes did not provide sufficient
      grounds for termination of a mother’s parental rights nearly four years later).
   9. In conclusion, criminal history is not a dispositive factor in determining whether
      remaining with a parent is in the best interest of a child. Determining what is in the
      best interest of a child requires a fact-specific, individualized inquiry.




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                Exhibit 35




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 Case 3:18-cv-00428-DMS-MDD Document 78 Filed 06/25/18 PageID.1471 Page 65 of 259



 1   Lee Gelernt*                               Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                           ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                        DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                   P.O. Box 87131
 3   UNION FOUNDATION                           San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT                 T: (619) 398-4485
 4   125 Broad St., 18th Floor                  F: (619) 232-0036
     New York, NY 10004                         bvakili@aclusandiego.org
 5   T: (212) 549-2660
     F: (212) 549-2654                          Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                          Stephen B. Kang (SBK 292280)
     jrabinovitz@aclu.org                       AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                     UNION FOUNDATION
 8                                              IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs       39 Drumm Street
 9   Additional counsel on next page            San Francisco, CA 94111
                                                T: (415) 343-1198
10
                                                F: (415) 395-0950
11                                              samdur@aclu.org
                                                skang@aclu.org
12
                                                *Admitted Pro Hac Vice
13
14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16                         Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
17 v.
                                                        DECLARATION OF
18 U.S. Immigration and Customs Enforcement
   (“ICE”); et al.,                                     LISETTE DIAZ
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                            Respondents-Defendants.
20                                                      CLASS ACTION
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 1   Lee Gelernt*                               Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                           ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                        DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES                   P.O. Box 87131
 3   UNION FOUNDATION                           San Diego, CA 92138-7131
     IMMIGRANTS’ RIGHTS PROJECT                 T: (619) 398-4485
 4   125 Broad St., 18th Floor                  F: (619) 232-0036
     New York, NY 10004                         bvakili@aclusandiego.org
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     F: (212) 549-2654                          Spencer E. Amdur (SBN 320069)
 6   lgelernt@aclu.org                          Stephen B. Kang (SBN 292280)
     jrabinovitz@aclu.org                       AMERICAN CIVIL LIBERTIES
 7   abalakrishnan@aclu.org                     UNION FOUNDATION
 8                                              IMMIGRANTS’ RIGHTS PROJECT
     Attorneys for Petitioners-Plaintiffs       39 Drumm Street
 9   Additional counsel on next page            San Francisco, CA 94111
                                                T: (415) 343-1198
10
                                                F: (415) 395-0950
11                                              samdur@aclu.org
                                                skang@aclu.org
12
                                                *Admitted Pro Hac Vice
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14                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF CALIFORNIA
15
     Ms. L., et al.,
16
                           Petitioners-Plaintiffs,      Case No. 18-cv-00428-DMS-MDD
17 v.
                                                        DECLARATION OF CARLOS
18 U.S. Immigration and Customs Enforcement             HOLGUIN
     (“ICE”); et al.,
19                                                      CLASS ACTION
                            Respondents-Defendants.
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 1
     1.    I, Carlos Holguin, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I am General Counsel for the Center for Human Rights and Constitutional Law,
 5
     and a member of the State Bar of California.
 6
     3.    I am counsel for Plaintiffs in Flores v. Sessions, No. 85-04544 (C.D. Cal.), a
 7
     long running class action concerning the rights of immigrant children held in
 8
     government custody. I have been counsel for the Flores class since the mid-1980s. As
 9
     counsel for the Flores class, I am versed with the history of the litigation and the
10
     terms of the Flores Settlement Agreement. The Flores Settlement Agreement is
11
     attached as Exhibit A.
12
     4.    Flores was initially brought to insure that minors would not be detained for
13
     lengthy periods in subpar conditions, and that they would be released promptly to
14
     parents and other reputable custodians. The Ninth Circuit has held that the settlement
15
     applies to all minors, including those who are apprehended with their parents. See
16
     Flores v. Lynch, 828 F.3d 898 (9th Cir. 2016).
17
18
     5.    The settlement requires that minors who are not released to a parent, family

19
     member, or other responsible custodian must generally be held in “licensed facilities,”

20   meaning that a state child welfare agency must license them to provide care and

21   custody for dependent, as opposed to delinquent, children. See Ex. A, ¶¶ 6, 12.A, 14,

22   19.

23   6.    The agreement generally requires federal immigration authorities to place
24   children in a licensed dependent care facility within 72 hours following arrest. The
25   consent decree allows juvenile to be detained longer in unlicensed facilities in the
26   event of an unexpected influx of minors entering immigration-related custody, but
27   even then requires that a child be transferred to a licensed facility “as expeditiously as
28   possible.” Id., ¶ 12.A.

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 1
     7.    In the case of class members apprehended with a parent, the district court
 2
     overseeing the Flores settlement held that ICE does not necessarily breach ¶ 12A of
 3
     the agreement if, in good faith and in the exercise of due diligence, it keeps class
 4
     members in unlicensed facilities for longer than 72 hours while screening family
 5
     members for reasonable or credible fear of persecution should they be returned to their
 6
     countries of origin. See Flores v. Lynch, 212 F. Supp. 3d 907, 913-14 (C.D. Cal.
 7
     2015). Upon establishing a reasonable or credible fear, class members’ parents
 8
     become eligible for release on bond, and ICE would thereafter generally release the
 9
     family together.
10
     8.    To the best of my knowledge, ICE’s principal and largest family detention
11
     centers, which are located in Karnes and Dilley in Texas, are not licensed to care for
12
     dependent minors. Accordingly, the settlement generally obliges ICE to exercise due
13
     dilligence and good faith efforts to make a licensed placement available to juveniles
14
     detained in such facilities as quickly as possible.
15
     9.    In practice, ICE has been releasing most families detained at Karnes and Dilley
16
     within 20 days. This is because the federal government is able to determine within that
17
18
     time whether families have a credible or reasonable fear of being persecuted should

19
     they be returned to their countries of origin. However, the apposite standard for

20   making licensed placements available to class members under the settlement remains

21   the same: ICE must exercise good faith and due diligence to make licensed

22   placements available to class members as promptly as practicable, which may be more

23   or fewer than 20 days under prevailing circumstances.
24   10.   When parents are detained more than 20 days, I know of nothing in the Flores
25   settlement that stops families from waiving their rights under the agreement and
26   electing to remain in an unlicensed family detention center together. The settlement
27   was intended to promote family reunification and give children the right to placement
28   in a licensed dependent care facility. It was not intended to usurp the right of parents

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 1
     to decide that it would be better to waive that right than suffer the trauma of family
 2
     separation.
 3
           I declare under penalty of perjury under the laws of the United States of
 4
     America and California that the foregoing is true and correct, based on my personal
 5
     knowledge. Executed in Santa Clarita, California on June 25, 2018.
 6
 7
 8
                                                       ____________________________
 9
                                                       CARLOS HOLGUIN
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                  Exhibit 38




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 1   Lee Gelernt*                           Bardis Vakili (SBN 247783)
     Judy Rabinovitz*                       ACLU FOUNDATION OF SAN
 2   Anand Balakrishnan*                    DIEGO & IMPERIAL COUNTIES
     AMERICAN CIVIL LIBERTIES               P.O. Box 87131
 3   UNION FOUNDATION                       San Diego, CA 92138-7131
     125 Broad St., 18th Floor              T: (619) 398-4485
 4   New York, NY 10004                     F: (619) 232-0036
     T: (212) 549-2660                      bvakili@aclusandiego.org
 5   F: (212) 549-2654
     lgelernt@aclu.org                      Stephen B. Kang (SBN 292280)
 6   jrabinovitz@aclu.org                   Spencer E. Amdur (SBN 320069)
     abalakrishnan@aclu.org                 AMERICAN CIVIL LIBERTIES
 7
                                            UNION FOUNDATION
 8                                          39 Drumm Street
     Attorneys for Petitioners-Plaintiffs   San Francisco, CA 94111
 9   *Admitted Pro Hac Vice                 T: (415) 343-1198
                                            F: (415) 395-0950
10
                                            skang@aclu.org
11                                          samdur@aclu.org
12                         UNITED STATES DISTRICT COURT
13
                         SOUTHERN DISTRICT OF CALIFORNIA

14 Ms. L., et al.,
15               Petitioners-Plaintiffs,           Case No. 18-cv-00428-DMS-MDD
          v.
16                                                 DECLARATION OF STEPHEN B.
   U.S. Immigration and Customs Enforcement        KANG
17 (“ICE”), et al.,
                                                   CLASS ACTION
18               Respondents-Defendants.
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 1
     1.    I, Stephen B. Kang, make the following declaration based on my personal
 2
     knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that
 3
     the following is true and correct:
 4
     2.    I am a Detention Attorney for the ACLU Immigrants’ Rights Project, and a
 5
     member of the State Bar of California. I am counsel for Plaintiffs in this case.
 6
     3.    Attached as Exhibit A is an April 20, 2018 article from the New York Times
 7
     titled “Hundreds of Immigrant Children Have Been Taken from Parents at U.S.
 8
     Border,” available at https://www.nytimes.com/2018/04/20/us/immigrant-children-
 9
     separation-ice.html. This article reported that government data showed that “more
10
     than 700 children have been taken from adults claiming to be their parents since
11
     October, including more than 100 children under the age of 4.”
12
     4.    Attached as Exhibit B is a May 7, 2018 announcement from Attorney General
13
     Jefferson B. Sessions III, titled “U.S. Dep’t of Justice, Attorney General Sessions
14
     Delivers Remarks to the Association of State Criminal Investigative Agencies 2018
15
     Spring Conference,” available at https://www.justice.gov/opa/speech/attorney-
16
17
     general-sessions-delivers-remarks-association-state-criminal-investigative.

18
     5.    Attached as Exhibit C is a May 30, 2018, Los Angeles Times article titled

19   “Trump’s zero tolerance at U.S.-Mexico border is filling child shelters,” available at

20   http://www.latimes.com/nation/la-na-trump-zero-tolerance-migrant-children-

21   20180530-
22   story.html?utm_source=Recent%20Postings%20Alert&utm_medium=Email&utm_ca
23   mpaign=RP%20Daily. This article quotes a Customs and Border Protection official’s
24   testimony to the Senate Judiciary Committee, which confirmed that between May 6
25   and May 19 alone, a total of 658 children were separated from their family members. 1    0F




26
     1
27    The video of the relevant Senate Judiciary Committee hearing testimony is available
     at https://www.judiciary.senate.gov/meetings/tvpra-and-exploited-loopholes-affecting-
28
     unaccompanied-alien-children.


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 1
     6.    Attached as Exhibit D is a June 16, 2018, CNN article titled “2,000 children
 2
     separated from parents at border,” available at
 3
     https://www.cnn.com/2018/06/15/politics/dhs-family-separation-numbers/index.htm.
 4
     This article states that “[t]he US government has separated at least 2,000 children
 5
     from parents at the border since implementing a policy that results in such family
 6
     separations, the Department of Homeland Security confirmed Friday.”
 7
     7.    Attached as Exhibit E is a June 18, 2018, Associated Press article titled
 8
     “Hundreds of Children Wait in Border Patrol Facility in Texas,” available at
 9
     https://www.apnews.com/9794de32d39d4c6f89fbefaea3780769.
10
     8.    Attached as Exhibit F is a June 19, 2018, Reuters article titled “Hurdles facing
11
     parents and children separated at U.S. border,” available at
12
     https://www.reuters.com/article/us-usa-immigration-reunification-explain/hurdles-
13
     facing-parents-and-children-separated-at-us-border-idUSKBN1JF39I. This article
14
     reports that “[o]ver 2,300 children were separated from their parents at the U.S.-
15
     Mexico border between May 5 and June 9 under the Trump administration’s ‘zero
16
17
     tolerance’ policy, U.S. Customs and Border Protection said . . . .”

18
     9.    Attached as Exhibit G is an Executive Order dated June 20, 2018, titled

19   “Affording Congress an Opportunity to Address Family Separation.”

20   10.   Attached as Exhibit H is a DHS-HHS Fact Sheet titled “Zero-Tolerance

21   Prosecution and Family Reunification,” available at
22   https://www.dhs.gov/news/2018/06/23/fact-sheet-zero-tolerance-prosecution-and-
23   family-reunification.
24   11.   Attached as Exhibit I is a June 14, 2018 Letter from Physicians for Human
25   Rights to Secretary Nielsen and Attorney General Sessions, available at
26   https://s3.amazonaws.com/PHR_other/Separation_Letter_FINAL.pdf. Over 5000
27   medical professionals and experts signed this letter, which urges the administration to
28   “immediately end the practice of family separation and take all measures to ensure


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 1
     that currently separated families are reunited without delay” on the basis of evidence
 2
     that the “practice is profoundly harmful to children and to families.”
 3
     12.   Attached as Exhibit J is a June 14, 2018 Letter from the American
 4
     Psychological Association to President Trump, available at
 5
     http://www.apa.org/advocacy/immigration/separating-families-
 6
     letter.pdf?utm_content=1529093770&utm_medium=social&utm_source=multiple.
 7
     The Letter urges an end to family separation and cites “empirical evidence of the
 8
     psychological harm that children and parents experience when separated.”
 9
     13.   Attached as Exhibit K is a June 19, 2018, Letter from the American Medical
10
     Association, June 19 Letter to Secretary Nielsen, Secretary Azar, and Attorney
11
     General Sessions, available at https://searchlf.ama-
12
     assn.org/undefined/documentDownload?uri=%2Funstructured%2Fbinary%2Fletter%2
13
     FLETTERS%2F2018-6-19-Final-Letter-to-The-Administrations-zero-tolerance-
14
     prosecution-policy.pdf. The Letter explains that “childhood trauma and adverse
15
     childhood experiences created by inhumane treatment often create negative health
16
17
     impacts that can last an individual’s entire lifespan.”

18
     14.   Attached as Exhibit L is a May 31, 2018 Statement by the American College of

19   Physicians, titled ACP Objects to Separation of Children from their Parents at Border,

20   available at https://www.acponline.org/acp-newsroom/acp-objects-to-separation-of-

21   children-from-their-parents-at-border. The Statement urges an end to the separation
22   practice because inflicting separation on children will “create negative health impacts
23   that will last an individual’s entire lifespan.”
24   15.   Attached as Exhibit M is a June 19, 2018 Statement by the American College of
25   Emergency Physicians, “ACEP Opposes Current DHS ‘Zero Tolerance’ Immigration
26   Policy,” available at https://www.acep.org/federal-advocacy/federal-advocacy-
27   overview/children-immigration-statement/#sm.0000xos7uy5dpe7x112vqpxa33tqr. It
28



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 1
     states that “separations will significantly escalate mental and physical health risks for
 2
     both children and their parents.”
 3
     16.   Attached as Exhibit N is a May 30, 2018 Statement by the American
 4
     Psychiatric Association Opposing Separation of Children from Parents at the Border,
 5
     available at https://www.psychiatry.org/newsroom/news-releases/apa-statement-
 6
     opposing-separation-of-children-from-parents-at-the-border. The statement urges an
 7
     end to separations because the “evidence is clear that this level of trauma also results
 8
     in serious medical and health consequences for these children and their caregivers.”
 9
     17.   Attached as Exhibit O is a May 8, 2018 Statement by the American Academy of
10
     Pediatrics Opposing Separation of Children and Parents at the Border, available at
11
     https://www.aap.org/en-us/about-the-aap/aap-press-
12
     room/Pages/StatementOpposingSeparationofChildrenandParents.aspx. The statement
13
     urges an end to separations, and explains that the practice “can cause irreparable harm,
14
     disrupting a child's brain architecture and affecting his or her short- and long-term
15
     health.”
16
17
     18.   Attached as Exhibit P is a American Public Health Association, Separating

18
     parents and children at US border is inhumane and sets the stage for a public health

19   crisis, available at https://www.apha.org/news-and-media/news-releases/apha-news-

20   releases/2018/parent-child-separation. The statement urges an end to separations and

21   explains that the practice places children at heightened risk of experiencing adverse
22   childhood events and trauma, which research has definitively linked to poorer long-
23   term health.”
24   19.   Attached as Exhibit Q is a Statement by the National Academy of Science,
25   Engineering, and Medicine on the Harmful Consequences of Separating Families at
26   the U.S. Border, available at
27   http://www8.nationalacademies.org/onpinews/newsitem.aspx?RecordID=06202018&
28   _ga=2.158375806.559449867.1529328563-861433489.1524492203. The statement


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 1
     urges an immediate end to separations based on “an extensive body of evidence” that
 2
     “points to the danger of current immigration enforcement actions that separate
 3
     children from their parents.”
 4
     20.   Attached as Exhibit R is a June 9, 2018 Washington Post article titled “A family
 5
     was separated at the border, and this distraught father took his own life,” available at
 6
     https://www.washingtonpost.com/world/national-security/a-family-was-separated-at-
 7
     the-border-and-this-distraught-father-took-his-own-life/2018/06/08/24e40b70-6b5d-
 8
     11e8-9e38-24e693b38637_story.html?utm_term=.38a3e92283df. It tells the story of
 9
     a 39-year old Honduran father who, after separation from his family, committed
10
     suicide while detained.
11
     21.   Attached as Exhibit S is a June 23, 2018 Washington Post article titled “U.S.
12
     officials separated him from his child. Then he was deported to El Salvador,”
13
     available at https://www.washingtonpost.com/world/the_americas/u-s-officials-
14
     separated-him-from-his-child-then-he-was-deported-to-el-
15
     salvador/2018/06/23/37b6940a-7663-11e8-bda1-
16
17
     18e53a448a14_story.html?noredirect=on&utm_term=.801ab72b4426. The article tells

18
     the story of a father separated from his six-year old daughter after entering the United

19   States who was deported without her, and without knowing where she had been

20   placed. The first time he spoke to her was after his deportation.

21   22.   Attached as Exhibit T are excerpts from the transcript of the status conference
22   the Court held in this case on Friday, June 22, 2018.
23   23.   Attached as Exhibit U is a June 24, 2018, New York Times article titled “Torn
24   Apart by Zero Tolerance, Kept Apart by Red tape, available at
25   https://www.nytimes.com/2018/06/24/us/family-separation-
26   brazil.html?hp&action=click&pgtype=Homepage&clickSource=story-
27   heading&module=first-column-region&region=top-news&WT.nav=top-news. The
28



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 1
     article describes the case of a separated parent who is attempting to reunite with her
 2
     son through the ORR reunification process.
 3
     24.   I declare under penalty of perjury under the laws of the United States of
 4
     America and California that the foregoing is true and correct, based on my personal
 5
     knowledge. Executed in San Francisco, California on June 25, 2018.
 6
 7
                                                       /s/Stephen B. Kang________
 8
                                                       STEPHEN B. KANG
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                  Exhibit A




                                                           Exhibit 38, Page133
6/24/2018
      Case                 Hundreds of Immigrant
              3:18-cv-00428-DMS-MDD              Children Have
                                             Document        78BeenFiled
                                                                    Taken From Parents atPageID.1545
                                                                          06/25/18       U.S. Border - The NewPage
                                                                                                               York Times
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Hundreds of Immigrant Children Have Been
Taken From Parents at U.S. Border
By Caitlin Dickerson

April 20, 2018


On Feb. 20, a young woman named Mirian arrived at the Texas border carrying her 18-month-old
son. They had ﬂed their home in Honduras through a cloud of tear gas, she told border agents,
and needed protection from the political violence there.

She had hoped she and her son would ﬁnd refuge together. Instead, the agents ordered her to
place her son in the back seat of a government vehicle, she said later in a sworn declaration to a
federal court. They both cried as the boy was driven away.

For months, members of Congress have been demanding answers about how many families are
being separated as they are processed at stations along the southwest border, in part because the
Trump administration has in the past said it was considering taking children from their parents
as a way to deter migrants from coming here.

Ofﬁcials have repeatedly declined to provide data on how many families have been separated, but
suggested that the number was relatively low.

But new data reviewed by The New York Times shows that more than 700 children have been
taken from adults claiming to be their parents since October, including more than 100 children
under the age of 4.

The data was prepared by the Ofﬁce of Refugee Resettlement, a division of the Department of
Health and Human Services that takes custody of children who have been removed from migrant
parents. Senior ofﬁcials at the Department of Homeland Security, which processes migrants at
the border, initially denied that the numbers were so high. But after they were conﬁrmed to The
Times by three federal ofﬁcials who work closely with these cases, a spokesman for the health
and human services department on Friday acknowledged in a statement that there were
“approximately 700.”

Homeland security ofﬁcials said the agency does not separate families at the border for
deterrence purposes. “As required by law, D.H.S. must protect the best interests of minor children
crossing our borders, and occasionally this results in separating children from an adult they are
traveling with if we cannot ascertain the parental relationship, or if we think the child is otherwise
in danger,” a spokesman for the agency said in a statement.
https://www.nytimes.com/2018/04/20/us/immigrant-children-separation-ice.html
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But Trump administration ofﬁcials have suggested publicly in the past that they were, indeed,
considering a deterrence policy. Last year, John F. Kelly, President Trump’s chief of staff, ﬂoated
the idea while he was serving as homeland security secretary.

If approved, the plan would have closed detention facilities that are designed to house families
and replaced them with separate shelters for adults and children. The White House supported the
move and convened a group of ofﬁcials from several federal agencies to consider its merits. But
the Department of Homeland Security has said the policy was never adopted.

Children removed from their families are taken to shelters run by nongovernmental
organizations. There, workers seek to identify a relative or guardian in the United States who can
take over the child’s care. But if no such adult is available, the children can languish in custody
indeﬁnitely. Operators of these facilities say they are often unable to locate the parents of
separated children because the children arrive without proper records.

Once a child has entered the shelter system, there is no ﬁrm process to determine whether they
have been separated from someone who was legitimately their parent, or for reuniting parents
and children who had been mistakenly separated, said a Border Patrol ofﬁcial, who was not
authorized to discuss the agency’s policies publicly.

“The idea of punishing parents who are trying to save their children’s lives, and punishing
children for being brought to safety by their parents by separating them, is fundamentally cruel
and un-American,” said Michelle Brané, director of the Migrant Rights and Justice program at the
Women’s Refugee Commission, an advocacy group that conducts interviews and monitoring at
immigration detention centers, including those that house children. “It really to me is just a
horriﬁc ʻSophie’s Choice’ for a mom.”

Mirian has pinballed across Texas, held at various times in three other detention centers. She is
part of a lawsuit ﬁled by the American Civil Liberties Union on behalf of many immigrant parents
seeking to prohibit family separations at the border.

Her son’s name, along with Mirian’s surname, are being withheld for their safety. But in a
declaration she ﬁled in that case, she said she was never told why her son was being taken away
from her. Since February, the only word she has received about him has come from a case
manager at the facility in San Antonio where he is being held. Her son asked about her and “cried
all the time” in the days after he arrived at the facility, the case worker said, adding that the boy
had developed an ear infection and a cough.




https://www.nytimes.com/2018/04/20/us/immigrant-children-separation-ice.html
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                   A woman was reunited with her 7-year-old daughter in Chicago in March after they had been
                   separated for four months in immigration detention. Hope Hall/Aclu



“I had no idea that I would be separated from my child for seeking help,” Mirian said in her sworn
statement. “I am so anxious to be reunited with him.”

Protecting children at the border is complicated because there have, indeed, been instances of
fraud. Tens of thousands of migrants arrive there every year, and those with children in tow are
often released into the United States more quickly than adults who come alone, because of
restrictions on the amount of time that minors can be held in custody. Some migrants have
admitted they brought their children not only to remove them from danger in such places as
Central America and Africa, but because they believed it would cause the authorities to release
them from custody sooner.

Others have admitted to posing falsely with children who are not their own, and Border Patrol
ofﬁcials say that such instances of fraud are increasing.

As the debate carries on, pressure from the White House to enact a separation policy has
continued. In conversations this month with Kirstjen Nielsen, the homeland security secretary,
Mr. Trump has repeatedly expressed frustration that the agency has not been aggressive enough
in policing the border, according to a person at the White House who is familiar with the
discussions.



https://www.nytimes.com/2018/04/20/us/immigrant-children-separation-ice.html
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Ofﬁcials presented Mr. Trump with a list of proposals, including the plan to routinely separate
immigrant adults from their children. The president urged Ms. Nielsen to move forward with the
policies, the person said.

But even groups that support stricter immigration policies have stopped short of endorsing a
family separation policy. Jessica M. Vaughan, the director of policy studies for the Center for
Immigration Studies, one such group, said that family separation should only be used as a “last
resort.”

However, she said that some migrants were using children as “human shields” in order to get out
of immigration custody faster.

“It makes no sense at all for the government to just accept these attempts at fraud,” Ms. Vaughan
said. “If it appears that the child is being used in this way, it is in the best interest of the child to be
kept separately from the parent, for the parent to be prosecuted, because it’s a crime and it’s one
that has to be deterred and prosecuted.”


Ron Nixon and Michael D. Shear contributed reporting.

A version of this article appears in print on April 21, 2018, on Page A1 of the New York edition with the headline: Over 700 Children Taken From Parents at Border




https://www.nytimes.com/2018/04/20/us/immigrant-children-separation-ice.html
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                  Exhibit B




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        JUSTICE NEWS

       Attorney General Sessions Delivers Remarks to the Association of State Criminal Investigative Agencies 2018
                                                  Spring Conference

                                                       Scottsdale, AZ ~ Monday, May 7, 2018



                                                        Remarks as prepared for delivery

      Thank you, Mark, for that kind introduction. And thank you for your more than 30 years of service in law enforcement.

      I also want to thank Bob McConnell for putting on this event, and the Arizona Department of Public Safety for hosting
      us. The Association of State Criminal Investigative Agencies and its members are an essential part of the law
      enforcement community, and this conference is an opportunity for more collaboration and information sharing. That
      makes all of us better at our shared task of protecting our country from violence and crime.

      I want to thank Bob and the Association for your friendship and for your strong support for me personally going back to
      my days in the Senate. I also appreciate the support you have given for a number of the initiatives that I have taken as
      Attorney General.

      I’m pleased to see that my home state of Alabama is well-represented here today. Clay Barnes is here, the Chief of the
      Investigation Division at the Alabama Bureau of Investigation. I worked with the Investigation Division a lot during my
      14 years as a prosecutor and I was always impressed with their professionalism and their dedication.

      The chief executives of 39 other state investigative agencies are here in this room, as well.

      Tom Homan and David Bowdich are also here with us. I’ll be brief so that we can get to their remarks.

      But before I say anything else, I want to take a moment to remember an officer this community is mourning right now.
      Officer Jesus Cordova of the Nogales Police Department was pursuing an alleged carjacker last Friday when he was
      shot to death. He was an 11-year veteran of the force. He left behind two daughters and a son, all under the age of 8.
      His wife is five months pregnant—with a son who has already been named in honor of his dad.

      That son will never know his father. But he will know that his father was a man of courage and dedicated to service –
      for law, peace and order.

      My thoughts and prayers are with his family at this difficult time and I know that yours are, too.

      Officer Cordova’s passing is a tragic reminder of what is at stake in law enforcement.

      And so I am here today on behalf of President Trump to say to each one of you: thank you for your service to this
      country.

      In this administration, we know whose side we are on. We’re on the side of law-and-order.

      We understand the risks you take and the tools you need to be effective.

      This is not business as usual. This is the Trump era.

      Our explicit goals for 2018 are to bring down violent crime, homicides, opioid prescriptions, and overdose deaths.
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      And with your help, that’s what we’re going to do.

      The key to our success now will be the same as it was over those more than 20 years of declining crime: the 85 percent
      of law enforcement officers who serve at the state, local, and tribal level.

      They use the investigative work that you do to take violent criminals off of our streets. And so it is no exaggeration to
      say that we are counting on you.

      That’s why we need to ensure that you remain successful.

      I understand that you’ve got a backlog right now and that some of you are probably feeling overwhelmed.

      This has been an important issue to me for many years.

      That’s why over the past year I have taken a number of steps to bring down the backlog at our crime labs.

      In 2018, we will invest more than $100 million in state and local labs to make you faster, more efficient, and more
      effective. These funds will help reduce the backlog and free up other resources we can use to reduce violent crime and
      drug abuse.

      We will also provide grant funding to identify previously un-submitted Sexual Assault Kits, test them, and then assign
      personnel to pursue any new investigative leads. This will help provide closure for sexual assault victims throughout
      the country and help put their assailants behind bars.

      It is also critical that we deal with the growing encryption or the “going dark” problem.

      And the stakes are high. Last year the FBI was unable to access investigation-related content on more than ** devices
      —even though they had the legal authority to do so. Each of those devices was tied to a threat to the American people.

      This is a large number, but it is small compared to the number that your agencies are unable to access because of
      encryption.

      That’s why we are working with stakeholders in the private sector, in law enforcement, and in Congress to find a
      solution to this problem. Ultimately, we may need Congress to take action on this issue. I would appreciate your
      valuable input as we continue this process.

      Reducing the backlog, improving Sexual Assault Kits, and solving the encryption problem will help you succeed.

      We are also restoring the rule of law with regard to immigration. That will reduce crime.

      Eleven million people are already here illegally. That’s more than the population of Portugal or the state of Georgia.

      But, right now we are dealing with a massive influx of illegal aliens across our Southwest Border. In April we saw triple
      the number from last April.

      But we’re not going to stand for this. We are not going to let this country be invaded. We will not be stampeded. We will
      not capitulate to lawlessness.

      President Trump has made that clear to every agency and to Congress – and we need a wall.

      Last month, I put in place a “zero tolerance” policy for illegal entries on our Southwest border referred by the
      Department of Homeland Security.

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      Today, the Department of Homeland Security is partnering with us and will begin a new initiative that will result in
      referring 100 percent of illegal Southwest Border crossings to the Department of Justice for prosecution. And the
      Department of Justice will take up as many of those cases as humanly possible until we get to 100 percent.

      If you cross this border unlawfully, then we will prosecute you. It’s that simple.

      If you smuggle illegal aliens across our border, then we will prosecute you.

      If you are smuggling a child, then we will prosecute you and that child will be separated from you as required by law. If
      you don’t like that, then don’t smuggle children over our border.

      If you make false statements to an immigration officer or commit fraud in our system to obtain an immigration benefit,
      that’s a felony. We will put you in jail.

      If you help others to do so, that’s a felony, too.

      In order to carry out these important new enforcement policies, I have sent 35 prosecutors to the Southwest and moved
      18 immigration judges to the border. These are supervisory judges that don’t have existing caseloads and will be able
      to function full time on moving these cases. That will be about a 50 percent increase in the number of immigration
      judges who will be handling the asylum claims.

      Everything we do at the Department of Justice is dedicated to reducing crime in America. Perhaps the most important
      thing we can do toward that end is to improve our relationships with state and local partners like you.

      We want to be a force-multiplier for you. We can help you—because we can reach defendants across state lines,
      across national borders, and even across oceans.

      The work that you do – that you have dedicated your lives to – is essential. I believe it. The Department of Justice
      believes it. And President Trump believes it.

      And so I want to close by thanking each of you once again for your service.

      You can be certain about this: we have your back and you have our thanks.




      ** Due to an error in the FBI's methodology, an earlier version of this speech incorrectly stated that the FBI had been
      unable to access 7,800 devices. The correct number will be substantially lower.


      Speaker:
      Attorney General Jeff Sessions

      Topic(s):
      Immigration

      Component(s):
      Office of the Attorney General

                                                                                                                         Updated May 23, 2018




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                  Exhibit C




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        Trump's 'zero tolerance' at U.S.-Mexico
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        border is ﬁlling child shelters
                 By MOLLY HENNESSY-FISKE
                 MAY 30, 2018 | H OU S TO N
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        A U.S. Border Patrol agent detains juvenile immigrants in La Grulla, Texas, near the U.S.-Mexico border
        in 2015. (John Moore / Getty)                                                                                             




        Family separations on the southern border due to President Trump’s “zero-
        tolerance” policy increased the number of immigrant children in government
        shelters 22% during the last month, officials said.

        As of Wednesday, 10,852 migrant children were being held at shelters run by the
        Department of Health and Human Services, compared with 8,886 at the end of last
        month, said agency spokesman Kenneth Wolfe. The average time such children spent
        at government shelters has also increased, from 51 to 56 days.



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        The new zero-tolerance policy piloted in Arizona and west Texas last year was
        extended border-wide last month. Under the policy, migrants who enter the United
        States illegally face misdemeanor charges in federal criminal court, felony charges if
        they have crossed illegally before; parents are sent to federal detention, their
        children to shelters. In the past, such cases were often handled administratively, not
        in criminal court.
                                                                                                                                       
        Trump tweeted inaccurately over the weekend that a “horrible law” was prompting
        the migrant family separations. Immigrant advocates insisted the administration was
        to blame for pursuing criminal charges against migrants, instead of handling their
        cases administratively.

                                                                                                                                       



        Health and Human Services has 100 shelters in 14 states, and "additional temporary
        housing is only sought as a last resort when current locations are reaching capacity,"
        said Wolfe, a spokesman for the department’s Administration for Children and
        Families.
                                                                                                                                       
        That’s what’s happening now that the shelters are 95% full, he said. The agency has
        1,218 extra beds reserved elsewhere, including several hundred at a government-
        owned building near anTRY
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                                      FREEbase  in Homestead, Fla. Officials are also
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        considering housing children  at several
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        Central American children in 2014.
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        Unaccompanied minors now include children who cross the border without an adult
        and those separated from adults charged in federal criminal court under the new
        policy. At least 638 migrants who crossed with 658 children were charged under the
        policy between May 6 and May 19, a U.S. Customs and Border Protection official told
        a Senate committee last week.

        Last year, Health and Human Services assumed custody of more than 40,000
        immigrant children, releasing 93% to family members and other sponsors (half were
        parents, 40% close relatives). The department has a responsibility to assume custody
        within 72 hours and try to place children, but it is not required to track sponsors.

                                                                                                                                       

        Last week, Health and Human Services drew criticism after reports that 1,475 of the
        children they placed last year were "missing,” according to a phone survey 30 days
        later. Trump administration officials responded by announcing an agreement by
        Health and Human Services to give the Department of Homeland Security access to
        information about sponsors they’re still vetting, and to improve the process,
        fingerprinting parents who attempt to claim children. Homeland Security officials
        said the new coordination will better protect migrant children, but some migrant
        advocates worry it could deter families from claiming children.
                                                                                                                                       
        "If somebody is unwilling to claim their child from custody because they're
        concerned about their own immigration status, I think that de facto calls into
        question whether they're an adequate sponsor and whether we should be releasing a
        child to that person," Steven Wagner, acting assistant secretary of the Administration
        for Children and Families, told reporters in a telephone briefing Tuesday.

        Wagner added that the department plans to increase sponsor screening because “we
        have the problem of people fraudulently claiming to be parents when, in fact, they're
        not.”

        Immigrants advocates said the added oversight could increase the number of
        children in already crowded Health and Human Services shelters.
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        “Their workload has grown significantly, and they’re not equipped to be handling
        children who have been orphaned by these new policies,” said Ben Johnson,
        executive director of the Washington-based American Immigration Lawyers Assn.
                                                                                                                                       
        Johnson also criticized the department’s short-term solution to the space crunch.

        “Commandeering these military bases to house children has never turned out well,”
        Johnson said. “It’s resulted in more lawsuits and more inhumane conduct and
        treatment of people housed there. … Those facilities are not designed for these kinds
        of people.”

        Migrant parents already appear less willing to claim their children, according to Leah
        Chavla, a policy advisor at the Washington-based Women’s Refugee Commission.

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        Three years ago, 60% of unaccompanied youths were claimed by parents, but that
        dropped to 41% this fiscal year following immigration crackdowns by the
        administration, including raids on sponsors last summer that resulted in 400 people
        being detained in the Midwest and southern United States. Chavla’s group and other
        advocates filed a complaint about the raids with Homeland Security’s Office for Civil
        Rights and Civil Liberties and its Office of inspector general alleging unlawful
        conduct, but the raids still had a chilling effect.
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        “Families are more reluctant to come forward,” Chavla said, and children are
        reluctant to identify their parents to Health and Human Services for fear they will be
        deported.

        “They’re going to languish in custody. We’re going to see the length of stay creep up”
        for unaccompanied children, she said.

        Lee Gelernt, an immigration attorney with the American Civil Liberties Union, filed a
        lawsuit to force the government to stop separating families at the border, and a
        federal judge in California is considering it.

        Gelernt was in El Paso on Wednesday meeting with one of the plaintiffs, a Brazilian
        mother charged and jailed near the border and separated last August from her 14-
        year-old son, who was sent to Illinois. They are still not reunited.

        “There’s just going to be hundreds of parents and kids that fall into the Brazilian
        mom’s situation,” Gelernt said. She asserts that the government is separating
        families to deter immigration.

        In March and April, more than 50,000 people were detained per month trying to
        cross the southwest border illegally, levels similar to those during the Obama
        administration, according to U.S. government figures. During those two months
        about 8,400 unaccompanied minors were caught on the border.

        Soon after Trump’s inauguration in January 2017, border crossings briefly dropped
        to record lows before creeping back up again at the end of last year. The increase has
        frustrated the president, who has repeatedly called for more action to seal the
        border.

        5:10 p.m.: This article was updated with comments from Lee Gelernt of the ACLU.
        3:55 p.m.: This article was updated throughout with Los Angeles Times staff
        reporting and comments from Leah Chavla of the Women’s Refugee Commission.
        This article was originally published at 9:20 a.m.



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                                                                    06/25/18                child shelters
                                                                                     PageID.1560           Page 154 of 259
                                                                                                START TRIAL
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                      Molly Hennessy-Fiske                                                                                         


                      Molly Hennessy-Fiske is a staff writer for the Los Angeles Times, where she has spent a dozen years covering
                      foreign, national, metro and business news, including reporting rotations in Afghanistan, Egypt, Iraq and
                      Lebanon. She won an Overseas Press Club award in 2015, a Dart award from Columbia University in 2014, was a
                      finalist for the Livingston Awards and Casey Medal and won state awards for her work in California, Florida, New
                      York and North Carolina. She completed a Thomson Reuters fellowship in Lebanon in 2006 and a Pew fellowship
                      reporting from Mexico in 2004. She has reported for newspapers in Boston, Miami, Raleigh, Schenectady,
                      Syracuse, Washington and West Palm Beach. Hennessy-Fiske grew up in Upstate New York before attending
                      Harvard College, graduating with a bachelor’s degree in social studies in 1999. She spent last year as Middle East
                      bureau chief before returning to cover foreign/national news as Houston bureau chief.




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                                                                                                STARTExhibit
                                                                                                      TRIAL        38, Page149
http://www.latimes.com/nation/la-na-trump-zero-tolerance-migrant-children-20180530-story.html?utm_source=Recent%20Postings%20Alert&utm_me…   7/10
Case 3:18-cv-00428-DMS-MDD Document 78 Filed 06/25/18 PageID.1561 Page 155 of 259




                  Exhibit D




                                                           Exhibit 38, Page150
6/24/2018
      Case    3:18-cv-00428-DMS-MDDDHS: 2,000 children78
                                     Document          separated
                                                           Filedfrom parents at border
                                                                   06/25/18            - CNNPolitics
                                                                                  PageID.1562        Page 156 of 259


     DHS: 2,000 children separated from parents
  at border
  By Tal Kopan, CNN
  Updated 2:44 AM ET, Sat June 16, 2018




  Surge in family separation at border 01:52

  Washington (CNN) — The US government has separated at least 2,000 children from parents at the border since
  implementing a policy that results in such family separations, the Department of Homeland Security conﬁrmed
  Friday.

  From April 19 through May 31 of this year, 1,995 minors traveling with 1,940 adults who said they were the
  children's guardians were separated due to the policy, Department of Homeland Security spokesman Jonathan
  Ho man told reporters on a conference call.

                                                                      The call was largely to defend the administration's decision to
                                                                      charge every adult caught crossing the border illegally with
                                                                      federal crimes, as opposed to referring those with children
                                                                      mainly to immigration courts, as previous administrations did.
                                                                      The o cials used the opportunity, otherwise on the condition
                                                                      of anonymity, to accuse the press of spreading falsehoods
                                                                      about the policy.

                                                                      Because the government is charging the parents in the
                                                                      criminal justice system, children are separated from them,
                                                                      with no clear procedure for their reuniﬁcation aside from

https://www.cnn.com/2018/06/15/politics/dhs-family-separation-numbers/index.html
                                                                                                    Exhibit 38, Page151                 1/3
6/24/2018
      Case    3:18-cv-00428-DMS-MDDDHS: 2,000 children78
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                                                                   06/25/18            - CNNPolitics
                                                                                  PageID.1563        Page 157 of 259
                                                                      hotlines the parents can call to try to track their children
    Related Article: Sessions cites Bible to                          down.
    defend immigration policies resulting in
                                                                      The policy to refer all adults for charges was publicly
    family separations
                                                                      announced May 7, though the Justice Department
                                                                      announced it would prosecute 100% of the cases referred to
                                                                      it at the beginning of April.

  On the call, Department of Homeland Security also said that prosecutions have more than doubled, but
  acknowledges they are not currently at 100%. Asked why they are prioritizing families in this e ort as opposed to
  single adults, as they get closer to 100%, o cials declined to explain how they choose whom to refer.

                                                                      "We make decisions based on the ability to detain and the
                                                                      ability of courts to take these cases, but we no longer exempt
                                                                      categories or classes of individuals," a Department of
                                                                      Homeland Security o cial said.

                                                                      "By and large, we are accepting nearly all of the referrals that
                                                                      we get from our counterparts at DHS, we continue to work
                                                                      with the federal judiciary on practical solutions to di ering
                                                                      caps that they have," said a Justice Department o cial. "In
                                                                      terms of declining prosecution, we're not going to get into
                                                                      speciﬁcs."
    Related Article: Trump again falsely
    blames the Democrats for his
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                                                                                                      Exhibit 38, Page152                2/3
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                  Exhibit E




                                                           Exhibit 38, Page153
6/24/2018
      Case                          Hundreds of children
             3:18-cv-00428-DMS-MDD Document      78 Filedwait in Border Patrol facility
                                                                 06/25/18               in Texas
                                                                                 PageID.1565     Page 159 of 259




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                                   McALLEN, Texas (AP) — Inside an old warehouse in South Texas,
                                   hundreds of children wait in a series of cages created by metal fencing.
                                   One cage had 20 children inside. Scattered about are bottles of water, bags
                                   of chips and large foil sheets intended to serve as blankets.

                                   One teenager told an advocate who visited that she was helping care for a
                                   young child she didn’t know because the child’s aunt was somewhere else
                                   in the facility. She said she had to show others in her cell how to change
                                   the girl’s diaper.




                                                                                       Ad


                                   The U.S. Border Patrol on Sunday allowed reporters to brieﬂy visit the
                                   facility where it holds families arrested at the southern U.S. border,
                                   responding to new criticism and protests over the Trump administration’s
                                   “zero tolerance” policy and resulting separation of families.


https://www.apnews.com/9794de32d39d4c6f89fbefaea3780769
                                                                                                Exhibit 38, Page154   1/6
6/24/2018
      Case                          Hundreds of children
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                                                                                 PageID.1566     Page 160 of 259
                                   More than 1,100 people were inside the large, dark facility that’s divided
                                   into separate wings for unaccompanied children, adults on their own, and
                                   mothers and fathers with children. The cages in each wing open out into
                                   common areas to use portable restrooms. The overhead lighting in the
                                   warehouse stays on around the clock.

                                   The Border Patrol said close to 200 people inside the facility were minors
                                   unaccompanied by a parent. Another 500 were “family units,” parents and
                                   children. Many adults who crossed the border without legal permission
                                   could be charged with illegal entry and placed in jail, away from their
                                   children.

                                   Reporters were not allowed by agents to interview any of the detainees or
                                   take photos.

                                   Nearly 2,000 children have been taken from their parents since Attorney
                                   General Jeff Sessions announced the policy, which directs Homeland
                                   Security oﬃcials to refer all cases of illegal entry into the United States for
                                   prosecution. Church groups and human rights advocates have sharply
                                   criticized the policy, calling it inhumane.

                                   Stories have spread of children being torn from their parents’ arms, and
                                   parents not being able to ﬁnd where their kids have gone. A group of
                                   congressional lawmakers visited the same facility Sunday and were set to
                                   visit a longer-term shelter holding around 1,500 children — many of whom
                                   were separated from their parents.

                                   “Those kids inside who have been separated from their parents are already
                                   being traumatized,” said Democratic Sen. Jeff Merkley of Oregon, who was
                                   denied entry earlier this month to children’s shelter. “It doesn’t matter
                                   whether the ﬂoor is swept and the bedsheets tucked in tight.”

                                                                                                  OCTOBER 4          OCTOBER 7
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                                   In Texas’ Rio Grande Valley, the busiest corridor for people trying to enter
                                   the U.S., Border Patrol oﬃcials argue that they have to crack down on
                                   migrants and separate adults from children as a deterrent to others.

                                   “When you exempt a group of people from the law ... that creates a draw,”
                                   said Manuel Padilla, the Border Patrol’s chief agent here. “That creates the
                                   trends right here.”

                                   Agents running the holding facility — generally known as “Ursula” for the
                                   name of the street it’s on — said everyone detained is given adequate food,
                                   access to showers and laundered clothes, and medical care. People are
                                   supposed to move through the facility quickly. Under U.S. law, children are



https://www.apnews.com/9794de32d39d4c6f89fbefaea3780769
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6/24/2018
      Case                          Hundreds of children
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                                                                                 PageID.1567     Page 161 of 259
                                   required to be turned over within three days to shelters funded by the
                                   Department of Health and Human Services.

                                   Padilla said agents in the Rio Grande Valley have allowed families with
                                   children under the age of 5 to stay together in most cases.

                                   An advocate who spent several hours in the facility Friday said she was
                                   deeply troubled by what she found.

                                   Michelle Brane, director of migrant rights at the Women’s Refugee
                                   Commission, met with a 16-year-old girl who had been taking care of a
                                   young girl for three days. The teen and others in their cage thought the girl
                                   was 2 years old.

                                   “She had to teach other kids in the cell to change her diaper,” Brane said.

                                   Brane said that after an attorney started to ask questions, agents found the
                                   girl’s aunt and reunited the two. It turned out that the girl was actually 4
                                   years old. Part of the problem was that she didn’t speak Spanish, but
                                   K’iche, a language indigenous to Guatemala.

                                   “She was so traumatized that she wasn’t talking,” Brane said. “She was just
                                   curled up in a little ball.”

                                   Brane said she also saw oﬃcials at the facility scold a group of 5-year-olds
                                   for playing around in their cage, telling them to settle down. There are no
                                   toys or books.

                                   But one boy nearby wasn’t playing with the rest. According to Brane, he
                                   was quiet, clutching a piece of paper that was a photocopy of his mother’s
                                   ID card.

                                   “The government is literally taking kids away from their parents and
                                   leaving them in inappropriate conditions,” Brane said. “If a parent left a
                                   child in a cage with no supervision with other 5-year-olds, they’d be held
                                   accountable.”

                                   Dr. Colleen Kraft, the head of the American Academy of Pediatrics, said
                                   that she visited a small shelter in Texas recently, which she declined to
                                   identity. A toddler inside the 60-bed facility caught her eye — she was
                                   crying uncontrollably and pounding her little ﬁsts on mat.

                                   Staff members tried to console the child, who looked to be about 2 years
                                   old, Kraft said. She had been taken from her mother the night before and
                                   brought to the shelter.

                                   The staff gave her books and toys — but they weren’t allowed to pick her
                                   up, to hold her or hug her to try to calm her. As a rule, staff aren’t allowed
                                   to touch the children there, she said.




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      Case                          Hundreds of children
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                                   “The stress is overwhelming,” she said. “The focus needs to be on the
                                   welfare of these children, absent of politics.”


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                                   Immigrant kids seen held in fenced cages at border facility




                                   At least 3 tender age shelters set up for child migrants




                                   'Say bye to him': Detainee recounts agents taking her son




                                   The Latest: About 30 parents separated from kids released




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                  Exhibit F




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       Detained In Myanmar            Energy & Environment           Brexit         North Korea          Charged: The Future of Autos           Future




    WORLD NEWS
    JUNE 19, 2018 / 6:50 PM / 5 DAYS AGO




    Hurdles facing parents and children separated at U.S. border

    Reuters Staﬀ



    (Reuters) - Over 2,300 children were separated from their parents at the U.S.-Mexico border
    between May 5 and June 9 under the Trump administration’s “zero tolerance” policy, U.S.
    Customs and Border Protection said on Tuesday, and immigration advocates and legal experts
    say there is no clear system in place to reunite them.




                                                                                                             Exhibit 38, Page159
https://www.reuters.com/article/us-usa-immigration-reunification-explain/hurdles-facing-parents-and-children-separated-at-us-border-idUSKBN1JF39I    1/5
6/24/2018
      Case    3:18-cv-00428-DMS-MDDHurdles facing parents
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        A ﬂyer released by the U.S. Department of Homeland Security (DHS) June 19, 2018, shows information being
        distributed in U.S.-Mexico border facilities at which immigrant parents are being detained. U.S. Department of
        Homeland Security/Handout via REUTERS




    The policy directs border oﬃcials to refer for prosecution all immigrants apprehended while
    crossing the U.S.-Mexico border illegally.


    Parents who are no longer detained “are entitled to get their kids back through a documented
    process,” U.S. Department of Homeland Security Secretary Kirstjen Nielsen said.


    When are children and parents separated?


    Immigrants arrested near the southwestern border are taken to processing centers where
    oﬃcials refer some to federal court to be prosecuted under the U.S. criminal entry statute.
    Parents referred for prosecution are transferred into U.S. Marshals custody and separated
    from their children.


    Immigrants charged with the misdemeanor crime of illegal entry often plead guilty in group
    hearings and receive a sentence of a few days in prison or “time served,” at which point they
    are transferred back to a processing facility and quickly deported unless they claim a “credible
    fear” of returning to their home country.


    Meanwhile, their children are transferred into the custody of the Oﬃce of Refugee
    Resettlement (ORR), part of the Department of Health and Human Services, which manages
    facilities that care for minors. There are 100 sites scattered across 17 states and they can be on
    the other side of the country from their parents.


    Children get their own case in immigration court and are entitled to a full hearing by an
    immigration judge, a process that can take months.


    How can parents contact their children?
                                                                                                             Exhibit 38, Page160
https://www.reuters.com/article/us-usa-immigration-reunification-explain/hurdles-facing-parents-and-children-separated-at-us-border-idUSKBN1JF39I   2/5
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      Case    3:18-cv-00428-DMS-MDDHurdles facing parents
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                                                                                   PageID.1572
    U.S. Immigration and Customs Enforcement (ICE) said it has posted information in all
    facilities at which parents are detained for over 72 hours, advising them to call a hotline for
    assistance in ﬁnding their child. The agency said it will work together with ORR to locate
    separated children, verify the relationship and set up regular communication and removal
    coordination if necessary.


    There are two hotlines, one run by ICE and one by ORR. Advocates say the wait times on these
    calls can be upwards of 30 minutes and parents are required to call back when a child cannot
    immediately be located.


    How can the parents be reunited with their children?


    ICE said it “will make every eﬀort to reunite the child with the parent” once the parent’s case
    has been adjudicated.


    If the parent is being deported, ICE said it will work with ORR to reunite them with their child
    at the time of deportation and with the consulate representing their country to assist the
    parent with obtaining a travel document for the child.


    In some cases, the parent may decide they want their child to stay in the United States to
    pursue their own asylum claim, or the child may themselves choose to seek asylum. In other
    cases, children may ask to return to their home countries to be reunited with their parents.


    Advocates said the reuniﬁcation process is ad hoc.


    Anthony Enriquez, director of the unaccompanied minors program for Catholic Charities
    Community Services in New York said there was no systematic eﬀort in place to ensure the
    children and their parents are reunited. 


    “I go to court to tell the judges this under oath,” Enriquez said. “There’s no process.”


    He said reuniﬁcation relies on individual government oﬃcials who go above and beyond their
    duties to help the families reunite or a lawyer from a non-governmental legal organization
    doing that work.
                                                                                                             Exhibit 38, Page161
https://www.reuters.com/article/us-usa-immigration-reunification-explain/hurdles-facing-parents-and-children-separated-at-us-border-idUSKBN1JF39I   3/5
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      Case    3:18-cv-00428-DMS-MDDHurdles facing parents
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                                                                                   PageID.1573
    Robert Carey, who ran the Oﬃce for Refugee Resettlement under President Barack Obama
    said he would be surprised if systems were in place for reunifying families as the new zero
    tolerance policy was put in place quickly and “it takes time to coordinate across multiple
    agencies.”


    Have parents been deported without their children?


    Immigration attorneys say there have been many cases of parents deported without their
    children. The advocacy group Kids In Need of Defense (KIND) said of the 40 case referrals
    involving family separation they have received since July 2017 through their child migrant
    return and reintegration project, 32 involved parents deported before their children and 15 of
    those cases involved children who were ﬁve years old or younger.


    In some cases, parents are deported before ﬁnding their children in ORR custody, said Lisa
    Frydman, a KIND attorney.


    “We’ve had other cases where the child goes to ORR and they do not know where parent is,
    and the parent doesn’t know where child is,” Frydman said.


    Some children remain in the United States months after their parents are being deported, she
    said. Parents who have been deported back to countries such as Guatemala and Honduras
    without their children are reaching out to local organizations asking for help locating them.


    Reporting by Kristina Cooke in San Francisco, Reade Levinson in New York and Yeganeh Torbati in
    Washington; editing by Grant McCool
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                                                                                                             Exhibit 38, Page162
https://www.reuters.com/article/us-usa-immigration-reunification-explain/hurdles-facing-parents-and-children-separated-at-us-border-idUSKBN1JF39I   4/5
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                  Exhibit G




                                                           Exhibit 38, Page163
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                                     Document Congress
                                                     78an Opportunity to Address Family
                                                           Filed 06/25/18               Separation
                                                                                  PageID.1575      Page 169 of 259




                                                                EXECUTIVE ORDERS



                 A ording Congress an Opportunity to Address
                             Family Separation
                                                                        IMMIGRATION

                                                              Issued on: June 20, 2018


                                                                      ★ ★ ★


         By the authority vested in me as President by the Constitution and the laws of the United States of
         America, including the Immigration and Nationality Act (INA), 8 U.S.C. 1101 et seq., it is hereby
         ordered as follows:


         Section 1.  Policy.  It is the policy of this Administration to rigorously enforce our immigration laws. 
         Under our laws, the only legal way for an alien to enter this country is at a designated port of entry
         at an appropriate time.  When an alien enters or attempts to enter the country anywhere else, that
         alien has committed at least the crime of improper entry and is subject to a fine or imprisonment
         under section 1325(a) of title 8, United States Code.  This Administration will initiate proceedings to
         enforce this and other criminal provisions of the INA until and unless Congress directs otherwise.  It
         is also the policy of this Administration to maintain family unity, including by detaining alien
         families together where appropriate and consistent with law and available resources.  It is
         unfortunate that Congress’s failure to act and court orders have put the Administration in the
         position of separating alien families to e ectively enforce the law.


         Sec. 2.  Definitions.  For purposes of this order, the following definitions apply:


         (a)  “Alien family” means


               (i)  any person not a citizen or national of the United States who has not been admitted into, or
               is not authorized to enter or remain in, the United States, who entered this country with an
https://www.whitehouse.gov/presidential-actions/affording-congress-opportunity-address-family-separation/
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               alien child or alien children at or between designated ports of entry and who was detained;
               and


               (ii)  that person’s alien child or alien children.


         (b)  “Alien child” means any person not a citizen or national of the United States who


               (i)    has not been admitted into, or is not authorized to enter or remain in, the United States;


               (ii)   is under the age of 18; and


               (iii)  has a legal parent-child relationship to an alien who entered the United States with the
               alien child at or between designated ports of entry and who was detained.


          Sec. 3.  Temporary Detention Policy for Families Entering this Country Illegally.  (a)  The Secretary
         of Homeland Security (Secretary), shall, to the extent permitted by law and subject to the
         availability of appropriations, maintain custody of alien families during the pendency of any
         criminal improper entry or immigration proceedings involving their members.


         (b)  The Secretary shall not, however, detain an alien family together when there is a concern that
         detention of an alien child with the child’s alien parent would pose a risk to the child’s welfare.


         (c)  The Secretary of Defense shall take all legally available measures to provide to the Secretary,
         upon request, any existing facilities available for the housing and care of alien families, and shall
         construct such facilities if necessary and consistent with law.  The Secretary, to the extent
         permitted by law, shall be responsible for reimbursement for the use of these facilities.


         (d)  Heads of executive departments and agencies shall, to the extent consistent with law, make
         available to the Secretary, for the housing and care of alien families pending court proceedings for
         improper entry, any facilities that are appropriate for such purposes.  The Secretary, to the extent
         permitted by law, shall be responsible for reimbursement for the use of these facilities.


         (e)  The Attorney General shall promptly file a request with the U.S. District Court for the Central
         District of California to modify the Settlement Agreement in Flores v. Sessions, CV 85-4544 (“Flores
         settlement”), in a manner that would permit the Secretary, under present resource constraints, to
https://www.whitehouse.gov/presidential-actions/affording-congress-opportunity-address-family-separation/
                                                                                                            Exhibit 38, Page165   2/3
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         detain alien families together throughout the pendency of criminal proceedings for improper entry
         or any removal or other immigration proceedings.


         Sec. 4.  Prioritization of Immigration Proceedings Involving Alien Families.  The Attorney General
         shall, to the extent practicable, prioritize the adjudication of cases involving detained families.


         Sec. 5.  General Provisions.  (a)  Nothing in this order shall be construed to impair or otherwise
         a ect:


               (i)   the authority granted by law to an executive department or agency, or the head thereof; or


               (ii)  the functions of the Director of the O ice of Management and Budget relating to budgetary,
               administrative, or legislative proposals.


         (b)  This order shall be implemented in a manner consistent with applicable law and subject to the
         availability of appropriations.


         (c)  This order is not intended to, and does not, create any right or benefit, substantive or
         procedural, enforceable at law or in equity by any party against the United States, its departments,
         agencies, or entities, its o icers, employees, or agents, or any other person.


                                                                 DONALD J. TRUMP


         THE WHITE HOUSE,


         June 20, 2018.




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                  Exhibit H




                                                           Exhibit 38, Page167
6/24/2018
      Case                     Fact Sheet: Document
              3:18-cv-00428-DMS-MDD        Zero-Tolerance Prosecution
                                                          78 Filedand06/25/18
                                                                      Family Reunification | Homeland Security
                                                                                    PageID.1579          Page 173 of 259
              Official website of the Department of Homeland Security

                         U.S. Department of
                         Homeland Security




        Fact Sheet: Zero-Tolerance
        Prosecution and Family
        Reunification
        Release Date:  June 23, 2018

        The Department of Homeland Security (DHS) and Health and Human Services (HHS) have a
        process established to ensure that family members know the location of their children and
        have regular communication after separation to ensure that those adults who are subject to
        removal are reunited with their children for the purposes of removal. The United States
        government knows the location of all children in its custody and is working to reunite them
        with their families.

        As part of the apprehension, detention and prosecution process, illegal aliens, adults and
        children, are initially detained by U.S. Customs and Border Protection (CBP) before the
        children are sent to HHS’ Office of Refugee Resettlement (ORR) and parents to Immigration
        and Customs Enforcement (ICE) custody. Each entity plays a role in reunification.  This process
        is well coordinated.


        U.S. Customs and Border Protection
             CBP has reunited 522 Unaccompanied Alien Children (UAC) in their custody who were
             separated from adults as part of the Zero Tolerance initiative.  The reunions of an
             additional 16 UAC who were scheduled to be reunited on June 22, 2018 were delayed
             due to weather affecting travel and we expect they will all be reunited with their
             parents within the next 24 hours.  There will be a small number of children who were
             separated for reasons other than zero tolerance that will remain separated: generally
             only if the familial relationship cannot be confirmed, we believe the adult is a threat to
             the safety of the child, or the adult is a criminal alien.
             Because of the speed in which adults completed their criminal proceedings, some
             children were still present at a United States Border Patrol (USBP) station at the time

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             their parent(s) returned from court proceedings.  In these cases, the USBP reunited the
             family and transferred them, together, to ICE custody as a family unit.


        U.S. Immigration and Customs Enforcement
             ICE has dedicated the Port Isabel Service Processing Center (https://www.ice.gov/detention-
             facility/port-isabel-service-processing-center) as the primary family reunification and removal
             center for adults in their custody. 
             A parent who is ordered removed from the U.S. may request that his or her minor child
             accompany them. It should be noted that in the past many parents have elected to be
             removed without their children. 
             ICE has posted information in all of its facilities advising detained parents who are
             trying to locate, and/or communicate with, a child in the custody of HHS to call the
             Detention Reporting and Information Line for assistance, which is staffed by live
             operators Monday through Friday from 8 AM to 8 PM.
             The information provided by these parents to the call operators will be forwarded to
             HHS for action. ICE and HHS will coordinate a review of their custodial data to identify
             where each child is located, verify the parent/child relationship, and set up regular
             communication and removal coordination, if necessary.
             Each ICE Field Office has Juvenile Coordinators who manage these cases throughout
             the immigration court proceedings.
             Further, ICE maintains a publicly available online detainee locator which can be used to
             locate adults detained by ICE. This site can be accessed at:
             https://locator.ice.gov/odls/#/index (https://locator.ice.gov/odls/#/index)

        ICE has completed the following steps toward reunification:

             Implemented an identification mechanism to ensure on-going tracking of linked family
             members throughout the detention and removal process;
             Designated detention locations for separated parents and will enhance current
             processes to ensure communication with children in HHS custody;
             Worked closely with foreign consulates to ensure that travel documents are issued for
             both the parent and child at time of removal; and
             Coordinated with HHS for the reuniting of the child prior to the parents’ departure from
             the United States.




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        U.S. Health and Human Services Office of
        Refugee Resettlement
             Minors come into HHS custody with information provided by DHS regarding how they
             illegally entered the country and whether or not they were with a parent or adult and,
             to the extent possible, the parent(s) or guardian(s) information and location. There is a
             central database which HHS and DHS can access and update when a parent(s) or
             minor(s) location information changes. 
             As of June 20th HHS has 2,053 separated minors being cared for in HHS funded
             facilities, and is working with relevant agency partners to foster communications and
             work towards reuniting every minor and every parent or guardian via well-established
             reunification processes. Currently only 17% of minors in HHS funded facilities were
             placed there as a result of Zero Tolerance enforcement, and the remaining 83% percent
             arrived to the United States without a parent or guardian.
             Parent(s) or guardian(s) attempting to determine if their child is in the custody of the
             Office of Refugee Resettlement (ORR) in HHS Administration for Children and Families
             should contact the ORR National Call Center (www.acf.hhs.gov/orr/resource/orr-
             national-call-center (http://www.acf.hhs.gov/orr/resource/orr-national-call-center) ) at 1-800-203-
             7001, or via email information@ORRNCC.com (mailto:information@ORRNCC.com) .
             Information will be collected and sent to HHS funded facility where minor is located.
             The ORR National Call Center has numerous resources available for children, parent(s),
             guardian(s) and sponsors.
             Within 24 hours of arriving at an HHS funded facility minors are given the opportunity
             to communicate with a vetted parent, guardian or relative. While in HHS funded
             facilities’ care, every effort is made to ensure minors are able to communicate (either
             telephonic or video depending on the circumstances) with their parent or guardian (at
             least twice per week). However, reasonable safety precautions are in place to ensure
             that an adult wishing to communicate with a minor is in fact that minor’s parent or
             guardian.
             Minors in HHS funded facilities are permitted to call both family members and/or
             sponsors living in the United States and abroad. Attorneys representing minors have
             unlimited telephone access and the minor may speak to other appropriate
             stakeholders, such as their consulate, the case coordinator, or child advocate.
             Additional information on telephone calls, visitation, and mail policies are available in
             the policy guide. (https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
             unaccompanied)


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             Under HHS’ publicly available (https://www.acf.hhs.gov/orr/resource/children-entering-the-united-
             states-unaccompanied) policy guide for Unaccompanied Alien Children, the Office of
             Refugee Resettlement (ORR) releases minors to sponsors in the following order of
             preference: parent; legal guardian; an adult relative (brother, sister, aunt, uncle,
             grandparent or first cousin); an adult individual or entity designated by the parent or
             legal guardian (through a signed declaration or other document that ORR determines is
             sufficient to establish the signatory’s parental/guardian relationship); a licensed
             program willing to accept legal custody; or an adult individual or entity seeking custody
             when it appears that there is no other likely alternative to long term ORR care and
             custody.

        Topics:  Border Security (/topics/border-security) , Immigration Enforcement (/topics/immigration-enforcement)
        Keywords:  Border Security (/keywords/border-security) , Family detention (/keywords/family-detention) , immigration
        enforcement (/keywords/immigration-enforcement) , UAC (/keywords/uac) , Unaccompanied Alien Children
        (/keywords/unaccompanied-alien-children)


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                  Exhibit I




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   June 14, 2018

   The Honorable Kirstjen Nielsen                                The Honorable Jeff Sessions
   Secretary                                                     Attorney General
   U.S. Department of Homeland Security                          U.S. Department of Justice
   245 Murray Lane, S.W.                                         950 Pennsylvania Avenue, N.W.
   Washington, D.C. 20528                                        Washington, D.C. 20530



   Dear Secretary Nielsen and Attorney General Sessions,

   As medical and mental health professionals and researchers working in the United States, we
   are gravely concerned about the Trump administration’s practice of separating migrant and
   asylum-seeking families at the U.S.-Mexico border. Such a practice is profoundly harmful to
   children and to families, in addition to violating fundamental human rights. We urge you to
   immediately end forced separation of families at the border, and instead keep families together
   in community-based settings while their immigration proceedings are pending.

   The Trump administration has stated that its goal in separating children from their parents is to
   deter people from crossing the border between ports of entry. According to statements by
   Attorney General Jeff Sessions, this policy is intended to be punitive, to serve as such
   deterrence. 1 The child welfare implications appear to be secondary at best. White House Chief of
   Staff and former Department of Homeland Security secretary John Kelly has stated, “The
   children will be taken care of — put into foster care or whatever. But the big point is they elected
   to come illegally into the United States and this is a technique that no one hopes will be used
   extensively or for very long. 2” Media reports indicate that government mechanisms for ensuring
   that parents and children are in contact and know each other’s whereabouts are non-functional. 3

   Using children as leverage to punish their parents is unconscionable, both with respect to the
   health and well-being of children and as treatment of migrants and asylum seekers. The right to
   family unity is enshrined in U.S. and international law, which recognize that families are the
   foundation of society. The relationship of children and parents is the strongest social tie most
   people experience, and a threat to that tie is among the most traumatic events people can
   experience.

   Forced separation of children and parents, especially in connection with the detention of a
   parent, can constitute an adverse childhood experience (ACE). ACEs are linked with disrupted

   1 Attorney General Jeff Sessions, "Attorney General Sessions Delivers Remarks Discussing the Immigration
   Enforcement Actions of the Trump Administration," Speech, May 7, 2018,
   https://www.justice.gov/opa/speech/ attorney-general-sessions-delivers-remarks-discussing-immigration-
   enforcement-actions.
   2 Transcript: White House Chief Of Staff John Kelly's Interview with NPR, NPR, May 11, 2018,

   https://www.npr.org/2018/05/11/610116389/transcript-white-house-chief-of-staff-john-kellys-interview-with-npr.
   3 Michael E. Miller, "‘They just took them?' Frantic parents separated from their kids fill courts on the border,"

   Washington Post, June 11, 2018, https://www.washingtonpost.com/local/they-just-took-them-frantic-parents-
   separated-from-their-kids-fill-courts-on-the-border/2018/06/09/e3f5170c-6aa9-11e8-bea7-
   c8eb28bc52b1_story.html.



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   neurodevelopment, resulting in social, emotional, and cognitive impairment, 4 and have even
   been linked with negative intergenerational effects. 5 Extreme and repetitive stress -- known as
   toxic stress -- such as that experienced when a person is suddenly separated from parents,
   adversely affects brain development and is correlated with increased risk of developing chronic
   mental health conditions, such as depression and post-traumatic stress disorder (PTSD) and
   even physical conditions such as cancer, stroke, diabetes, and heart disease. 6

   Separation from parents has been shown to be linked with higher rates of PTSD in the affected
   children. 7 For children, separation results in a low-support environment which places them at
   increased risk of PTSD and depressive disorders. 8 The negative impact on the cognitive and
   emotional functioning of the affected children can continue into adulthood, and contribute to
   lower academic achievement, attachment difficulties, and poor mental health. 9

   Among refugees, one research study shows that individuals separated from their families had
   worse mental health outcomes in terms of depression, PTSD, and psychological quality of life
   than those who remained with their families, after controlling for trauma. After testing the
   contribution of 26 types of trauma to these outcomes, only the experience of being beaten and
   tortured had a similar impact on all three mental health measures as family separation. 10

   According to the new U.S. policy, children arriving with their parents will be placed in the
   custody of the Office of Refugee Resettlement in foster families after separation. However, foster
   care is not an appropriate substitute to a child remaining with his or her parents, and studies of
   refugee children in foster care have shown that children fare worse when placed in foster
   families than when cared for by their parents. 11 Placing these children into foster care will strain
   the U.S. child welfare system and set these children up for worsened health and social
   outcomes. 12

   The best interests of the child is the recognized legal standard for the treatment of children
   across a range of domains, including parental custody and immigration proceedings. This
   standard requires that children not be separated from their parents except in extreme
   circumstances, if required for the child’s protection. Indeed, the literature shows that parents

   4 Vincent J. Felitti et al., “Relationship of Childhood Abuse and Household Dysfunction to Many of the Leading

   Causes of Death in Adults: The Adverse Childhood Experiences (ACE) Study,” American Journal of Preventive
   Medicine 14, no. 4 (1998); Debora L. Oh et al., “Systematic Review of Pediatric Health Outcomes Associated with
   Adverse Childhood Experiences.” Pediatrics 141, no. 1 (2018).
   5 Felice Le-Scherban et al. “Intergenerational Associations of Parent Adverse Childhood Experiences and Child Health

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   6 Vincent J. Felitti et al. “Relationship of Childhood Abuse and Household Dysfunction to Many of the Leading Causes

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   7 Paul L. Geltman et al. “The ‘lost boys of Sudan’: functional and behavioral health of unaccompanied refugee minors

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   8 Matthew Hodes, “Psychopathology in refugee and asylum seeking children,” in Michael Rutter et al. (eds.), Rutter’s

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   9 Israel Bronstein and Paul Montgomery, “Psychological distress in refugee children: a systematic review,” Clinical

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   10 Alexander Miller at al. “Understanding the mental health consequences of family separation for refugees:

   Implications for policy and practice,” American Journal of Orthopsychiatry, 88, no. 1 (2018).
   11 Amy Holtan et al. “A comparison of mental health problems in kinship and nonkinship foster care,” European Child

   & Adolescent Psychiatry 14, no. 4 (2005); Geltman et al., “The ‘Lost Boys of Sudan.’”
   12 Kym R. Ahrens, Michelle M. Garrison, and Mark E. Courtney. “Health outcomes in young adults from foster care

   and economically diverse backgrounds,” Pediatrics 134, no. 6 (2014); Amy Dworsky, Laura Napolitano, and Mark E.
   Courtney. “Homelessness during the transition from foster care to adulthood,” American Journal of Public Health,
   103, no. S2 (2013).
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   are a vital buffer for children coping with severe stress. 13 A strong predictor of successful
   adaptation for children is family support. 14 Separation from their parents denies these children
   this vital resource, leaving them alone to face extremely stressful and likely frightening
   conditions. It increases the risk that these children will experience severe and long-lasting
   psychological problems, and may even contribute to the development of physical health issues. 15

   The United States should follow the “best interests of the child” standard and immediately stop
   the practice of forced separation. It should not be U.S. policy to traumatize children, especially
   not as a form of indirect punishment of their parents. The intentional infliction of pain on
   children and their families is not just inhumane, it also fails to meet the stated goals of
   deterrence. Punishing parents with family separation may cause damage to their children, and it
   will not change the realities that drove the parents to seek safe haven in the United States.

   As experts committed to promoting health and well-being, including of children, we ask you to
   immediately end the practice of family separation and take all measures to ensure that currently
   separated families are reunited without delay.

   Sincerely,

   Homer Venters, M.D., M.S., Director of Programs, Physicians for Human Rights, New York

   Kerry J. Sulkowicz, M.D., Chair, Board of Directors, Physicians for Human Rights, New York

   Eli Newberger, M.D., Pediatrics, Massachusetts

   Elizabeth B. Ford, M.D., Psychiatry, New York

   Kathleen Foley, M.D., Neurology, New York

   Stephen Soldz, Ph.D, Psychology, Massachusetts

   Edward Ameen, Ph.D, Psychology, Washington DC

   Annalise Keen, M.D., Psychiatry, Utah

   Roya Ijadi-Maghsoodi, MD, MSHPM, California

   American Psychological Association (APA)

   Coalition for an Ethical Psychology (CEP)

   International Association of Forensic Nurses (IAFN)


   13 John Bowlby, A secure base: Parent-child attachment and healthy human development (New York: Basic Books,
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   14 Tammy Bean et al. “Comparing psychological distress, traumatic stress reactions, and experiences of

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   15 Shanta R. Dube et al. “The impact of adverse childhood experiences on health problems: evidence from four birth

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   Jena Abaria                               Randall Alifano Ph.D.                      Jane Ariel Psychologist
   Linda Abeles Ph.D. Psychologist           Nicole Alifante                            Vina Ariyaprakai M.D.
   Sara Abelson MPH Public Health            Saira Alimohamed M.D. Physician            Maria Arizmendi M.D. Physician
   Jamie Abenroth                            Erika Alkhawaldeh Nurse                    Linda Arkin LCSW Social Work
   Aviva Abeshaus Social Work                Scott Allen M.D. Physician                 Ronald Arky M.D. Physician
   Lilit Ablabutyan Physician                Karen Allen Ph.D. Psychologist             Regina Armas Ph.D. Psychologist
   Steven Ablon Psychiatrist                 Molly Allen Psychologist                   Christine Armstrong
   Diane Aboushi                             Bruce Allen                                Weronika Armstrong M.D. Physician
   Melissa Abraham Ph.D. Psychologist        Julie Allender ADTR Psychologist           Deborah Armstrong Ph.D.
   Jonathan Abraham M.D. Physician           Annette Allison D.S.W. Social Work         Amy Armstrong Social Work
   Holly Abraham                             Richard Almond Physician                   Heidi Arnholm Administrator
   Tanya Abraham                             Joy Almquist RN Nurse                      Margo Aron Social Work
   Joshua Abrahams Social Work               Janet Alperstein                           David Around MPH Physician
   Stacy Abrams Other Health Professional    Nuar Alsadir Ph.D.                         Chaya Aronson
   Lauren Abrams Other Health Professional   Rebecca Alschuler Physician                Ritika Arora M.D. Physician
   Jane Abrams D.S.W. Social Work            Stephen Alsdorf Physician                  Jean Maria Arrigo Ph.D. Psychologist
   Randi Abramson Physician                  Maria Alshamma Social Work                 Luz Arroyo M.D. Physician
   Asma Abu-Dahab Social Work                Barbara Alter Ph.D. Psychologist           Robert Arroyo LISW Social Work
   Bayan Abunar                              Allison Alter Social Work                  Karla Arroyo LCSW Social Work
   Rohan Achar                               Susan Altfeld Ph.D. Public Health          Dolly Arroyo CAE Social Work
   Amy Ackroyd Social Work                   Gretchen Alther                            Kathie Arthursson RN Nurse
   Alexander Acosta                          Mary Alumbaugh Ph.D. Psychologist          Bonnie Arzuaga Physician
   Sylvia Acosta Ph.D. Psychologist          Shelly Alvarado APRN Nurse                 Deborah Ascheim M.D. Physician
   Maria Alexandra Acunzo Psychologist       Claudia Alvarez D.O. Physician             Linda Ashbaugh
   Jill Adaman Ph.D. Psychologist            Kiara Alvarez Ph.D. Psychologist           Catherine Ashby LPC
   Felicity Adams M.D. Psychiatrist          Emily Alvarez                              Noa Ashman LCSW-C Social Work
   Helen Adams Administrator                 Carolina Alvayay M.D. Physician            Rose Ashraf Psychologist
   Joan Adams Social Work                    Maria Alves Public Health                  Sadia Ashraf-Benson D.O. Physician
   Deborah Adams Administrator               Morgane Amat                               Maren Askins Psychologist
   Mary Jane Adams Ph.D. Psychologist        Paola Amaya Social Work                    Terese Atallah
   Christy Adams LMHC Other Health           Paro Ambardar Ph.D. Psychologist           Celeste Atallah-Gutierrez Psychologist
   Professional                              Laura Ambler D.O. Physician                Helit Atar-Greenfield Ph.D. Psychologist
   Eve Adams Ph.D. Psychologist              May Ambrogi LCSW Social Work               Helit Atar-Greenfield Ph.D. Psychologist
   Sabrina Adams M.D. Physician              Nusheen Ameenuddin M.D. Physician          Imaz Athar
   Stephanie Addikis                         Christine Amidon RN                        Daniel Atkins Psychologist
   Tessa Addison LCSW-R Social Work          Anik Amin M.D. Physician                   Thomas Atkins M.D. Psychiatrist
   Sheila Addison Ph.D.                      Amira Simha-Alpern Ph.D. Psychologist      Holly Atkinson M.D. Physician
   Veronica Ades M.D. Physician              Cecilia Amisola M.D. Physician             Eva Atsalis LCSW-R Social Work
   Molly Adler LCSW Social Work              Francena Amparo                            Sharon Attardo Nurse
   Susan Adlere ACSW Social Work             Donna Amundson LCSW Social Work            Ilana Attie Ph.D. Psychologist
   Monica Agarwal M.D. Physician             Sandra Anderson Ph.D. Nurse                Kathern Auer D.O. Physician
   Reena Agarwal Physician                   Wayne Anderson Nurse                       John Auerbach Ph.D. Psychologist
   Radha Agepati M.D. Psychiatrist           Emily Anderson                             Jennifer auf der Springe M.D. Physician
   James Agolia                              Sarah Anderson                             Robin Aupperle Ph.D. Psychologist
   Grettel Aguilar ACRC                      Jennifer Anderson LCSW-R Social Work       April Autry Physician Assistant
   Alicia Aguilar CCRN Nurse                 Lynn Anderson                              Andrew Avault Social Work
   Cheryl Aguilar LICSW Social Work          Kerri Anderson LMFT                        Catherine Avener M.D. Physician
   Irene Aguilera                            Jessica Andrade                            Jolenta Averill
   Nicole Aguirre Physician                  Melanie Andrews M.D. Physician             Lily Awad M.D. Psychiatrist
   Negin Ahadi M.D. Physician                Arthur Andrews III Ph.D. Psychologist      Erin Awerkamp Social Work
   Tasnia Ahamed Social Work                 Catalina Angel                             Jeffrey Axelbank Psy.D. Psychologist
   Julia Ahern Social Work                   Charles Angelo                             Steven Axelrod Ph.D. Psychologist
   Amy Ahlfeld Psychologist                  Larry Angert                               Lorena Aynalem Social Work
   Saba Ahmad M.D. Physician                 Evelyn Angulo Physician                    Naomi Azar Psychologist
   Yasir Ahmed                               George David Annas M.D. Psychiatrist       Victoria Azara Ph.D. Psychologist
   Joanne Ahola M.D. Psychiatrist            Mary Annas Ph.D.                           Codi Azuela LMHC
   Theresa Aiello Ph.D. Social Work          George Annas Public Health                 Allison Azus Psy.D. Psychologist
   Ruth Airhart LPC                          Marcia Annenberg                           Mariel B Social Work
   Jenny Ajl Social Work                     Elvira Anselmi Ph.D. Psychologist          Deidre B D.O. Physician
   Fatma Akmese M.D. Physician               Stacey Anstaett D.V.M.                     Bhavana Babber Physician
   Eloho Akpovi Medical Student              Julie Antilla Ph.D.                        Sheldon Bach Ph.D. Psychologist
   Maria Beatriz Al Social Work              Korina Antina                              Janet Bachant Ph.D. Psychologist
   Kim Alaburda Public Health                Mildred Antonelli                          Ann Bacharach Social Work
   Erin Albers M.D. Physician                Mildred Antonelli Dr.PH. Psychologist      Judith Bachay LMHC
   Susan Albert                              Claudette Antuna Psychologist              Danielle Back Physician
   Jessica Albertson Psychologist            Roberta Apfel Psychiatrist                 Allison Bacon M.D. Physician
   Joseph Albietz M.D. Physician             Elizabeth Aponte Social Work               Briahn Badelle LCSWSocial Work
   Erinn Alcabes                             Vivianne Aponte Rivera M.D. Psychiatrist   Beverly Badger
   Adam Alcabes                              Kristin Applebaum                          Charlotte Badler RN Nurse
   Amanda Aldrich Nurse                      Secil Arac-Orhun Ph.D. Psychologist        Navroop Badyal Physician
   Philip Alex Ph.D. Psychologist            Maria Aranda Ph.D. Psychologist            Carl Bagnini LCSW-R Social Work
   Dorian Alexander MD Physician             Saulo Araujo                               Kandy Bahadur Physician
   Hannah Alex-Glasser                       Ta Arb                                     Muna Bahsali RN Nurse
   Rachel Alexis Social Work                 Natalie Arbid                              Sunhye Bai Ph.D. Psychologist
   Lisa Alexoff LCPC                         Linda Arbus Social Work                    Paola Bailey Psy.D. Psychologist
   Jill Alger-James LCSW Social Work         Magali Aresu                               Emily Bailey Social Work
   Laila Ali Administrator                   Ellen Arfin Social Work                    Meghan Bailey




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   Terra Bailey D.V.M.                   Nerissa Bauer Physician                   Joan Berkowitz LCSW Social Work
   Parvathi Rau Bains Physician          Karyn Baum M.D. Physician                 Sarah Berkson M.D. Psychiatrist
   Laura Baird Psy.D. Psychologist       Peter Baum D.O. Physician                 Amanda Berling M.D. Physician
   Meera Bajwa M.D. Physician            Susann Bauman                             Ellen Berman M.D. Psychiatrist
   Nida Bajwa                            Cynthia Baum-Baicker Ph.D. Psychologist   Ariel Berman Psychologist
   Emily Bakaj Public Health             Tondy Baumgartner M.D.                    Sheri Bernal Social Work
   Jennifer Bakalar Ph.D.                Kelle Baxter Nurse                        Monica Bernheim LCSW-R Social Work
   BeatriceBaker                         Joseph Bayley                             Elizabeth Bernstein Ph.D. Psychologist
   Amy Baker                             Dr. Bronwyn Baz M.D. Physician            Alice Bernstein Ph.D. Psychologist
   Kelley Baker Psychologist             Rebecca Bazell                            Amy Bernstein
   Amelia Baker M.D. Physician           Daphne Beal                               Anne Bernstein Ph.D. Psychologist
   Judith Baker                          Allison Bean M.D. Physician               Rebecca Bernstein M.D. Physician
   Lucas Baker-Siroty Psy.D.             Barbara Beard D.O. Physician              Stacey Bernstein-Haas M.D. Psychiatrist
   Eliza Bakken Physician                Jasjit Beausang M.D. Physician            Julia Berreth
   Susie Baldwin Physician               Lindsey Beaven Ph.D.                      Jennifer Berz Ph.D. Psychologist
   Richard Baldwin                       Henry Beck Ph.D. Social Work              Luana Bessa Ph.D. Psychologist
   Viola Baldwin                         Erin Beck Pharmacist                      Katie Best LCSW Social Work
   Elizabeth Baldwin Psy.D.              Amy Beck M.D. Physician                   Paul Betty
   Erin Baldwin Social Work              Tim Becker M.D. Physician                 Melissa Beveridge-Massard
   Jenn Baldwin                          Jordan Becker M.D. Physician              Meenakshi Bewtra M.D. Physician
   Miranda Balkin M.D. Physician         Jen Becker                                Rebecca Beyda M.D. Physician
   Alexis Ball M.D. Physician            Janice Beckert LPC                        Chris Beyrer M.D. Physician
   Laurel Ball RNC Nurse                 Lauren Becton M.D. Physician              Amit Bhardwaj Physician
   Michele Ballet Psy.D. Psychologist    David Bedell M.D. Physician               Maya Bhatia M.D. Psychiatrist
   Arthi Balu M.D. Physician             Rachel Bedick LICSW Social Work           Karunya Bhattacharya
   Somalee Banerjee M.D. Physician       Kaycee Beglau Psy.D. Psychologist         Catherine Bianchi Ph.D. Psychologist
   Rona Bank ABPP Psychologist           Kasra Behizad Physician                   Sara Bickerstaff
   Laura Banks M.D. Physician            Nicole Kellan Behnke M.D. Physician       Rebekah Bickford Psy.D. Psychologist
   Emma Banks                            Deanna Behrens M.D. Physician             Sarah Biederman
   Pamela Bannan RN Nurse                Jack Beinashowitz Ph.D. Psychologist      Heather Biedrzycki LMHC
   Sarah Bannister D.O. Physician        Flor Beleniski Physician                  Matthew Biel M.D. Psychiatrist
   Sarah Bansen APRN-BC Nurse            Gail Bell Ph.D. Psychologist              Nina Bien Psychologist
   Julie Barajas RN Nurse                Keisha Bell M.D. Physician                Thomas Bien Ph.D. Psychologist
   Kim Baranowski Ph.D. Psychologist     Michelle Bell Psy.D. Psychologist         Britt Bilal
   Tia Baratelle Administrator           Christine Bell                            Eva Bilderbeck Nurse
   Kelly Barbour M.D. Physician          Christi Bell Social Work                  Julie Bindeman Psy.D. Psychologist
   Jill Barbre LCSW Social Work          Danielle Bellavance Medical Student       Marian Birch D.M.H. Psychologist
   Cathy Bargar RN Nurse                 Lauren Belleville                         Brenda Birmann Public Health
   Lucille Barish Social Work            Stacey Belliard                           Amahl Bishara
   Allison Barker-Ford Social Work       Victoria Belliard                         Natalie Bishop M.D. Physician
   Alicia Barmon Social Work             Juan Carlos Belliard Public Health        Michael Bishop M.D. Physician
   Jeanne Barnard Nurse                  Stefanie Belnavis                         John Bishop Psychologist
   Bill Barnes                           Alexander Belser Ph.D. Psychologist       Joleen Bishop
   Tina Barnet                           Jennifer Beltz                            Ruth Bittner Social Work
   Heather Barnett Physician             Ken Benau Psychologist                    Anne Biwen Ph.D. Psychologist
   Eve Barnett LCSW Social Work          Thomas Bender                             Melissa Black Ph.D. Psychologist
   Linda Barnhurst Psy.D.                Cara Benedetto                            Chame Blackburn M.D. Physician
   Joshua Barocas Physician              Trude Bennett Dr.PH. Public Health        Faith Blackmore Nurse
   Michael Baron Ph.D. Psychologist      Alyssa Bennett D.O. Physician             Judith Blackwell
   Erica Baron                           Catherine Benoist                         Joy Blackwood Public Health
   Corey Barr                            Marilyn Benoit M.D. Psychiatrist          Shirley Blaha Nurse
   Romina Barral M.D. Physician          Michele Benoit-Wilson M.D.                Amy Blair M.D. Physician
   Charmaine Barredo M.D. Physician      Doris Benrey Psychologist                 Lynne Blaisdell Social Work
   Sandra Barreto                        Maryann Bens Psychologist                 Leigh Blake
   Anastasia Barros Physician            Peter Bensen D.C.                         Mary Blakeslee Ph.D. Psychologist
   Daniela Bartalini                     Megan Tracy Benson MSW Social Work        Heather Blanchard
   Pat Bartels APRN-BC Nurse             Ruth Benson LCSW Social Work              Christiane Blanco-Oilar Ph.D.
   Thomas A Bartlett Psychologist        Stephen Benson Ph.D. Psychologist         Psychologist
   Jessica Bartlett Ph.D.                Dawn Bent Social Work                     Lily Blank Psychologist
   Bob Bartlett Ph.D. Psychologist       Suzanne Benton M.D. Physician             Kevin Blank
   Kira Bartlett Psy.D. Psychologist     Alexandra Berardi                         Susan Blank LPC
   Kristy Kenyon Bartley Psychologist    Phyllis Beren Ph.D. Social Work           Terry Blanken Ph.D. Psychologist
   Michele Bartnett Ph.D. Psychologist   Emily Berg                                Christine Blasey Ph.D. Psychologist
   Nicole Bartolini LCSW Social Work     Kiley Berg                                Courtney Blashki Social Work
   Kathleen Bar-Tur Social Work          Katherine Berg M.D. Physician             Mindy Blatt Administrator
   Amanda Barusch Ph.D. Social Work      Melinda Berg Nurse                        Andrew Blatter Social Work
   Amanda Bashir M.D. Physician          Salli Berg Seeley                         Richard Bliss M.D. Physician
   Sabrina Basquez Social Work           Sasha Berger Ph.D. Psychologist           Elizabeth Bliss
   Daisy Bassen M.D. Psychiatrist        Cherylynne Berger Social Work             M. Gregg Bloche Psychiatrist
   Katie Bassoli LCSW Social Work        Suzann Bergeron                           Katie Bloom Social Work
   Helene Bass-Wichelhaus Ph.D. Social   Christina Bergin M.D. Physician           Joyce Bluestone LCSW-R Social Work
   Work                                  Marion Bergman, MD                        Cori Blum AAHIVS Physician
   Nicole Bates MSW Social Work          Brandon Bergman Ph.D. Psychologist        Maria Blum Social Work
   Geoff Bathje Ph.D. Psychologist       Margaret Bergmann-Ness Social Work        Lawrence Blum Psychiatrist
   L. Batra Ph.D. Psychologist           Sandra Berher                             June Blum
   Jill Battalen Social Work             Susan Berkhout Social Work                James Blum
   Delia Battin                          Bonnie Berkovitz                          Raia Blum




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   Dana Blyth M.D. Physician                 Sarah Bren Ph.D. Psychologist             Quynh Bui Physician
   Amy Boardman LPN Nurse                    Sharon Brennan Ph.D. Psychologist         Lydia Buki Ph.D. Psychologist
   Judith Bobbe Social Work                  Mary Brennan Psychologist                 Jennifer Bumpus Psy.D. Psychologist
   Kate Bock LCSW                            Sarah Brennan Ph.D. Psychologist          Jessica Buonocore
   Maria Bodic Physician                     Cameron Brennan M.D. Physician            Janet Burak LCSW-R Social Work
   Kira Boesch Ph.D. Psychologist            Liz Brenner LICSW Social Work             Emma Burbank Physician
   Joelle Boeve M.D. Physician               Yocasta Brens                             Benjamin Burenstein
   Terri Bogage Social Work                  Kerri Bresnan Psy.D. Psychologist         Suzanne Burger Psy.D. Psychologist
   Nicole Bokat                              Cheryl Brewer Nurse                       Lisa Burger Nurse
   Tammy Bolin Nurse                         Noel Brewer Ph.D. Public Health           Jacqueline Burgos
   Nicole Bologniin LCSW Social Work         Loretto Brickfield Ph.D. Psychologist     Nancy Burke Ph.D. Psychologist
   Andrea Bomgaars D.V.M.                    Christine Bridges M.D. Physician          Laura Burke M.D.
   Rachael Bonawitz Physician                Amanda Bridges MSEdPsychologist           Tracy Daniel Burke Psy.D. Psychologist
   Trudy Bond Psychologist                   Jeralee Briggs Ph.D. Psychologist         Jennifer Burnett
   Rhonda Bonett Ph.D.                       Kathryn Brigham Physician                 Mikaela Burnham M.D. Physician
   Lorena Bonilla M.D. Physician             Aaron Brinen Psy.D. Psychologist          Erin Burns
   Ja,es Bonnar M.D. Psychiatrist            Rachel Bring M.D. Physician               Sarah Burns M.D. Physician
   Arielle Bonne Social Work                 Katie Britton Social Work                 Cheryl Burns LPC Psychologist
   Brittany Bonner Social Work               Kate Brizzi M.D. Physician                Autumn Burris
   Aaron Bonner-Jackson Ph.D. Psychologist   Janan Broadbent Psychologist              Adam Burrows Physician
   Alice Bontempo Dr.PH. Psychologist        Jeanne Brock MHP Social Work              Marcy Burstein Psychologist
   Andrew Bontemps Psychologist              Julia Brockway M.D. Physician             Rebecca Burton LMFT
   Annie Bonz                                Bari Brodsky M.D. Physician               Bettina Buschel LMHC
   Claire Boogaard Physician                 Stephanie Brody Psy.D. Psychologist       Kevin Bush Ph.D.
   Barbara Booker CSW Social Work            Leslie Brody Psychologist                 Bob Bussel
   Susan Booth-Daniels Social Work           Yosef Brody, Ph.D., Clinical Psychology   Rianne Bustamante RNC Nurse
   David Bor Physician                       Mary Beth Brogan MSEd                     Melissa Butler Ph.D. Psychologist
   Christina Borba Ph.D.                     Samuel Broida                             Reagan Butler
   Kathi Borden Ph.D. Psychologist           Jessica Brokaw LCSW-C Social Work         Nola Butler-Byrd Ph.D.
   Alena Borgatti Medical Student            Keith Brooks                              Brenda S Butzel Social Work
   Psychologist                              Mary Brooks Nurse                         Leonce Byimana MPH Administrator
   Néstor Borrero Ph.D. Psychologist         Dominique Brossard                        Aliya Bynum M.D. Physician
   Clari Borrero Physician                   Mikki Broughton CMFT Psychologist         David Byrom Ph.D. Psychologist
   Rachel Bosch Scientist                    Marge Broward                             Jaehyun Byun M.D. Physician
   Pauline Boss Ph.D. Psychologist           Jen Brown LICSW Social Work               Nancy Cabelus APRN-BC Forensics
   Kristie Bosworth Psychiatrist             Tara Brown Social Work                    Cynthia Cabral Ph.D. Psychologist
   Naomi Botkin M.D. Physician               Kathleen Brown Ph.D. Psychologist         Jane Caflisch Ph.D. Psychologist
   Steven Botticelli Ph.D. Psychologist      Julia Brown Ph.D.                         Laura Caghan Psy.D. Psychologist
   Ghislaine Boulanger Ph.D. Psychologist    Ida Brown LMHC                            Laura Caghan Psy.D. Psychologist
   Mirna Boumitri Physician                  Colleen Brown M.D. Physician              Pat Cahill Watson
   Missy Bourassa                            Susan Brown Psy.D. Psychologist           Nicole Cain Ph.D. Psychologist
   Bernadette Bourassa CED                   Wayne Brown                               Dotty Caldwell LCPC
   Marianne Bouthilette                      Danielle Brown Public Health              Susan Caldwell
   Mary Bowers Ph.D. Psychologist            Barbara Brown Ph.D. Psychologist          Archna Calfee M.D. Physician
   Colleen Bowers                            Kathryn Brown                             Cristina Calhoon
   Sacharitha Bowers M.D. Physician          Dr Pat Brown Ph.D. Psychologist           Eric Caliendo
   Kristin Bowles Social Work                Rebecca Brown Psychologist                Pamela Calkins
   Jan Bowman Ph.D. Psychologist             Melanie Brown Medical Student             Megan Callahan Ph.D.
   Sandy Bowman                              Mary Brown Nurse                          Elena Callahan
   Jessica Boyatt Psychologist               Jane Brown                                Kathryn Callahan Physician
   Jessica Boyatt Psychologist               Marybeth Brown                            Janet Callum
   J. Wesley Boyd M.D. Physician             Allison Brown                             Jose Camerino LISW Social Work
   Andrew Boyd Physician                     Joedrecka Brown Speights M.D. Physician   Anicea Campanale
   Rhonda Boyd Ph.D. Psychologist            Jessica Browne Social Work                Amber Campbell LMHC
   Darcy Boyd Nurse                          Joshua Brownlee M.D. Physician            Megan Campbell LMSW Social Work
   Sara Boyles Nurse                         Vered Brownstein Social Work              Michael Campbell
   Linda Bozza CM                            Linda Brown-Tiritilli LMFT                Willa Campbell
   Yelena Bracchini M.D. Physician           Thomas Bruce Psy.D. Psychologist          Anna Campion Ph.D. Psychologist
   Juliet Bradley M.D. Physician             Julie Brueggemann                         Amelia Campos M.D. Physician
   Mary Brady Public Health                  Diane Bruessow, PA-C                      Lynae Canales M.D. Physician
   Lorri Brady                               April Brumson APRN Nurse                  Julia Candela Psychologist
   Gail Bragg Social Work                    Kristen Bruneau                           Lucy Candib M.D. Physician
   Martha Bragin Social Work                 Frank Bruno                               Lynn Cannici
   Deana Bramley Social Work                 Sarah Brunt                               Gail Canzano Ph.D. Psychologist
   Melissa Brand Psy.D. Psychologist         Cathe Bruso LCAT Social Work              Rebecca Capasso M.D. Psychiatrist
   Stephanie Brandt M.D. Psychiatrist        Linda Bryant                              Tracy Capes M.D. Physician
   Heather Branham LCSW Social Work          Mariel Bryden Physician                   Alexis Capestany
   Irina Bransteter Ph.D. Psychologist       Beverly Brysk Ph.D. Psychologist          Nancy Caporaso
   Jeanie Brasie                             Wilma Bucci Ph.D. Psychologist            Melisa Caprio
   Lucinda Bratini Ph.D. Psychologist        Lisa Buchberg Psychologist                Rose Capurso Psychologist
   Christine Bratton PT                      Gretchen Buchenholz Administrator         Daniela Caraballo Social Work
   Jacqueline Brauer Social Work             Susan Buck Scientist                      Carolyn Carbone Ph.D. Psychologist
   Elizabeth Braunreuther                    Carol Buckley                             Cheryl Card Ph.D. Psychologist
   Teresa Bray                               Ayanna Buckner Physician                  Linda Carden Nurse
   Mary Braza Physician                      Karen Budd Ph.D. Psychologist             Alondra Cardenas Physician
   Susanne Breckwoldt Ph.D. Psychologist     Anne Buechl                               Alonso Cardenas M.D. Psychiatrist
   Leela Breitman                            Joseph Buffone Social Work                Dana Cardin M.D. Physician




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   Jinyen Carew                              Lorena Chang                           Gillian Claycomb
   Sandra Carey Psy.D. Psychologist          Dorothy Chao Nurse                     Sarah Cleary Ph.D. Psychologist
   Michele Carfiello Public Health           Natalie Chap MSW Social Work           Erin Cleary M.D. Physician
   Elizabeth Caritj LCSW-C Social Work       Claudia Chapa M.D. Physician           Monica Clement Psychologist
   Elizabeth Carley                          Teresa Chapa Ph.D. Psychologist        Anne Clements Social Work
   Vanessa Carlo Physician                   Lisa Chapman                           Courtney Clifford
   Megan Carlos Ph.D. Psychologist           Paige Chapman-Layland                  Elayne Clift
   Martha Carlough Physician                 Mitchell Charap M.D. Physician         Jim Clopton Ph.D. Psychologist
   Cindy Carlson Ph.D. Psychologist          Dana Charatan Psy.D. Psychologist      Cynthia Closs D.S.W. Social Work
   Laura Carlson M.D. Physician              KC Charette Psy.D. Psychologist        Autumn Cloud-Ingram LMSW Social
   Laurie Carmichael CPNP Nurse              Julie Charette Nunn                    Work
   James Carnelia Ph.D. Psychologist         Kimberly Charlebois LPN Nurse          Kai Clough
   Ann Carnevale Medical Student Physician   Kimberly Charlebois LPN Nurse          Erin Clowes Scientist
   Yvette Caro Ph.D. Psychologist            John Charles                           Mary Coakley-Welch Ph.D. Psychologist
   Sarah Carpenter M.D. Physician            Emily Charvis LCSW Social Work         Ashley Coats Psychiatrist
   Erica Carr LCSW Social Work               Alison Chase ANP                       Ali Cobb
   Daisy Carrasquillo Social Work            Avik Chatterjee Physician              Mary Cobb Nurse
   Heidi Carrillo                            Bithi Chatterjee Scientist             Rachel Cobb
   Lisanne Carr-Jos CHFS                     Akshata Chaudhary                      Margaret Coble
   Monique Carroll APRN Physician            Nila Chauhan M.D Physician             Catherine Coble LCSW-C Social Work
   Maureen Carroll                           Felicia Chavando                       Daniel Cochrane
   Larkin Carroll Social Work                Krishna Chavda                         Laura Coffey LCSW-R Social Work
   Monica Carsky Ph.D. Psychologist          Gerald Chavez Ph.D. Psychologist       Ellen Coffey Ph.D. Psychologist
   Lesley Carson Physician                   Mira Chaykin                           Erica Coffin M.D. Physician
   Denise Carter Nurse                       Lorna Cheifetz Psy.D. Psychologist     Alison Cogan Scientist
   Stephanie Carter LCSW Social Work         Emily Chen Physician                   Robert Cohen M.D. Physician
   Nicole Carter M.D. Physician              Stephanie Chen Physician               Sarah Cohen M.D. Psychiatrist
   Marie Caruso-Teresi, ATR-BC               Leian Chen M.D. Physician              Mardge Cohen M.D. Physician
   Alan Carver M.D. Physician                Austin Chen                            Elise Cohen Ph.D.
   Ilene Carver                              Isabelle Chesley Nurse                 Samuel Cohen Physician
   Deborah Carver M.D. Psychiatrist          Serana Chester Psychologist            Rebecca Cohen AAHIVS Physician
   Alfred Casale                             Laura Chester LMHC                     Terri Cohen
   Lauren Casapulla MAOM Psychologist        Zahra Chevannes Social Work            Lisa Cohen Ph.D. Psychologist
   Kristy Case LCSW Social Work              Gurbir Chhabra Physician               Rebecca Cohen Ph.D. Psychologist
   Gretchen Case Ph.D.                       Jennifer Chia M.D. Physician           Barbara Cohen Psychologist
   Consuelo Casillas M.D. Physician          Natasha Chida Physician                B. Beth Cohen Ph.D. Psychologist
   R. Omar Casimire                          Lucy Chie M.D. Physician               Naomi Cohen
   Taymy Caso                                Donna Chimera Ph.D. Psychologist       Janice Cohen
   Julio Casoy Physician                     Mary Chiou M.D. Physician              Julie Cohen Nurse
   Flavio Casoy M.D. Psychiatrist            Beth Chirillo                          Robyn Cohen Psychologist
   Patricia Cassidy Nurse                    Makini Chisolm-Straker                 Gwen Cohen-Brown D.D.S.
   Kate Cassidy-DeVito CNM                   Allison Chizum Nurse                   Shara Cohn M.D. Physician
   Veronica Castaldi                         Anne Chmilewski M.D. Physician         Richard Cohn-Lee
   Lourdes Castañon-Ditillo M.D. Physician   Deborah Choate M.D. Psychiatrist       Jesse Cole Physician
   April Castillo M.D. Physician             Komal Choksi Ph.D. Psychologist        Jennifer Coleman
   Betsy Catalano Social Work                Sapna Chopra Psychologist              Stephanie Coleman LMFT
   Alexandra Cattaruzza Psychologist         Eve Chou Nurse                         Linda Collazo M.D. Physician
   Marissa Caudill Psychiatrist              Alice Christensen Ph.D. Psychologist   Crystal Collier Psy.D. Psychologist
   Kelsey Cavanagh-Strong Social Work        Laura Christensen LCSW Social Work     Meaghan Colling Physician
   Patricia Cavanaugh                        Mary Christensen Ph.D. Social Work     Cheryl Collins M.D. Psychiatrist
   William Cayley M.D. Physician             Nicole Christian-Brathwaite M.D.       Kevin Collins RN Nurse
   Traci Caywood RN Nurse                    Physician                              Sara Colm
   Diana Cejas M.D. Physician                Teresa Christmas PC                    Niki Colombino Ph.D. Psychologist
   Marianne Celano Ph.D. Psychologist        Paulette Christopher Psychologist      Cassie Colwell Physician
   Armand R Cerbone Ph.D. Psychologist       Ilia Christy Physician                 Gene Combs M.D. Psychiatrist
   Colleen Ceremuga M.D. Physician           Krista Chronister Psychologist         Allegra Condiotte
   Lilia Cervantes Physician                 Michelle Chu Physician                 Alissa Conklin M.D. Physician
   Eunice Cervantes                          Tina Chu M.D. Physician                MaryAnn Conley
   Christine Cesa Social Work                Cheryl Church                          Lynette Connell M.D. Physician
   Brittany Cesar Physician                  Elizabeth Cieri Psychologist           Jennifer Connell Social Work
   Elizabeth Cestero Social Work             Pamela Cipriano Ph.D. Nurse            Mark and Nancy Jo Connell
   Smitha Chadaga M.D. Physician             Phoebe Cirio LCSW Social Work
   Jeanne Chadwick Ph.D. Public Health       Lauren Ciszak M.D. Physician           Patrick Connelly Psy.D. Psychologist
   Melissa Chai                              Eleba Clamen                           Karin Connelly Ph.D. Psychologist
   Rachel Chalmer M.D. Physician             Megan Clapp MACP Psychologist          Meghan Connett Physician
   Anne Chamberlain Physician                Melissa Clapp                          Sara Connolly M.D. Physician
   Linda Chamberlin Scientist                Elizabeth Clark Psychologist           Kristen Connolly M.D. Physician
   Renae Chambers                            Guiselle Clark M.D. Physician          Daniel Connolly
   Vivian Chan Medical Student Physician     Renea Clark Nurse                      Shae Connor M.D. Physician
   Wendy Chan Psy.D. Psychologist            Sarah Clark                            Brenna Conroy Physician
   Karen Chandler M.D. Physician             Twyla Clark PA-C                       Shilpa Constantinides Public Health
   Jane Chandley NP                          Dorothy Clarke                         Stephanie Constantino M.D. Physician
   Sam Chang Physician                       John Clarkin Ph.D. Psychologist        Kimberly Contant Nurse
   Jennifer Chang                            Megan Clary Ph.D. Psychologist         Veronica Contreras D.O. Physician
   Kimberly Chang M.D. Physician             Christina Clasp Social Work            Paola Contreras Psy.D. Psychologist
   Doreen Chang                              Philip Claus Social Work               Keith Cook Ed.D. Psychologist
   Catina Chang Ph.D. Psychologist           Lance Clawson M.D. Psychiatrist        Keith Cook Ed.D. Psychologist




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   Lisa Cook                                 Adele Cuthbert Ph.D. Psychologist          Daphne de Marneffe Ph.D. Psychologist
   Kristopher Coontz Physician               Beverly Cutler Psychologist                Lauren De Nitto Social Work
   Katherine Cooper LCSW Social Work         Michelle Cutler Ph.D. Psychologist         Helene De Rengerve Administrator
   Anna Cooper Social Work                   Mona Cutolo                                Isak de Vries LCSW Social Work
   Jesanna Cooper M.D. Physician             Alexandra Cyr                              Ellen DeBiase
   Jolie Cooperman                           Andrea Cyr LPC                             Katrina Debs
   Carmen Coots                              Bruce Czuchna Psy.D. Psychologist          Lisa Deck Social Work
   Teresa Coppola Social Work                Laura Czulada D.O. Physician               Norman Decker M.D. Psychiatrist
   Maureen Corbett Psychologist              Cassandra D’Accordo Ph.D. Psychologist     Chelsea Decker Nurse
   Janet Cordell RN Nurse                    Ann D’Ercole D.Phil.Psychologist           Bahney Dedolph Social Work
   Claudia Cordoba Physician                 Kathy Da Silva Social Work                 Gina DeGiovanni M.D. Physician
   McKenna Corlis                            Laura DaBruzzi Social Work                 Caitlin Deighan
   Dana Corman Social Work                   Clifford Dacso Physician                   Marla Dekker
   Maria Corona                              Mara Dacso M.D. Physician                  Dina del Amo Psy.D. Psychologist
   Elizabeth Corsale                         Matthew Dacso M.D. Physician               Leslie Delavan
   Sara Cortes Physician                     Kirsten Dahl Ph.D. Non-MD                  Mona Delavan Ph.D. Psychologist
   MaryAnn Cortez-Jesse Nurse                Amber Daigle                               Mercedes Delgado M.D. Physician
   William Cosgrove M.D. Physician           Jamila Dakhari Psy.D. Psychologist         Mary Delgado MPH Public Health
   Shari Coskey, Ph.D. Psychologist          Mona DalalM.D. Physician                   Mercedes Delgado-Lantigua Th.D.
   Saba Cossor M.D. Physician                Tammy Dale Psychologist                    Chantè DeLoach Psy.D. Psychologist
   Gerard Coste M.D. Physician               Renee Daley Social Work                    Leyland DelRe RN Nurse
   Margaret Costello                         Sara Daly LCSW-C Social Work               Anthony DeLuca
   Christie Cotcher                          Megan Daly                                 Gloria Demby LCSW-R Social Work
   Emily Cotter M.D. Physician               Mike Daly                                  Gisela Demko Psychologist
   Deborah Cotton Physician                  Amy Damashek Psychologist                  Elizabeth Demma RRT
   Maripat Cottone Nurse                     Elisheva Dan Ph.D. Psychologist            Colleen Dempsey Social Work
   Ailish Coughlan                           Lisa Danaczko                              Mark Denison Ph.D. Psychologist
   Kelly Coulehan Ph.D. Psychologist         Megan D'Andrea                             Miriam Denmark Social Work
   Kimberley Coup                            Ellyn Daniels Ph.D. Psychologist           Lauren Dennehy Social Work
   Christine Courtney M.D. Physician         Ron Daniels                                Kathy Dennis Nurse
   Michael Cover                             Valerie Danielson M.D. Physician           Al Dennis Nurse
   Shannon Covitz D.O. Physician             Barbara Danish                             Marc Dentico-Olin M.D. Physician
   J Carolyn Cowan Ph.D. Psychologist        Nancy Dankiw                               Carole Denton
   Mackenzie Cox Social Work                 David Dantzker, MD                         Elizabeth Derbes MPH Public Health
   Valerie Cox Pharmacist                    Kelly Dardeen Ph.D. Psychologist           Aimee Dershowitz Psychologist
   Lisa Cox MSW Social Work                  Sherry Darr                                Peggy Dervitz Social Work
   Susan Coyle Scientist                     Allison Darrow Administrator               Purnahamsi Desai Physician
   Stephanie Coyne Ph.D. Psychologist        Katherine Darwish Psychologist             Malini Desai
   Erik Craig Psychologist                   Moupali Das M.D. Physician                 Sheetal Desai D.O. Physician
   Joy Crandall D.O. Physician               Debesh Das Public Health                   Kristin DeSantis Physician
   Leilani Crane Psychologist                Arijit Dasgupta Physician                  Robin Deutsch Psychologist
   Susan Crane Nurse                         Heather Data and Planning Manager          Robin Deutsch Ph.D. Psychologist
   Lisa Cranmer Physician                    Administrator                              Josephine Deutsch Nurse
   Thomas Crawford Psychologist              Rachelle Dattner Ph.D. Psychologist        Rosalyn Deutsche
   Jennifer Creedon M.D. Physician           John Dauer Social Work                     Michael Devlin M.D. Psychiatrist
   Allison Cressy Public Health              Sigrid DaVeiga M.D. Physician              Elizabeth DeVries Nurse
   Julie Ann Crewalk M.D. Physician          Edward DaVeiga Physician                   Madeline DeWane
   Janice Crist Nurse                        Sonya Davey                                Mavis DeWees
   Diane Critchlow                           Lance Davidow Ph.D.                        Raphael Deykin
   Kelly Cromer Psychologist                 Kristin Davidson                           Kristin Dezen Psychologist
   Hope Cromer Psychiatrist                  Jenny Davidson                             Ramandeep Dhillon M.D. Physician
   Jay Crosby Ph.D. Psychologist             Leslie Davidson M.D. Physician             Harinder Dhindsa Physician
   Sondra Crosby M.D. Physician              Leela Davies M.D. Physician                Elizabeth Diamond Ph.D. Psychologist
   Meghan Crosby Budinger LCPC               Tammara Davis M.D. Psychiatrist            Ellen Diamond Psychologist
   Amanda Crosier-Riffle M.D. Psychiatrist   Kristin Davis                              Caroline Dias Physician
   Michael Crouch                            Mary Davis                                 Kevin Diasti M.D. Physician
   Allison Croucher D.O. Physician           Stacie Davis                               Erick Diaz
   Denise Crowther                           Martha Davis Ph.D. Psychologist            Chanelle Diaz Physician
   Brenndan Crumley                          Heather Davis                              Monique Díaz M.D. Physician
   Craig Cruzan Ph.D. Psychologist           Diane Davis LCSW Social Work               Sara Diaz Physician
   Zandra Cruz-Paul Social Work              Elizabeth Davis LICSW Social Work          Donna DiCello Psy.D. Psychologist
   Brigette Cuffia                           Dawn Davis Physician                       Lyn Dickert-Leonard M.D. Physician
   Nancy Culhane Psychologist                Deborah Dawson Psy.D. Psychologist         Agnes Dickson Ph.D. Psychologist
   Rachel Cull Psy.D. Psychologist           Stephanie Dawson                           Amy Dierberger Ph.D. Psychologist
   Ellen Cullen Social Work                  Bria Day                                   JoAnn Difede Ph.D. Psychologist
   Rebecca Culver                            Deborah Day Psy.D. Psychologist            Una Diffley Public Health
   Charles Cuneo Physician                   Zara Day MPH Public Health                 Abigail Dillaha Scientist
   Tiffany Cunningham LICSW Forensics        Manisha Dayal Psy.D. Psychologist          Mark Dilley
   Thomas Cunningham Physician               Trish Dayan Social Work                    Colleen Dillon Ph.D. Psychologist
   Juanita Curran Social Work                Cathy Dayan                                Oscar Dimant Medical Student Physician
   Anjuli Curran Social Work                 Cecile de Lardemelle Psy.D. Psychologist   Amy Dimun
   Linda Curreri                             Cynthia de las Fuentes Psychologist        Adriana DiNardo LCSW-R Social Work
   Katrina Curry LMFT                        Amanda De Laurentiis                       Matthew Diner Ph.D. Social Work
   Colleen Curtin Physician                  Angeles de Leon MSW Social Work            Khanh Dinh Ph.D. Psychologist
   Judy Curtis Psychologist                  Rafael De Leon                             Joan Dinkelspiel
   Sharon Cushman Dr.PH. Psychologist        Nicholas De Los Reyes Ph.D. Psychologist   Danielle Dion M.D. Physician
   Michelle Cushman Psychologist             Christine De Luca Administrator            Patricia Dion




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   Maryanne DiPasquale                       Joan Duncan Ph.D. Psychologist            Carolyn Ellman Ph.D., Psychologist
   Lori DiPrete Brown MSPH Public Health     Deborah Dunevant                          Nancy Elman Ph.D., Psychologist
   Aislyn DiRisio                            Elizabeth Dunford Nurse                   Allison Elmer CPH, Public Health
   Rachel Dishong RN Nurse                   Kathleen Dunn Psychologist                Britt Elsing LMHC
   Jessica Disney                            Linda Dunwoodie LMFT Psychologist         Parisa Emam
   Michael Ditillo D.O. Physician            Melina Dupin-Girod                        Jo Emerald , Nurse
   Floyd Dix MSW Social Work                 Vanessa Durand DO Physician               Jessica Emerson, Social Work
   Tristen Dixey                             Alejandra Durango Psychiatrist            Eleanor Emery M.D., Physician
   Thomas Dixon Psychiatrist                 Rosemary Durousseau Psychologist          Kasie Emery
   Jessa Dmytryszyn Psychologist             Audrey Durrant M.D. Physician             Michelle Emrich M.D., Physician
   Stephanie Doane Ph.D. Psychologist        Silvia Dutchevici LCSW-R Social Work      Alicia Enciso Ph.D., Psychologist
   Betsy Dobbins Social Work                 Erica Dwyer M.D. Physician                Nonso Enekwechi M.D., Psychiatrist
   Bruce Dobkin M.D. Physician               Carol Ann Dyer M.D. Psychiatrist          Melissa Engel, Physician
   Diana Dodds Nurse                         Robert Dyer LMHC                          Rachel Engelberg M.D. , Physician
   Chelsea Dodgen LCSW Social Work           Ilene Dyller Ph.D. Psychologist           Elizabeth Engelberg Psychologist
   Katharine Doel LCSW Social Work           Ann Dypiangco Social Work                 Diane Engelman Ph.D., Psychologist
   Barbara Doggett                           Anna Dzierzgowska                         Abigail English
   Paul Doherty M.D. Physician               Shawna Eaddy Administrator                Cristina English, Nurse
   Terrance Dolan                            Linda Earley Psy.D. Psychologist          Laura Ennis
   Ellen Dolce LCSW Social Work              Lauren Earls Ph.D. Psychologist           Ruth Enriquez PT
   Eszter Domjan                             Derek Easley Social Work                  Dee Enst
   Julia Donahue-Wait RN Public Health       Ann Easterbrooks Ph.D.                    D. E-Platt LMT
   Emily Donaldson-Fletcher M.D. Physician   Merle Eaton LPN Nurse                     Ronald Epstein M.D., Physician
   Carol Donalson LPC                        Devon Ebbing M.D. Physician               Sue Epstein Ph.D., Psychologist
   Elizabeth Donger Public Health            Art Eccleston Psy.D. Psychologist         Daniel Epstein
   Cathy Donnenwirth LPC                     Kelsey Echols M.D. Physician              Tamar Epstein-Kaye Psy.D., Psychologist
   Michael Donner Ph.D. Psychologist         Jennifer Eckersley                        Anne Erde
   Lynn Donoghue                             William Eddy                              Lisa Erlanger M.D., Physician
   Lucas Donovan Nurse                       Sara Edelstein                            Suzanne Ernst Psy.D., Psychologist
   Molly Donovan Ph.D. Psychologist          Madison Edens Medical Student Physician   Emily Eruysal
   Samuel Donovan M.D. Physician             Anna Eder LISW Social Work                Cynthia Ervin Ph.D., Psychologist
   Katherine Donovan                         Karli Edholm M.D. Physician               Sabrina Esbitt Ph.D., Psychologist
   Melissa Donovick Psychologist             Susan Edlis Social Work                   Leo Esclamado, Social Work
   Anne Marie Dooley Social Work             Jen Edman M.D. Physician                  Susan Esquilin Ph.D., Psychologist
   Aliza Dorevitch                           Mark Edwards                              Jenna Essakow, Physician
   Benjamin Dorevitch                        Beverly Edwards M.D. Physician            Todd Essig Ph.D., Psychologist
   Robert Dorfman                            Erin Egan Social Work                     Roberta Estar Ph.D., Psychologist
   Lori Dorfman Dr.PH. Public Health         Cameron Egan Social Work                  Karen Estefane Ph.D., Psychologist
   Caroline Dorsen Nurse                     Jonas Ehudin Social Work                  Joey Estrada Ph.D., Social Work
   Amrit Dosanjh                             Luise Eichenbaum Social Work              Erin Etzel Ph.D., Psychologist
   Laura Doty Ph.D. Psychologist             Meredith Eicken Physician                 Lindsay Eun M.D., Physician
   Susan Doty                                Roy Eidelson Ph.D. Psychologist           Diane Evano
   Ann Douglas Psychologist                  Danielle Eigner DO Physician              Mary Evans M.D., Physician
   Nina Douglass LICSW Social Work           Nancy Einbinder                           Emily Evans
   Hillary Douin Social Work                 Elizabeth Einhart                         Jeanne Even, Social Work
   Meredith Dove Ph.D. Psychologist          Jay Einhorn Ph.D. Psychologist            Sandra Everlove
   Patricia Dowds Ph.D. Psychologist         Laura Eisdorfet Psy.D. Psychologist       Elizabeth Evert LCSW-R, Social Work
   Kristin Dowell                            Lynne Eisenberg Social Work               Nate Ewigman, Psychologist
   Elizabeth Downing                         Vivien Eisenberg M.D. Psychiatrist        Daniel Ezzo Medical Student Physician
   Jennifer Downs Psychiatrist               Mark Eisenberg ANP Physician              Laurence Fabre-Welmond, Social Work
   Mary Cele Doyle                           Janie Eisenberg ACSW Social Work          Mary Fabri Psy.D., Psychologist
   Kathleen Doyle Physician                  Leo Eisenstein Medical Student            Rebecca Fadil LCSW, Social Work
   Ina Doyle                                 Barbara Eisold Ph.D. Psychologist         Sharon Fagin Ph.D., Psychologist
   Allison Doyle Public Health               Gina Eixhenbaum-Pikser                    Karen Faherty Rosen Ph.D., Psychologist
   Michelle Doyle                            Carolina Ekonomo MHP Psychologist         Nancy Fair Ph.D.
   Reinhild Draeger-Muenke Psychologist      Carolina Ekonomo MBA Psychologist         Dana Fairbanks M.D., Physician
   Mihaela Dranoff Psychologist              Omer Elad MSW                             Deborah Fairbanks
   Albana Dreshaj Physician                  Sarah Eley Social Work                    Angela Fairweather, Psychologist
   Amy Drever Social Work                    Sarah Elgart NP-C Nurse                   Dorothy Falarski
   Carmel Drewes Social Work                 Mirret El-Hagrassy Physician              Liz Falco RN, Nurse
   Lisa Drexler Ph.D. Psychologist           Alison Elia                               Marissa Falkiewicz M.D., Physician
   Rebecca Drill Ph.D. Psychologist          R. Hope Eliasof LICSW Social Work         Olivia Familusi, Medical Student
   Jennifer Driscoll LMFT                    Ori Elis Psychologist                     Physician
   Patrice Drolte Nurse                      Jenny Elizabeth                           Nicole Fanarjian Physician
   Howard Drutman Ph.D. Psychologist         Rosalie Elkinton Nurse                    Nora Fandino Social Work
   Joy Dryer Ph.D. Psychologist              Meira Ellias LCSW-C Social Work           Beverly Fang, Psychiatrist
   Becca Dryer                               Kayleena Ellins Psychologist              Shelli Farhadian, Physician
   Robin Du                                  Laura Elliott FNP-BC Nurse                Anthony Farley
   Fang Duan Dr.PH. Social Work              John Elliott LMFT                         Anthony Farley
   Lisa Dubinsky Psy.D. Psychologist         Daniel Goldy Psychiatrist                 Elizabeth Farmer, Social Work
   Joanna Dubinsky                           Wendy Most LCSW Social Work               Michelle Farmer
   Andy Duffy Social Work                    Stepam Tenda Ph.D. Psychologist           Caroline Farnham, Social Work
   Martha Dugan Ph.D. Psychologist           Charles Elliot Ph.D., Psychologist        Minnah Farook, Psychologist
   Kelly Duggan Psychologist                 Elizabeth Elliott, Nurse                  Rachel Farr, Psychologist
   AJ Dugger Ph.D. Psychologist              Lucia Ellis, LCSW                         Pamela Farrell LCSW, Social Work
   Alison Duncan M.D. Psychiatrist           Christine Ellis                           Catherine Farrell
   Lesford Duncan Administrator              Lauren Ellis, APN                         MaryCate Farwell




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   Elizabeth Faus Psy.D., Forensics            Milana Flusberg, Physician               Ilaria Fusina, Social Work
   Nathan Favini M.D., Physician               Eugene Flynn CSW, Social Work            Stephanie Gabriel LICSW, Social Work
   Rachel Fay                                  Ann Flynn Ed.D. Psychologist             Sonya Gabrielian M.D., Psychiatrist
   Shaena Fazal                                Mary Flynn M.D., Physician               Susan Gadoua LCSW, Social Work
   Piergiuseppe Fedele M.D., Psychiatrist      Sharon Flynn M.D., Physician             Vandy Gaffney M.D., Physician
   June Feder Ph.D., Psychologist              Monica Fogarty M.D., Physician           Deborah Gage, Physician
   Naomi Feiman M.D., Physician                Katie Fogel , Public Health              Anne Gaglioti M.D., Physician
   Eric Fein M.D., Physician                   Jennifer Fojtik                          Vivian Gainer
   Deborah Fein M.D., Physician                Sara Folden LICSW Social Work            Faith Galderisi D.O., Physician
   Kenneth Feiner, Psychologist                Kathleen Foley M.D., Physician           Miriam Galescu M.D., Psychiatrist
   Susan Feingold Psy.D., Psychologist         Suzanne Foley                            Giselle Galindez
   Ron Feintech Ph.D., Psychologist            Virginia Fonner Ph.D., Public Health     Katharine Gallagher, Social Work
   Luz Felix-Marquez M.D., Physician           Noemi Ford, Psychologist                 Judith Gallant LCSW-C, Social Work
   Stephanie Fellenberg Psy.D., Psychologist   Laura Ford, Social Work                  Kathy Gallardo M.D., Psychiatrist
   Samuel Fels                                 Terence Ford, Psychologist               Dolores Gallegos RN, Nurse
   Joyce Felsenfeld                            Elizabeth Ford M.D., Psychiatrist        Deborah Gallegos, Nurse
   Jamie Fenimore                              Kathryn Ford Ph.D., Psychologist         Diane Galleher
   Lenore Fenn                                 Denisse Forghani M.D. , Physician        Aileen Galley, Social Work
   Tim Fenton                                  Jenny Forman Sarno, Social Work          Jacqueline Gallios, Psychologist
   Hope Ferdowsian M.D., Physician             Evan Formosa, Medical Student            Kelly Gallivan, Nurse
   Robin Ferguson                              Miriam Fors FNP-BC, Nurse                Ashley Gallo, Public Health
   Luz Fernandez M.D., Physician               Lisa Fortuna M.D., Psychiatrist          Karen Galvan
   Wendy Fernandez                             Shelly Foster                            Laura Galvan
   Pamela Fernandez                            Amanda Foster Ph.D., Psychologist        Maria Galvez
   Marialys Fernandez RDH                      Teresa Foster DO, Physician              Ximena Galvis
   Rebecca Fero, Social Work                   Jennie Foster, Physician                 Alice Gambardella
   Aliya Feroe , Physician                     Charissa Fotinos M.D., Physician         Barbara Gamble, Psychologist
   Natalie Ferraiolo M.D., Physician           Eric Fox, Physician                      Simone Gamble, Social Work
   Rebecca Ferri                               Peter Fraenkel Ph.D., Psychologist       Christopher Gamboa, Public Health
   Chris Ferrill                               John Frampton Psy.D., Psychologist       Ingrid Gamez
   Ellen Fetchiet, Social Work                 Kathy Franchek M.D., Physician           Joanna Gan M.D., Physician
   Sue Ellen Feuerstein                        Stephanie Francis                        Laurie Ganberg LICSW, Social Work
   Dara Fields CNM                             Diana Franco, Social Work                Nathalie Gangel
   Jill Fieleke, Nurse                         Wendy Franco Ph.D., Psychologist         David Gangsei Ph.D., Psychologist
   Megan Fiero, Social Work                    Marion Frank Ed.D., Psychologist         Catherine Gannage
   Sarah Filer RN, Nurse                       Arlene Frank Ph.D., Psychologist         Wendy Garabedian, Physician
   Beryl Filton Ph.D., Psychologist            Jodi Frankel Ph.D., Psychologist         Melinda A Garcia Ph.D., Psychologist
   Alan Filzer D.D.S.                          Steven Frankel M.D., Psychiatrist        Eric Garcia
   Meaghen Finan, Physician                    Randy Frankel LCSW, Social Work          Stephanie Garcia AAHIVS, Physician
   Suzann Finch                                Heather Frankfort                        Cristina Garcia, Physician
   Nika Finelt M.D., Physician                 Katie Franko                             Jorge A. Garcia M.D., Physician
   Mary JohannaFink M.D., Physician            Alhambra Frarey, Physician               Krysti Garcia
   Jo-Ann Finkelstein Ph.D., Psychologist      Elise Fraser                             Lydia Garcia D.O., Physician
   Toby Finneman                               Chris Fraser, Social Work                Ximena Garcia M.D., Physician
   Ellen Finney M.D., Physician                Elio Frattaroli, Psychiatrist            Ruth Garfield M.D., Physician
   Joan Fiorello Ph.D., Psychologist           Jennifer Fray Psy.D., Psychologist       Bonnie Garfield, Psychologist
   Lia Fioroni                                 Stacy Frazier, Psychologist              Tracy Garrett Ph.D., Psychologist
   Kim Firn                                    Heather Frechette Psy.D., Psychologist   Elaine Garrod Psy.D., Psychologist
   Jennifer Cecilia Fish M.D., Physician       Karla Fredricks, Physician               Theresa Garvin LICSW, Social Work
   Rachel Fish Psy.D., Psychologist            Alexis Freedberg M.D., Physician         Leticia Garza
   Angella Fish Pharm.D., Pharmacist           Wendy Freedman Ph.D., Psychologist       Erin Garza M.D., Physician
   Jessica Fish, Public Health                 Robin Freedman LPC                       Camille Garza Ph.D., Psychologist
   Anne Fishel Ph.D., Psychologist             Michael Freedman M.D., Physician         Alvaro Garza M.D., Public Health
   Celia Fisher Ph.D., Psychologist            Carol Freedman-Doan, Psychologist        Aviva Gaskill Ph.D., Psychologist
   Janet Fisher Ph.D., Social Work             Bryony Freij LCSW, Social Work           Cynthia Gasper M.D., Physician
   Judy Fisher, Social Work                    Shelby French, Social Work               Dafna Gatmon Ph.D., Psychologist
   Josie Fisher                                Katherine French, Nurse                  Tami Gatta
   Lana Fishkin, Psychiatrist                  Elizabeth Frenette                       Mason Gauss D.V.M.
   Anna Fishzon Ph.D.                          Erin Frick Psy.D., Psychologist          Brenda Gauthier, Social Work
   Stephanie Fitting CNM, Nurse                Joanna Fried M.D., Physician             Tania Gauvin
   Lindsay Fitzgerald LMSW, Social Work        Jill Frieders PNP, Nurse                 Athena Gavaris, Social Work
   Morgan Fitzpatrick ANP-BC                   Stephen Friedman Ph.D., Psychologist     Megan Gaydos, Public Health
   Megha Fitzpatrick, Physician                Jaime Friedman M.D., Physician           Helen K. Gediman Ph.D., Psychologist
   William Flack Ph.D., Psychologist           Joy Friedman M.D., Physician             Nan Gefen Ph.D., Social Work
   Michelle Fladebo RN, Nurse                  Jean Friedman LCSW, Social Work          Kristi Geissler Ph.D., Psychologist
   Cynthia Flannery LCSW-C, Social Work        Jeanne Friedman, Nurse                   Jenny Geller, Social Work
   Brittany Flemming                           Heather Frost, Social Work               Marx Genovez M.D., Physician
   Sarah Flemming M.D., Physician              Lindsay Fry, D.V.M.                      Jill Gentile Ph.D., Psychologist
   Mark Flescher Ph.D., Psychologist           Sandra Fryrear LCSW-R, Social Work       Emily Georges
   Ryan Flinn, Psychologist                    Milton Fuentes Psy.D., Psychologist      Lisa George-Svahn Nurse
   Monica Flint                                Annie Fukushima Ph.D., Social Work       Jean Geran Ph.D.
   Kathleen Flinton LICSW, Social Work         Hina Fullar MBBS, Psychiatrist           Susan Gerber M.D., Physician
   Juan Flores D.O., Physician                 Jennifer Fuller Psychologist             Jaime Gerber M.D., Physician
   Vanessa Flores M.D.                         Ashley Fuller M.D., Physician            Lisa Gerdes, Nurse
   Sharon Flory LCSW-R, Social Work            Amy Funkenstein M.D., Psychiatrist       Margie Gerena Lewis M.D., Physician
   Rebecca Flugrad                             Toby Furash, Public Health               Ann Gerhardt M.D., Physician
   Beth Flumignan                              Crea Fusco M.D., Physician               Mindy Gershon




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   Samuel Gerson Ph.D., Psychologist         Laurie Goldman                           Ashley Grant DO, Physician
   Ruth Gerson M.D., Psychiatrist            Daniel Goldman Ph.D., Psychologist       Sharmila Grant LCSW, Social Work
   Barbara Gerson Ph.D., Psychologist        David Goldman M.D., Physician            Erin Graves, Nurse
   Meg Gerstenblith, Physician               Gretchen Goldman Ph.D.                   Julie Gravs M.D., Physician
   Erin Gertz M.D., Physician                Angela Goldman                           Lorraine Gray, Psychologist
   Frances Geteles Ph.D., Psychologist       William Goldman                          Brandon Gray, Psychologist
   Lindsay Gezinski Ph.D., Social Work       Andrew Goldstein M.D., Physician         Staci Gray PA-C
   Sogand Ghassemi M.D., Psychiatrist        Debra Goldstein                          Barbara Gray Ph.D., Psychologist
   Lia Giannosa                              Theresa Goldstein                        Susan Greco, Physician
   Elizabeth Gibbons, Social Work            Janice Goldwater ANP-HIV, Social Work    Stacy Green Ph.D., Social Work
   Joanna Gibbons D.O., Physician            Amy Golightly Ph.D., Psychologist        Ilene Green Ph.D., Psychologist
   Matthew Gibson, Psychiatrist              April Goller D.O., Physician             Monica Green Ph.D., Psychologist
   Samantha Gibson                           Meilan Goller, Social Work               Katrina Green M.D., Physician
   Randall Gicker RN, Nurse                  Jolie Golom, Social Work                 Jane Green , Nurse
   Victoria Giffi M.D., Physician            Linda Golumbia Ph.D., Psychologist       Ann Green APRN, Nurse
   Jonathan Giftos M.D., Physician           Insiyah Gomberawalla, Physician          Brittany Greenbaum
   Shawn Gilbert                             Richard Gomberg, Psychiatrist            Suzan Greenberg Psy.D., Psychologist
   Sara Gilbert Ph.D., Psychologist          Lynda Gomberg                            Melissa Greenberg, Psychologist
   Jill Gilbert M.D., Physician              LeslieAnn Gomes                          Henry Greenberg, Physician
   Jacqueline Gilbert Psy.D., Psychologist   Ruth Gomez, Public Health                Nancy Greenberg MSW, Social Work
   William Gilbert Ph.D., Social Work        Rebecca Gomez M.D., Physician            Traci Greenberg
   Laelia Gilborn, MPH, LICSW                Maria Gomez Soler                        Ronnie Greenberg Psy.D., Psychologist
   Kelly Gilbreth, Social Work               Cristina Gomez-Vidal MSW, Social Work    Rena Greenblatt Ph.D., Psychologist
   Ashu Gill M.D., Psychiatrist              Tara Gomez-Vidal, Nurse                  Jennifer Greene-Hall, Social Work
   Lily Gill                                 Carmela Gonzales M.D., Physician         Linda Greenfielf
   Alissa Gilles, Physician                  Duvis Gonzalez, Social Work              B Greenstein
   Linda Gillespie                           Paola Gonzalez Psy.D., Psychologist      Ruth Greenthal Ph.D., Psychologist
   Kristina Gilley LCSW, Social Work         Monique Gonzalez Psy.D., Psychologist    Astrea Greig Psy.D., Psychologist
   Theresa Gillis M.D., Physician            Paola Gonzalez, Physician                Andrea Greiner M.D., Physician
   Martha Gilmore Ph.D., Psychologist        Chris Gonzalez Ph.D.                     Lori Gresham, Ph.D.
   Katherina Gindinova                       Yvette Gonzalez LCSW, Social Work        Catharine Grey
   Larry W Gingold Psy.D., Psychologist      Erin Gonzalez M.D., Physician            Susan Griffin, Social Work
   Janice Ginsberg, Social Work              Sandra González M.D., Physician          Jennifer Griffin, Social Work
   Taania Girgla                             Joanna Good                              Thea Griffin
   Blean Girma MPH, Public Health            Sue Goodell                              Annette Griffin, Social Work
   Caroline Giroux M.D., Psychiatrist        Joanna Goodman Ph.D., Social Work        Kelly Griffin M.D., Physician
   Deborah Giroux, Psychologist              Geoff Goodman, Psychologist              Jan Griffin
   Sarah Girresch-Ward                       Michaele Goodman, Psychologist           Jessica Griffith
   Marguerite Girton                         Sharon Goodman, Social Work              Amanda Griffiths CSW Forensics
   Hannah Gissel                             Nichole Goodsmith M.D., Psychiatrist     Henry Grinberg Ph.D.
   Bonnie Gitlin LCSW-R, Social Work         Rutmi Goradia                            Christina Gringeri, Social Work
   Andrea Gitter                             Michelle Gordon M.D., Physician          Kim Griswold M.D., Physician
   Deborah Glasofer Ph.D., Psychologist      Carol Gordon Psy.D., Psychologist        Meg Griswold
   Chsrles Glasser                           Lynn Gordon                              Kira Gritsman M.D., Physician
   Jane Glassman Ph.D., Psychologist         Emma Gordon, Physician                   Jerry Grodin
   Kira Glassman, Social Work                Carolyn Gordon, Ph.D.                    Allison Grolnick M.D., Psychiatrist
   Heather Glaze                             Patricia Gordon MSN, Nurse               Amber Groomes Ph.D., Psychologist
   Kate Glazer LCSW, Social Work             Timothy Gordon                           Amanda Gropp, Social Work
   Aaron Gleason Ph.D., Psychologist         Amanda Gordon, Social Work               Mark Grosch
   Sarah Gleason                             Jessica Gorelick, Social Work            Richard Grose
   Ariel Glick Psy.D., Psychologist          Katherine Gorell                         Sarah Jane Grossbard, Psychiatrist
   Rosalyn Glicklich, Psychologist           Laurie Goren Psy.D., Psychologist        Luanne Grossman Psy.D., Psychologist
   Jason Glover M.D., Physician              Susan Gorey LCSW, Social Work            Katherine Groundwater, Nurse
   Karen Gluck, Physician                    Amy Gorman                               Brie Grousebeck, MD
   Monica Gocial LCSW, Social Work           William Gorman Ph.D. Psychologist        Sasha Growick
   Emma Godfrey                              Irena Gorski MPH, Public Health          Shelly Gruenbacher M.D., Physician
   Nicolette Godlove                         Victoria Gosy, Physician                 Ruth Gruenthal, Social Work
   Anju Goel, Physician                      Katherine Gotch, Psychologist            Ethan Grumbach
   Brooke Gogel                              William Gottdiener Ph.D., Psychologist   Sarah Gubits LSW, Social Work
   Claudia Gold, Physician                   Michelle Gottlieb                        Omar Gudino, Psychologist
   Linda Gold                                Robert Gould M.D., Physician             Brandon Guenthart M.D., Physician
   Denise Gold                               Elaine Gould Ph.D., Psychologist         Jacqueline Guerrero
   Gina Gold, Psychologist                   Edith Gould, MSW                         Christina Guerrier
   Aryeh Goldberg M.D., Psychiatrist         Andrea Gouze                             Corinne Guest LSW, Social Work
   David Goldberg Psy.D., Psychologist       Susan Grabenstatter                      Natalie Guevara Lehman LCSW-C, Social
   Joan Goldberg Ph.D., Psychologist         Brian Graber                             Work
   Gary Goldberg Ph.D., Psychologist         Amanda Graber                            Jennifer Guglia, Nurse
   David Goldberg M.D., Physician            Jacqueline Grace, Public Health          Sharon Guild Stitt LMSW, Social Work
   Alyssa Goldberg, Social Work              Zach Grady Medical Student Physician     Gypsy Guillen Kaiser
   Inna Goldberg, Social Work                Francoise Graf Ph.D., Psychologist       Judith Gulko, Psychologist
   Andrea B. Goldberg LCSW, Social Work      Amy Graf Psy.D., Psychologist            Adriane Gullotta-Gsell Ph.D., Psychologist
   David Goldberg M.D., Psychiatrist         Ashleigh Graham                          Nancy Gump LMT, Psychologist
   Judith Goldberger RN, Nurse               Monica Grandy Ph.D., Psychologist        Martina Gunaratnam M.D., Psychiatrist
   Roberta Golden Ph.D., Psychologist        Arthur Grant, Physician                  Traci Gunn
   Lisa Goldenberg                           Julieann Grant M.D., Physician           Megan Gunnell, Social Work
   Ranny Goldfarb LCSW-R, Social Work        Elaine Grant                             Johanna Gunther
   Lorrie Goldin LCSW, Social Work           Judith Grant                             Michelle Guo, Medical Student, Physician




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   Parul Gupta M.D., Physician              Frances Harris Ph.D., Psychologist        Nicholas Hernandez
   Stephen Gurley, Physician                Celeste Harris, Social Work               Juliana Hernandez, Nurse
   Jessica Gutchess, Social Work            Amber Harris, Psychologist                Cinthia Hernandez
   Elisabeth Guthrie M.D., Physician        Jennifer Harris                           Guadalupe Hernandez, Psychologist
   Ivonne Gutierres                         Lauren Harris                             Laura Hernandez M.D., Physician
   Amy Gutierrez, Physician                 Meghan Harris Psy.D., Psychologist        Emily Hernandez Pounds, Social Work
   Alisa Gutman M.D., Physician             Jane Harrison                             Kristina Herold, Social Work
   Gail Guttman LCSW-C, Social Work         Georgette Q. Harrison                     Linda Herreid Psy.D., Psychologist
   Terilye Guzman, Social Work              Angie Harrison                            Elizabeth Herring, Social Work
   Shelly H LCSW, Social Work               Mary Harrison                             Anita Herron, Psychologist
   Michelle Haas M.D., Physician            Dana Harron Psy.D., Psychologist          Philip Herschenfeld LMSW, Physician
   Eric Haas Ph.D. Psychologist             Kelly Hart PA-C                           Owen Hershey
   Danielle Haber M.D., Psychiatrist        Rachel Hartline M.D., Physician           Brooke Hersh-Thompson, Psychologist
   Sue Hacker                               Jessica Harwick                           Justin Hersom LCSW, Social Work
   Barbara Haddeb                           Mary Lou Harwood                          Kate Herts, Psychologist
   Jack Davis Haden LCSW, Social Work       Genevieve Hasek M.D., Physician           James Herzog M.D. Psychiatrist
   Erin Hadley Ph.D., Psychologist          Walaika Haskins                           Joseph Herzog
   Julia Hadley                             Geri Hason PA-C                           Kali Hess
   April Haefner                            Giselle Hass Psy.D., Psychologist         Arlene Heyman M.D., Psychiatrist
   Ana Hagstrand, Psychologist              Teresa Hassay                             Simone Heyward Psy.D., Psychologist
   Emily Hahn M.D., Physician               Jane Hassinger, Social Work               Julie Hibbs , Social Work
   Mara Haight LMHC, Administrator          Shannon Hassler MSEd                      Leslie Hibdon
   Margaret Hainer LCSW-R, Social Work      Samar Hassouneh, Physician                Janelle Hickey, LMHC
   Mona Halket                              Khoiviet Hathuc, Psychiatrist             Cristina Hidrobo
   Nicole Hall                              Katie Hatsushi M.D., Psychiatrist         Michelle Higgins, Physician
   Linda Hall                               Lisa Hauck-Loy                            Linda Higley Ph.D., Psychologist
   Timothy Hall M.D., Physician             Samantha Hauff M.D., Physician            Joan Hill
   Madhura Hallman M.D., Physician          Martin Hauser                             Kevin Hill
   Jaclyn Halpern Psy.D.                    Tatiana Havryliuk, Physician              Tisa Hill MPH
   Antonia Halton Ph.D., Psychologist       Pamela Hawkesworth                        Carol Hillson
   Erin Hambrick Ph.D., Psychologist        Kristin Hawkin                            Laura Himmelstein, Social Work
   Horace Rhodes Hambrick M.D., Physician   Donna Hawxhurst Ph.D., Psychologist       Jessica Himmelstein, Physician
   Kristin Hambridge LICSW, Social Work     Johannah Hay M.D., Physician              Tatiana Hinds
   Paul Hamburg, Psychiatrist               Amber Hayes Psy.D., Psychologist          Adam Hines
   Fran Hamburg, Social Work                Kathy Hayes-Bloch, Social Work            Denise Hines Ph.D., Psychologist
   Susan Hameline-Kasznay                   Jennifer Hayslett                         Rachel Hines, Physician
   Lou Hamilton LCSW, Social Work           David Hayward Ph.D.                       Danielle Hines
   Katie Hamilton                           Maria Hazbon                              Virginia Hines
   Lori Hamilton                            Jane Hazen                                Virginia Hines, PA, LMHC, Psychologist
   Dianna Hamilton                          Helen Healy, Physician                    Natalie Hinojosa, Social Work
   Cyndrita Hamilton D.O., Physician        Amy Heberle, Psychologist                 Stephanie Hinojosa M.D., Physician
   Ashley Hamm LPC                          Deborah Hecker Ph.D., Psychologist        Carla Hinson
   Jacquelyn Hammel, Nurse                  Kristin Hedgcock, Nurse                   Katya Hirose
   Susan Hammond                            Elizabeth Hegeman Ph.D., Psychologist     Karyn Hirsch MPH, Physician
   Magni Hamso M.D., Physician              Claudia Heilbrunn                         Britta Hirsch
   Christine Hancock M.D., Physician        Doug Heimburger M.D., Public Health       Harriet Hirsch
   Stanley Handmaker M.D., Physician        Elizabeth Heimburger RN, Nurse            Miriam Hirschstein, Psychologist
   Scott Handy                              Trina Heinisch, Social Work               Lauren Hittner, Physician
   Kiley Hanish                             Arthur Heiserman Dr.PH., Psychologist     Todd Hixson
   Kelly Hankins M.D., Physician            Michele Heisler, Physician                Tazley Hobbs M.D., Psychiatrist
   Lauren Hanley M.D., Physician            Asal Hejazi                               Jennifer Hobbs
   Tricia Hanley Ph.D., Psychologist        Alisa Helfgott D.O., Physician            Shelley Hoberman, Social Work
   Judith Hanlon Ph.D., Psychologist        Gabriel Heller                            Jay Hochheiser, Social Work
   Sylvia Hanlon                            Deborah Hellerstein                       Alissa Hochman, Psychologist
   Betsy Hanna, Psychologist                Iris Hellner Ph.D., Psychologist          Kayce Hodos LPC
   Rebekah Hanna, Nurse                     Paul Helman M.D., Physician               Jennifer Hoffman, Physician
   Meredith Hannan M.D., Psychiatrist       Sara Henderson                            Tim Hoffman
   Claire Hannes                            Jo Henderson-Frost M.D., Physician        Jennifer Hoffmann M.D. Physician
   Andrea Hannold LCSW, Social Work         Steven Hendlin Ph.D., Psychologist        Alexander Hogan M.D., Physician
   Melissa Hansen                           Bridget Hendricks                         Vijaya Hogan, Public Health
   Katie Hansen                             Rebecca Hendrickson, Psychiatrist         Julia Hoke, Psychologist
   Diana Hansen, Physician                  Michael Hendrickson Ph.D., Psychologist   Karen Holland
   Anita Haravon Ph.D.                      Karen Henley, Psychiatrist                Joy Holland
   Corey Hardin Ph.D., Physician            Jewell Henley M.D., Physician             Karen Holland
   Laurie Hardin LPN, Nurse                 Kathi Hennessey LICSW, Social Work        Amanda Holland-Yang M.D., Physician
   James Harding, Psychologist              David Henning                             Heather Holley D.O., Physician
   Susan Hardy, Social Work                 Dell Henriksen-DelVerne, Nurse            James Holmes Dr.PH.
   Allison Hare, Physician                  Cassis Henry, Physician                   Thomas Holmes, Social Work
   April Harger                             Alyson Henry Ph.D., Psychologist          Molly Holshouser ANP-BC, Nurse
   Nicole Harkin M.D., Physician            Linda Henry                               Russell Holstein Ph.D., Psychologist
   Madeline Harms Ph.D., Psychologist       Sara Henry M.D., Physician                Keren Holt, Social Work
   Mary Harrel M.D., Physician              Rachel Herbst Ph.D., Psychologist         Layra Holt, Physician
   Aimee Harrington, Public Health          Anne Herdman Royal M.D., Physician        Amanda Holt, Administrator
   Rschel Harrington-Levey Ph.D.,           Barbara Herman, Psychologist              Roberta Holtz
   Psychologist                             Susan Herman Ph.D., Psychologist          Margaret Holtzman, Social Work
   Kathleen Harris MSW, Social Work         Leticia Hernadwz, Physician               Barbara L. Holzman LICSW, Social Work
   Natasha Harris, Nurse                    Mary Hernandez                            Jessica Hong LMSW, Social Work




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   Maria Hood, Social Work                Stacy Hutton Ph.D., Psychologist          Lekeshia Jarrett, Physician
   Filippine Hoogland, Nurse              Carolee Hutton                            Susan Jasko LICSW, Social Work
   Kathryn Hooker Ed.S.                   Elizabeth Huynh LICSW, Social Work        Cynthia Jauregui, Psychologist
   Walter Hoops                           Cathy Hwang M.D., Physician               Laura Javsicas
   Jennifer Hope Ph.D., Psychologist      Irene Hwang M.D., Physician               D. Jay Psy.D., Psychologist
   Karen Hopenwasser M.D., Psychiatrist   Juliet Hwang, Physician                   Patty Jay
   Phyllis Hopkins Ph.D., Psychologist    Daniel Hynan Ph.D., Psychologist          Robert Jayes M.D., Physician
   Erin Hopkins, Psychiatrist             Viola Hysa                                Abhishek Jaywant Ph.D., Psychologist
   Brittany Horan                         Kristen Hysell M.D., Physician            Elizabeth Jefferson
   Evelyn Horn M.D., Physician            June Hyun Ph.D.                           Tereza Jelenova LMHC, Other Health
   Jessica Horowitz                       Vince Iacopino, MD                        Professional
   Beth Horowitz, Physician               Habiba Ibrahim, Social Work               Susan Jenkins
   Sharon Horowitz Ph.D. , Psychologist   Deborah Igielnik, Public Health           Sara Jennings, Forensics
   Tammy Horowitz M.D., Psychiatrist      Cindy Iglesias                            Laurel Jennings M.D., Physician
   Susan Horrell, Nurse                   Lynne Iijima                              Lisa Jensen-Albino, Nurse
   Sarah Horsley                          Roya Ijadi-Maghsoodi M.D., Psychiatrist   Jennifer Jerome M.D., Physician
   Helen Horton                           Aleksandra Ikanowicz                      B Jesrani, Psychologist
   Christy Horton M.D., Physician         Christina Illarmo, Social Work            Jamie Jessar Psy.D., Psychologist
   Danielle Horwich, Social Work          Julia Imig                                Mariell Jessup M.D., Physician
   Mark Horwitz Ph.D., Social Work        Pec Indman, LMFT                          Toni Jett
   Jill Horwitz, Social Work              Sarah Ingerman, Social Work               Greg Jew
   Peggy Horwitz                          Mary Intermaggio, R.N., Nurse             Christina Jewell, Nurse
   Jan Horwitz, Social Work               Olga Iof                                  Elena Jimenez Gutierrez M.D., Physician
   Ava Hosseini, Nurse                    Muneeza Iqbal MPH, Public Health          Lara Jirmanus M.D., Physician
   Elizabeth Hossfeld                     Khadija Irshad M.D., Physician            Brian Jo Ph.D., Psychologist
   Marion Houghton LMFT                   Angela Irvine Ph.D.                       Anne Jobman M.D., Physician
   Wendy Hounsel, Nurse                   Anne Irza-Leggat                          Steven Joffe M.D., Physician
   Jonathan House M.D., Psychiatrist      Kathleen Isaac Ph.D., Psychologist        Richard Johansen, Nurse
   Donna Housman Ed.D., Psychologist      Ellen Isaacs M.D., Physician              Veronica Johnson Ph.D., Psychologist
   Stephanie Houston, Physician           Jeri Isaacson, Psychologist               Anthony Johnson
   Margaret Howard LCSW, Social Work      Amy Isenberg M.D., Physician              Christina Johnson, Social Work
   Sarah Howard                           Genoveva Islas, Public Health             Estefana Johnson LMSW, Social Work
   Celeste Howard                         Ellen Israel CNM, Public Health           Carrie Johnson LCSW, Social Work
   Mary Howe                              Carol Israel Ph.D., Psychologist          Wendy Johnson M.D., Physician
   Amanda Howell                          Janet Isserlis                            Steve Johnson
   Stefanie Hoye, Psychologist            Meg Itoh M.D. ,Physician                  Benjamin Johnson
   Nicole Hsiang                          Louise Ivers M.D., Public Health          Meghan Johnson
   Sheng Hsu ANP-BC                       Gayle Iwamasa Ph.D., Psychologist         Nathan Johnson, Social Work
   Julie Hsu Ph.D., Psychologist          Casie Iwata LICSW, Social Work            Ann Johnson D.V.M.
   Tiffany Hu                             Preetha Iyengar, Physician                Christie Johnson RN, Nurse
   Sofia Hu                               William Jackson                           Amy Johnson M.D., Physician
   Judy Hu, Psychologist                  Cara Jacob M.D., Physician                Claudine Johnson M.D., Physician
   Jennifer Huang M.D., Physician         Sneha Jacob M.D., Physician               Laurie Johnson M.D., Physician
   Jacqueline Hubbard                     Lisa Jacobs , Psychologist                Amy Johnson-Colwell Ph.D., Psychologist
   Olivia Hudis                           Leah Jacobs, Social Work                  Emily Johnston, Physician
   Stephanie Hudson                       Mary Jacobs LMSW, Social Work             Julie Johnston M.D., Physician
   Sara Huffer M.D., Physician            Barbara Jacobsberg, Social Work           Cameron Jones
   DiShonda Hughes                        Lawrence Jacobsberg, Psychiatrist         Jennifer Jones, Social Work
   Wilson Hughes                          Erin Jacobsen                             Lisa Jones M.D., Physician
   Larissa Hughes                         Lauren Jacobson, Nurse                    Liz Jones, Nurse
   Joy Hughes M.D., Physician             Louis Jacobson Dr.PH. , Psychologist      Julie Jones Ph.D., Psychologist
   Julie Hughes M.D., Physician           Melissa Jacobson LCSW, Social Work        Lori Jones LPN, Nurse
   Sandra Hughes                          Anne Jacobson M.D., Physician             Raina Jones, Psychologist
   Katherine Hughes, Social Work          Alexandra Jacobus LCSW, Social Work       Darrah Jones
   Margaret Hughes, Social Work           Veta Jacqulin                             Patricia Jones
   Katherine Hull Psy.D., Psychologist    Tracey Jaeger, Nurse                      Charles Jones RN, Nurse
   Jane Hull-McIntire M.D., Physician     Felipe Jain, Psychiatrist                 Michelle Jones
   Odile Hullot-Kentor, Psychologist      Chandni Jain, Medical Student Physician   Kelly Jones Ph.D., Psychologist
   Leslie Hulvershorn M.D., Physician     Juhi Jain M.D., Physician                 Taiya Jones-Castillo LSW, Public Health
   Ed Humenay LMSW, Social Work           Amy Jakobson Psy.D., Psychologist         Pablo Joo M.D., Physician
   Kenneth Hung, Psychiatrist             Otana Jakpor                              Hilary Jordan LCSW, Social Work
   Amber Hunt D.O., Psychiatrist          Karen Jakpor M.D., Physician              Jayne Jordan PA-C
   Margaret Hunter, Social Work           Rima Jakuc, Psychologist                  Paula Jordan
   Rene Hunter M.D., Physician            Beatriz Jamaica                           Katie Jorstad, Social Work
   Ellesa Hunter, Non-MD                  Megan James                               Jessica A. Joseph Ph.D., Psychologist
   John Hunziker Ph.D., Psychologist      Aisha James, Physician                    Giliane Joseph M.D., Physician
   Tracey Hurd Ph.D., Psychologist        Steven James Ph.D., Psychologist          Melissa Joseph, Physician
   Irene Hurford M.D., Psychiatrist       Lynn James                                Meghna Joshi M.D., Physician
   Samantha Hurst Ph.D.                   Elizabeth James                           Margarita Jovel M.D., Physician
   Taisha Husbands                        Sara Jamison, Social Work                 Marianne Joyce, Social Work
   Melissa Huser                          Anna Jannack LMHC                         Kelly Joyce M.D., Physician
   Amber Hussain M.D., Physician          Laura Janneck M.D., Physician             Sheena Joychan M.D., Psychiatrist
   Mohammed Hussain, Physician            Kathleen Janocko Ph.D., Psychologist      Kasey Joyner M.D., Physician
   Ewa Hut                                Eliza Jaquez, Psychologist                Alana Ju M.D., Physician
   Charkivia Hutchinson                   Ivan Jaramillo                            Werner Ju M.D., Physician
   Jeff Hutchinson, Physician             Karen Jaranowski M.D., Physician          Silvia Juarez-Marazzo, Social Work
   Ciara Hutchison                        Leila Jarrahi Ph.D., Psychologist         Stephanie Jucker




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   Laura Judd-Glossy Ph.D., Psychologist       Beth Kastner, Psychologist               Anna Kharaz
   Elyse Julian D.O., Physician                Ravi Katari M.D., Physician              Deepa Khoday D.O., Physician
   Janice Juliano LCSW, Social Work            Craig Katz M.D., Psychiatrist            Lama Khouri, Social Work
   Stefanie Juliano                            Dr. Robert Katz Ph.D., Psychologist      Michael Khoury, Physician
   Vonda Jump Norman Ph.D., Social Work        Maureen Katz M.D., Physician             Stephanie Khoury D.Phil., Non-MD
   Nadia Juneja M.D., Physician                Jacklyn Katz M.D.                        Kiranpreet Khurana, Physician
   Jeff Juris                                  Jill Katz Psy.D., Psychologist           Christina Kiel Psy.D., Psychologist
   Elliot Jurist Ph.D., Psychologist           Gil Katz Ph.D., Psychologist             Kathleen Kilcline, Social Work
   Samantha Jurman, Social Work                Sheba Katz Ph.D., Psychologist           Terrence Killian, Social Work
   Maryann Juska Ph.D., Psychologist           Nina Katz                                Kyle Killian LMFT
   Renee Kabbaby LMT, Psychiatrist             Janice Katz, Social Work                 Krista Kim M.D., Physician
   Rizowana Kabir                              Theresa Kaub Psy.D., Psychologist        Jean Kim M.D., Psychiatrist
   Sarah Kacic PT                              Priscilla Kauff C-GNP, Psychologist      Christie Kim
   Tessy Kadavil M.D., Physician               Gus Kaufman Ph.D., Psychologist          Grace Kim Ph.D., Psychologist
   Pamela Kaden                                Marlene Kaufman LCSW, Social Work        Inkyu Kim
   Elizabeth Kadlub J.D.                       Judy Kaufman Ph.D.                       Mike Kim, Physician
   Lindsey Kadrmas, Physician                  Limor Kaufman Ph.D., Psychologist        Simeon Kimmel M.D., Physician
   Dalia Kahn Ph.D., Psychologist              Toby Kaufman Dr.PH., Psychologist        Georgia King, Social Work
   Ellen Kahn LICSW, Social Work               Peggy Kaufman, Social Work               Margaret King Psy.D.
   Justine Kahn M.D., Physician                Elizabeth Kaufman                        Jessie King M.D., Physician
   Ellen Kahn                                  Kirandeep Kaur D.O., Psychiatrist        Kevin L King M.D., Physician
   Kendra Kain                                 Kenneth Kavanagh ARNP, Nurse             Daniella Kington M.D., Physician
   Manvinder Kainth M.D., Physician            Alison Kavanaugh, Physician              Anne Kinnaman MSN
   Laura Kair M.D., Physician                  Elaine Kavnagh, Nurse                    Kelly Kirby LCSW-R, Social Work
   Wendy Kaiser, Social Work                   Babe Kawaii Ph.D., Psychologist          Anne Kirchhoff Ph.D.
   Justine Kalas Reeves Dr.PH., Psychologist   Erica Kaye, Physician                    Jessica Kirkwood M.D., Physician
   Michelle Kalehzan Ph.D., Psychologist       Susan Kaye-Huntington, Psychologist      Judith Kirschner
   Thomas Kalman M.D., Psychiatrist            Ralph Kaywin D.M.H., Psychologist        Jennifer Kirshner
   Amanda Kalstabakken Ph.D.                   Jack Keane                               Naomi Kirtner
   Syamala Kalyanasundaram MScPH               Karla Keaney, Physician                  Gretchen Kishbaugh Ph.D., Psychologist
   Amy Kamel, Social Work                      Lisa Kearns                              Paul Klaene
   Sarah Kamens, Psychologist                  Sandra Kearns Ph.D., Psychologist        Karen Klarquist
   Dianne Kaminsky, Social Work                Terence Kearse Ph.D., Psychologist       Margreta Klassen, Psychologist
   Dede Kammerling LCSW, Social Work           Jane Keat Psy.D., Psychologist           Annegret Klaua
   Pallavi Kamra MBBS, Physician               Victoria Keck                            Judith Klein, Social Work
   Barbara Kane                                Samantha Keeble Ph.D., Other Scientist   Judith Klein, Social Work
   Jyoti Kaneria                               Christina Keefe, Psychologist            Scott Klein
   Taryn Kanick                                Annalise Keen M.D., Psychiatrist         Roxanne Klein
   Jacqueline Kann LICSW, Social Work          Melissa Keene M.D., Physician            Jennifer Kleindienst
   Mounika Kanneganti, Medical Student         Courtney Keeton, Psychologist            Laura Kleinerman
   Jamie Kantola M.D., Physician               Jennifer Kehl, Nurse                     Sidney Kleinman Ph.D., Psychologist
   Abbey Kanzer Psy.D., Psychologist           Sylvia Kehlenbrink, Physician            Sarah Kler, Medical Student
   Maureen Kapatkin, APRN-BC                   Jennifer Keihner, Physician              John Kleschinsky Dr.PH., Public Health
   Navah Kaplan, Non-MD                        Ralph Keith, Psychologist                Marcie Klevens
   Judy Kaplan, Social Work                    Briony Keith                             Judith Klimoff Psy.D., Psychologist
   Leslie Kaplan                               Heather Kelker, Physician                Barbara Kline LCSW-C, Social Work
   Shari Kaplan, Social Work                   Margaret Kell                            Nolan Kline Ph.D., Public Health
   Stuart Kaplan                               Mary Kelleher LMFT, Psychologist         Denise B. Klinkner M.D., Physician
   Deborah Kaplan Dr.PH., Public Health        Stacy Keller                             Ted Kluger
   Emma Kaplan-Lewis, Physician                Elizabeth Kelliher, Nurse                Philip Knapp M.D., Physician
   Rifka Kaplan-Peck                           Katherine Kelling                        Kimberly Knesting Ph.D., Psychologist
   Neeti Kapur M.D., Physician                 Donna Kelly, LCPC                        Paula Knight
   Sarah Kardelen                              Mary Kelso Ph.D., Psychologist           Alexander Knops
   Shahrzad Kardooni M.D., Physician           Colleen Kemp RN, Nurse                   Dennis Kobray
   Saima Karim D.O., Physician                 Emily Kemper M.D., Physician             Lindsey Koch
   Marcus Karim, Medical Student               Jill Kempner                             Seema Kochhar M.D., Psychiatrist
   Sanjana Karim M.D., Physician               Rachna Kenia M.D., Physician             Julia Koehler, Physician
   Farah Karipineni M.D., Physician            Eva Kennedy, Nurse                       Kathleen Koenigs
   Lisa Karlin LCSW, Social Work               Wendy Kennedy                            Debra Koenigsberger M.D., Physician
   Lisa Karlin LCSW, Social Work               Lois Kennedy Psy.D., Psychologist        Laura Kogan Psy.D., Psychologist
   Cassie Karlsson M.D., Physician             Jane Kenner Ph.D., Psychologist          Irina Kogan Ph.D.
   Mel Karmen Ph.D., Other Health              Keelia Kentor                            Laura Kogel LCSW, Social Work
   Professional                                Mary Ellen Keough                        Jacqueline Kohl M.D., Physician
   Sophie Karp Ph.D., Psychologist             Michael Keren, Psychologist              Teresa Kohlenberg M.D., Psychiatrist
   Amie Karp LCSW-R, Social Work               Carol Kessler                            Sharad Kohli M.D., Physician
   Ian Karrington, Medical Student Physician   Libby Kessman LCSW, Social Work          Deborah Kohn
   Justin Karter                               Billy Ketchum                            Nancy Koke LCSW, Social Work
   Virginia Kartha M.D., Physician             Kathleen Ketofsky, Social Work           Avani Kolla
   Lisa Kartiganer, Social Work                Sue Ann Kettelkamp Ornelas               Donald Kollisch M.D., Physician
   Kumari Karunaratne                          Alisha Ketterer, Physician               Russell Kolts Ph.D., Psychologist
   Elizabeth Kaselitz MSW, Social Work         Alex Kettner Psy.D., Psychologist        Udit Kondal M.D., Physician
   Susan Kashubeck-West Ph.D.,                 Hanaa Khadraoui                          Tracy Kondla, Social Work
   Psychologist                                Urooj Khalid                             Elizabeth Kooperkamp, Social Work
   Alexa Kaskowitz M.D., Physician             Asma Khalid M.D., Physician              Diane Kopan, Social Work
   Florence Kaslow Ph.D., Psychologist         Abdul Khaliq                             Dawn Kopp OB/GYN, Physician
   Amelia Kasper M.D., Physician               Sahib Khalsa M.D., Physician             Mary Ann Kopydlowski RN, Nurse
   John G. Kassakian, Sc.D, Scientist          Aleem Khan, Medical Student              Dorit Koren, Physician




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   Cathie Korey M.D., Physician             Christopher Laine                           Lucy Lehrer LCSW, Social Work
   Alfred Kornfy Ph.D., Psychologist        Tamra Laird RN, Nurse                       Lynn Leibowitz Ph.D., Psychologist
   Jennifer Kornreich Ph.D., Psychologist   AeuMuro Lake M.D., Physician                Virginia Leigh, Social Work
   Kathyrn Korte, Nurse                     Michael Lakin Ph.D., Psychologist           Mary Leith
   Deborah Kory Psy.D., Psychologist        Maria Lakis LCSW-R, Social Work             Briana Lemieix, Social Work
   Elizabeth Koryciak RN, Nurse             Sudesna Lakshman M.D., Physician            Melissa Lenge LMFT, Social Work
   Todd Koser Psy.D., Psychologist          Lila Lamar                                  Abigail Lenhart M.D., Physician
   Sindhu Koshy M.D., Physician             Michael Lamb, Psychologist                  Sara Lennox M.D., Physician
   Kenneth Kosik M.D., Physician            Everett Lamm M.D., Physician                Stacy Lenny, Social Work
   Adrianne Kotecki, Psychologist           Emily Lamont                                Denise Lensky Ph.D., Psychologist
   Stefanie Kotzen LCSW, Social Work        Katharine Lamperti, Physician               Mia Lentinello, Social Work
   Sommer Kraft-Purvis LMHC                 Cecilia Land, Social Work                   Stephanie Leonard M.D., Physician
   Laurie Kramer Ph.D., Psychologist        Helen Landon Ph.D., Psychologist            Alecia Leonard, Social Work
   Thomas Kramer M.D., Psychiatrist         Jasmine Landry,                             Lilaine Leonardo M.D., Physician
   Loren Krane Ph.D., Psychologist          Mieke Lane D.O., Physician                  Abby LePage
   Rita Krane, Physician                    Jeffrey Lanfear Psy.D., Psychologist        Rita Lepe, Physician
   Erin Kratz D.O., Physician               Frances Lang LICSW, Social Work             Amber Lerma M.D., Psychiatrist
   Caroline Krause                          Molly Lang LMSW, Social Work                Shulamit Lerner, Physician
   Lisa Kraushaar                           Elaine Lang, Psychologist                   Ariel Lesh
   Rachel Kraut, Nurse                      Robin Lang, Psychologist                    Marissa Leslie M.D., Psychiatrist
   Kerry Kravitz M.D., Psychiatrist         Jason Lang, Psychologist                    Leigh Leslie Ph.D., Psychologist
   Erika Kreider                            Holly Lang                                  Harry Lesmana M.D., Physician
   Ruth Kreitzman, Social Work              Kelly Lange LMSW, Social Work               Ronnie Lesser Ph.D., Psychologist
   Pamela Krell                             Regina Langhout Ph.D., Scientist            Sylvia Lester Ph.D., Scientist
   Sheila Krishna M.D., Physician           Cathey Lanham, Psychologist                 Sue Lester, Social Work
   Sheila Krishnan MPH, Public Health       Tracey Lanier, Nurse                        Bethany Letiecq Ph.D., Scientist
   Dena Krishnan D.O., Physician            Christopher Lanoue M.D., Physician          Alyssa Letourneau M.D., Physician
   Brian Kroener, Physician                 Jayette Lansbury                            Arlene Lev LCSW-R, Social Work
   Karen Krongold, Psychologist             Melanie Lantz Ph.D., Psychologist           Judy Kaplan Levan Psy.D., Psychologist
   Debbie Kroopkin, Social Work             Fruzsina Lanyi                              Don Levan
   Delores Kropf                            Kerry Lao MSW, Social Work                  Ximena Levander, Physician
   Nancy Krtek LCSW-R, Social Work          Carole Lapidus LCSW-R, Social Work          Anne Levenson M.D., Physician
   Joseph Kruft, Psychologist               Regina LaRocque, Physician                  Janis Leventhal CSW, Social Work
   Jean Kruger                              Roxi Larsen                                 Tessa Levey, Nurse
   Scott Krugman M.D., Physician            Todd Larsen Ph.D., Psychologist             Betty Wolder Levin Ph.D., Public Health
   Elizabth Kubik Ph.D., Psychologist       Camilla Larsen M.D., Physician              Janice Levin J.D.
   Alison Kuchta M.D.                       Korsica Lassiter M.D., Physician            Kay Levine Ph.D., Psychologist
   Alexis Kuerbis LCSW, Social Work         Tamara Latawiec Psy.D., Psychologist        Mark Levine M.D., Physician
   Robert Kuisis Ph.D., Psychologist        Finza Latif, Psychiatrist                   Ellen Levine, Psychologist
   Michele Kulbel, Nurse                    Katherine Lau                               Joan Levine Ph.D., Psychologist
   Bridget Kulbel                           Theresa Lau, Psychiatrist                   Michelle Levine Ph.D., Psychologist
   Jaime Kulbel, Nurse                      Ann Laughlib                                Ben Levine Ph.D., Psychologist
   Nikhil Kulkarni M.D., Physician          Linda R Laughlin Ph.D., Psychologist        Lauren Levine Ph.D., Psychologist
   Divya Kumar, Psychologist                Casey Laukkanen D.V.M.                      Michael Levine
   Anika Kumar M.D., Physician              Gerald Lauria M.D., Physician               Francine Levine RN, Nurse
   Sanaz Kumar, Physician                   Vanessa Lauzon M.D., Psychiatrist           Lacey Levitt Ph.D., Psychologist
   Vaishali Kumaraguru                      Audrey LaVallee,                            Judy Levitz Ph.D., Psychologist
   Justin Kung M.D., Psychiatrist           Monica Lavayen                              Julia Lev-Rosenfeld LMHC, Psychologist
   Howard Kunin, Psychologist               Barbara Lavi Psy.D., Psychologist           Carla Levy
   Tracli Kunkel Ph.D., Psychologist        Stephanie Law Psy.D., Psychologist          James Levy Ph.D., Psychologist
   Natasha Kurchanova                       Anica Law M.D., Physician                   Daniel Levy M.D., Physician
   Sarah Kureshi M.D., Physician            Robert Lawrence MAOM, Physician             Jeff Levy, Social Work
   Traci Kurtzer M.D., Physician            Nancy Lawroski, Psychologist                Brenda Levy, Pharmacist
   Andrea Kurtzman, Nurse                   Karin Lawson Psy.D., Psychologist           Matthew Lewin
   Judith Kurzer, Social Work               Robert Lawrence, MD                         Gregory Lewis Psy.D., Psychologist
   Arielle Kushman                          Lynne Layton Ph.D., Psychologist            Elizabeth Lewis MBA
   Naama Kushnir Barash Ph.D.,              Flora Lazar, Social Work                    Jacklyn Lewis Ph.D., Psychologist
   Psychologist                             T Domi Le M.D., Physician                   Terri Lewis Ph.D.
   Jonathan Kusner                          Michael Leach, Social Work                  Sarada Lewis RN, Nurse
   Katherine Kuvalanka Ph.D.                Jody Leader Ph.D., Psychologist             Victoria Lewis
   Nina Kvaratskhelia, Physician            Kimberly Leak, Social Work                  Tamorah Lewis M.D., Physician
   June Lee Kwon, Psychologist              Diane Leamy, Social Work                    Felicia Lewis, Physician
   Daniel Kyle                              Michael Leavell M.D., Physician             Mary Ann Lewis, Social Work
   Jade La Rochelle                         Annette Leavy LCSW, Social Work             Mary Lewis, Nurse
   Mona LaBar MBBS, Physician               Jeanne LeBlanc Ph.D., Psychologist          Ellen Lewis M.D., Psychiatrist
   Amy Labar                                Wendy Lebowitz Ph.D., Psychologist          Lin Li M.D., Physician
   Emily Labudde                            Maria Lechich, Psychologist                 Blaci Lice
   Joseph Lacy, Social Work                 Nathan Leclair Medical Student, Physician   Alexander Lichtenberg
   Alice Ladas Ed.D., Psychologist          Sharon Lee M.D., Physician                  Whitney Lieb, Physician
   Miri Lader M.D., Physician               Marissa Lee LCSW, Social Work               Rita Lieberman Ph.D., Psychologist
   Diana LaFontaine M.D., Physician         Sherrylynn Lee M.D., Physician              Alicia Lieberman Ph.D., Psychologist
   Gina LaGalbo M.D., Physician             Donald Lee Ed.D., Psychologist              Alice Lieberman, Social Work
   Andrew Lagomasino, Psychologist          Susan Lee Psy.D., Psychologist              Dana Liebowitz
   Tiffany Lahr M.D., Physician             Ling Lee                                    Ingrid Liff, Physician
   Alexandra Laifer Neumann Ph.D.,          Peter Lee                                   Robert Lifton M.D., Psychiatrist
   Psychologist                             Kristina Lehman, Physician                  Denisha Liggett
   Jeannine Lain                            Elizabeth Lehmann LCSW-R, Social Work       Cindy Lignar RN, Nurse




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   Mamie Ligon                                Wendy Lubin Ph.D., Psychologist           Katie Malinski, Social Work
   Ruth Lijtmaer, Psychologist                Erica Lubliner M.D., Psychiatrist         Max Malitzky Psy.D., Psychologist
   Michael Likiet Ph.D., Psychologist         Gene Lubow Ph.D., Psychologist            Justine Maller M.D., Physician
   Jessica Lilley M.D., Physician             Barbara Lucas, Nurse                      Kathleen Malley-Morrison, Psychologist
   Brenna Lille, Physician                    Lauren Lucente                            Monica Malone, Psychologist
   Robin Lillis, Nurse                        Carly Lucier                              Ellen Maloney PT
   Lissa Lim, Psychologist                    Krista Ludwig, Nurse                      Edizen Malonzo
   Nancy Lin, Psychologist                    Marta Ludwig LCSW, Social Work            Krista Malott Ph.D.
   Melissa Lin M.D., Physician                Linda Ludwig Ph.D., Psychologist          Marjorie Maltin Ed.D., Psychologist
   Maria Linden M.D., Physician               Ellen Luepker LICSW, Psychologist         Jeannette Maluf Ph.D., Psychologist
   Joyce Lindenbaum LCSW, Social Work         Jessica Luitjohan, Psychologist           Anna Manatis M.D., Physician
   Vivian Linder LCSW-R, Social Work          Ludovica Lumer Ph.D.                      Richelle Mancewicz,, Psychologist
   Diane Lindner, Social Work                 Ann Lundberg, Social Work                 Andrea Mancinelli D.O., Physician
   Holly Linendoll                            Helen Lundgren, Nurse                     Shreya Mandal, Forensics
   Dina Linfoot M.D., Physician               Jared Lunkenheimer M.D., Physician        Olivia Mandelbaum, Psychologist
   Veena Lingan, Physician                    Sarah Lusk, Psychologist                  Joanna Mandell M.D., Physician
   Alexis Link M.D., Physician                Riad Lutfi, Physician                     Megan Manor MSW, Social Work
   Patrick Link M.D., Psychiatrist            Emily Lutz, Nurse                         Marc Manseau M.D., Psychiatrist
   Casey Linke FNP-C, Nurse                   Jennifer Luu Psy.D., Psychologist         Nadine Mansour
   Theresa Linsner, Physician                 Steven Luz-Alterman Ph.D., Psychologist   Mounir Mansour
   Julie Linton M.D., Physician               Anna Lyapis M.D.                          Sharon Mansur
   Donna Linvog M.D., Physician               M.Brinton Lykes, Psychologist             Cheryl Mantle LMHC, Psychologist
   Ryan Lion Medical Student, Public Health   Corinne Lykins, Psychologist              Carol Manzi
   Madeline Lippman Ph.D., Psychologist       Meghan Lynch, Psychologist                Amanda Maradiaga, Social Work
   Ryan Lipscomb, Administrator               Nicholas Lynch M.D., Physician            Ellen Marakowitz Ph.D.
   Susan Lipsett M.D., Physician              Margaret Lynch, Physician                 Abby Maranga
   Tamara Lipshie, Psychiatrist               Bridget Lynch                             Elizabeth Maranzano M.D., Physician
   Madeleine Lipshie-Williams, Physician      June Lynds, Social Work                   Carol Marcus Ph.D., Psychologist
   Stan Lipsitz Ph.D., Psychologist           Lisa Lyns, Psychologist                   Lynn Ellen Marcus LMFT
   Peter Lipson M.D., Physician               Taina Lyons, Social Work                  Sam Marcus Ph.D., Psychologist
   Joan Lipton Ph.D., Psychologist            Marriah Mabe LCSW                         Kate Marder
   Stephanie Lirio, Psychiatrist              Elaine Maccio Ph.D., Social Work          Maxine Margolies Psy.D., Psychologist
   Phoebe Lithgow CNM, Nurse                  Ross MacDonald M.D., Physician            Alida Margolin, Social Work
   Arlene Litt, Social Work                   Rick MacDonald M.D., Physician            Elizabeth Margoshes Ph.D., Psychologist
   Annie Liu M.D., Physician                  Mindy MacDougall, Social Work             Alex Margosian LICSW, Social Work
   Serena Liu                                 Marti MacGibbon CADC-II, ACRP             Merranda Marin LMFT, Psychologist
   Kellen Livermore                           Julieta Macias Ph.D., Social Work         Ryan Marino M.D., Physician
   Martha Livingston Ph.D., Public Health     Juan Macias, Physician                    Thomas Marino Ed.D., Psychologist
   Nicole Livingston LMFT                     Brigid Mack M.D., Physician               Karen Marisak Ph.D., Psychologist
   Zully Lizarazo, Psychologist               Richard Mack LCSW, Administrator          Xhorlina Marko, Physician
   Alejandro Lizarraga RN, Nurse              Kellie Mackenzie                          Laurie Markoff Ph.D., Psychologist
   Paula Llaneza                              Lee MacKinnon, Public Health              Talia Markowitz, Public Health
   Cayla Lloyd, Social Work                   Adele Mackintosh Ph.D., Psychologist      Abigail Marks Ph.D., Psychologist
   Janet Lo M.D., Physician                   Sarah MacLean                             Laura Markuson Ph.D., Psychologist
   Amelia Lo FNP-BC                           Rachel MacNair Ph.D., Psychologist        Robert P.Marlin, MD, PhD, MPH,
   Seth Lobdell Ph.D., Social Work            Kate Madden M.D., Physician               Physician
   Joanna Locke, Physician                    Sonja Maddox M.D., Physician              Shelley Marlow Esq.
   Julianne Lockwood Ph.D., Psychologist      Michelle Madore Ph.D., Psychologist       Ellen Marmur M.D., Physician
   Maria Loesell, Nurse                       Erin Madriago M.D., Physician             Christopher Marnell, Physician
   Mary Ann LoFrumento M.D., Physician        Elise Madrid M.D., Physician              Mabel Marotta M.D., Physician
   Katrina Lokken Psy.D., Psychologist        Tonya Madrigal, Social Work               Sylvia Marotta-Walters ABPP,
   Lisa Lombard Ph.D., Psychologist           Olivia Madrigal                           Psychologist
   Loren Lomme, Social Work                   Leah Madsen M.D., Physician               Denise Marques, Psychologist
   Bronwyn Long                               Tamar Magdovitz                           Mateo Marquez, Administrator
   Maureen Longeway M.D., Physician           Rhonda Magee                              Regina Marranzini M.D., Physician
   Virginia Longoria Ph.D., Psychologist      Rachel Magida, Social Work                Beth Marron LICSW, Social Work
   Andrea Lopes, Social Work                  Angana Mahapatra, Physician               Erika Marroquin
   Steven Lopez Ph.D., Psychologist           Sarah Maher, Social Work                  Nancy Marshall M.D., Physician
   Daniel Lopez                               Zoe Maher M.D., Physician                 Hannah Marshall
   Natalia Lopez Mendez                       Stephanie Mahler CED                      Leslie Marshall M.D., Physician
   Caitlin Lord                               Adrian Mahlstede, Public Health           Marie-Eve Martel Psy.D., Psychologist
   Andrea Lorenze M.D., Physician             Tamara Mahmood PA-C                       Lauren Martin, Physician
   Tasher Losenegger                          Brian Mahon Ph.D., Psychologist           April Martin Ph.D., Psychologist
   Lia Losonczy, Physician                    Heather Mahoney, Social Work              Beth Martin LCSW, Social Work
   Jennifer Lott LMHC                         Trinh Mai. Social Work                    Lauren Martin
   Elizabeth Loux Psy.D., Psychologist        Johanna Mailloux M.D., Physician          Gina Martin
   Eden Love                                  Toby Mailman, Social Work                 Margaret Martin, Nurse
   Sean Love M.D., Physician                  Rebecca Mair Ph.D., Psychologist          Landon Martin
   Bianca LoVerde, Physician                  Abby Maitland, Social Work                Alison Martin LPN
   Holly Low                                  Adnan Majid, Psychiatrist                 Ashley Martin-Casler
   Janet Lowe                                 Katrina Majstorovic M.D., Physician       William Martinez, Psychologist
   AnnaLowell D.O., Physician                 Mona Makki, Administrator                 Jill Martinez M.D., Psychiatrist
   David Lowenstein Ph.D., Psychologist       Maria Maldonado M.D., Physician           Susan Martinez LCSW, Social Work
   Mark Lowenthal, Psychologist               Olivia Maldonado Psy.D., Psychologist     Tomas Martinez Ph.D., Psychologist
   Jessica Lu M.D., Psychiatrist              Amanda Malik M.D., Physician              Maria Martinez, Nurse
   Kim Lu M.D., Physician                     Stacy Malin Ph.D., Psychologist           Raquel Martinez, Nurse
   Shirley Luban LCSW, Social Work            Sharon Malinowski LMHC                    Katherine Martinez, Nurse




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   Cristina Martinez                        Marsha McDonough Ph.D., Psychologist     Alfonso Mercado Ph.D., Psychologist
   Cristin Martinez M.D., Physician         Stephen McElroy, Physician               Corinne Mercado RN, Nurse
   LeslieAnn Martinez                       Taylor Ryan McFarland CNAA               Liza Mermelstein Ph.D., Psychologist
   Dora Martinez M.D., Physician            Jodi McGahan, Social Work                Gloria Merriam
   Cynthia Martinez                         Fiona McGarry, Social Work               Sheri Merritt MBBS
   Ingrid Martinez, Nurse                   Christine McGinnis, Psychologist         Debra Merskin Ph.D.
   Martha Martinez-Bravo Psy.D.,            Tracy McGivern                           Leslie Merwin, Nurse
   Psychologist                             Eartha McGoldrick                        Allison Merz
   Sonya Martinez-Ortiz CSW, Social Work    Amy McGuire J.D., Scientist              Kim Mesiti
   Mary Martone Psy.D., Psychologist        Elizabeth McGuire, Psychiatrist          Luke Messac M.D., Physician
   Lenna Martyak M.D., Physician            Miranda McGuire-Schwartz, Social Work    Catherine Metzenberg LMFT
   Sheela Maru M.D., Physician              Jill Mcilroy, Social Work                Danielle Metzger LCSW, Social Work
   Joyce Marusarz                           Elizabeth McIntire                       Ilan Meyer Ph.D., Public Health
   Janice Marvel, Nurse                     Elizabeth McKamy MSW, Social Work        Penny Meyer
   Terry Marx , Physician                   Elizabeth McKamy, Social Work            George Meyer MACP, Physician
   Wendy Marx M.D., Physician               Eliana McKee M.D., Physician             Stephanie Meyer, Physician
   Ethan Maryon CSW, Social Work            Fedelma McKenna, Nurse                   Brittany Meyers
   Maria Masciandaro Psy.D., Psychologist   Patricia McKenna                         Jane Charna Meyers, Social Work
   Maria Masciandaro Psy.D., Psychologist   Sarah Mckeon CANP, Nurse                 Alan Meyers M.D., Physician
   Christina Maser M.D., Physician          Teresa McKeon                            Sandra Meyers Ed.D.
   Gina Masessa Psy.D., Psychologist        Daniel Mckitrick                         Judith Meyers Ph.D., Psychologist
   Lauren Mason Psy.D., Psychologist        Anne Mckuhen                             Linda Michaels Psy.D., Psychologist
   Daniel Mason, Physician                  Terrance McLarnan                        Ken Michaels LCSW, Social Work
   Alyssa Mass LMFT                         Lauren McLaughlin                        Christine Michaud M.D., Psychiatrist
   Luisa Massari M.D., Physician            Abigail McLaughlin                       Monica Michell M.D., Physician
   Joann Massey Psy.D., Psychologist        Kara McLaughlin                          Golda Michelson
   Clare Masson, Social Work                John McLean M.D., Physician              Sae Mickelson
   Elli Mastrangelo, Scientist              Molly McMahon Social Work                Jessica Miesfeld, Physician
   Cynthia Mastro, Nurse                    Thomas McMahon Ph.D., Psychologist       Alexandra Mihalek, Physician
   Corinne Masur, Psychologist              Brian McMahon, Social Work               Gaia Mika Ph.D., Psychologist
   Christina Matheney                       Adrienne McManus                         Stephanie Mikulski D.O., Physician
   Belle Matheson, Nurse                    Laura McMullen M.D., Physician           Gregory Milbourne Psy.D., Psychologist
   Minu Mathew LCSW, Social Work            Siobhan McNally M.D., Physician          Jennifer Milchenko MPH, Public Health
   Katherine Mathew                         Nora McNamara M.D., Physician            Andrew Milewski Ph.D.
   Dominique Mathews                        Fawn McNeil-Haber Ph.D., Psychologist    Alexandra Miley
   Bristol Mathez                           Brian McNeill Ph.D., Psychologist        Lisa Milford
   Jaime Matorras                           Molly McRae, Social Work                 Naomi Miller Ph.D., Social Work
   Julie Matthaei                           Maureen McSwiggin                        Ash Miller M.D., Physician
   Andria Matthews                          Ben McVane M.D., Physician               Lisa Miller LCSW-R, Social Work
   Dan Matthews, Psychologist               Stephanie McWethy                        Alison Miller Psy.D., Psychologist
   Anne Mattingly M.D., Physician           Ellen McWhirter Ph.D., Psychologist      Jen Miller, Social Work
   Allison Mattison Psy.D., Psychologist    Nancy McWilliams Ph.D., Psychologist     Laura Miller M.D., Physician
   Jim Matto-Shepard Ph.D., Psychologist    Alex Means M.D., Physician               Robin Miller
   Felicia Matto-Shepard, Psychologist      Alexa Meara, Physician                   James Miller, Physician
   Lisa Maurel LMFT                         Jesica Meatto LCSW, Social Work          Martha Miller, Nurse
   Joel Mausner Ph.D., Psychologist         Adriana Medina O.D.                      Claudia Sharda Miller
   Valerie Maxey                            Monica L Meerbaum Ph.D., Psychologist    Kathryn Miller
   Richard Maxfield Ph.D., Psychologist     Nivedita Meethan, Public Health          Theresa Miller Ph.D., Psychologist
   Teresa Maxwell LMSW , Social Work        Emily Megas-Russell LICSW, Social Work   Taylor Miller D.V.M.
   Deborah May FNP-BC, Nurse                Elie Mehanna Medical Student             Tohari Miller M.D., Physician
   Shirley Mazourek, Social Work            Adele Mehr, Social Work                  Holly Millheiser PT
   David Mazumder, Physician                Ayesha Mehrotra, Public Health           Marlene Millikan, Social Work
   Sara Mazzoni M.D., Physician             Naaman Mehta Medical Student             Uma Millner, Psychologist
   Lindsey McAmis Gouge M.D., Physician     Sapna Mehta, Physician                   Rebecca Millner, Public Health
   Jean McAuliffe, Nurse                    Puja Mehta Medical Student               Eva Millona
   Patrick McAuliffe, Ph.D.                 Lina Mehta M.D., Physician               Victoria Mills, Social Work
   Elizabeth Mcauliffe                      Gia Meicher                              Victoria Mills, Social Work
   Mary McBride NP-C, Nurse                 Adrienne Meier Ph.D., Psychologist       Kim Mills ANP-BC, Nurse
   Dorothy McBrien RN-BC, Nurse             Emily Meier, Physician                   Jennifer Mills M.D., Physician
   Kerry McCabe, Physician                  Joanna Melia, Physician                  Alice Min Simpkins
   Allyssa McCabe-Cuneo, Psychologist       Karen Melikian, Social Work              Sara Mindel LICSW, Social Work
   Ann Marie McCafferty                     Yelena Melnikova                         Peggy Miner, Social Work
   Mary McCaffrey, Social Work              Bengi Melton M.D., Psychiatrist          C Miner
   Palmer McCall                            Melanie Melville M.D., Psychiatrist      Rebecca Minnick CSW, Social Work
   Laura Mccarthy LCSW-R, Social Work       Glends Mendelsohn, Social Work           Mary Beth Miotto M.D., Physician
   Ledra McClinton, Administrator           Elissa Mendenhall, Physician             Karen Miranda Psy.D.
   Tammey McCloud RN, Nurse                 Martha Mendes, Social Work               Marsha Mirkin Ph.D., Psychologist
   Patrick McColloster M.D., Physician      Melissa Mendez M.D.                      Marci Mishler, Nurse
   David McConaghay                         Dianelys Mendez                          Ranit Mishori M.D., Physician
   Sarah Mccormick D.O., Physician          Dawn Mendoza RN, Nurse                   Hannah Mitchell, Social Work
   Kathleen McCormick                       Carmen Mendoza                           Raymond Mitchell
   Noelle McCown Psy.D., Psychologist       Miguel Mendoza Medical Student           Kara Mitchell, Physician
   Karen McCUmiskey MSN, Nurse              Miriam Mendoza, Psychologist             Amanda Mittman, Public Health
   Mary Mccurnin                            Claudia Menjivar                         Keiko Mizuguchi
   Robert McDonald Ph.D., Psychologist      Catharine Mennes Ph.D., Social Work      Sarah Moberg
   Megan McDonald D.O., Physician           Christina Mentes Ph.D., Psychologist     Julia Moench-Parent
   Amanda McDonald, Social Work             Theresa Meotti M.D., Physician           Rich Moffitt, Social Work




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   Jacqueline Moga Ph.D., Scientist          Hayyah Muller M.D., Psychiatrist          Melinda Nestor
   AC Mogal, Physician                       Maria Mulligan-Buckmiller                 Shivaun Nestor, Public Health
   Zoya Mohiuddin, Physician                 Erin Mullin Ph.D., Psychologist           Betsy Nettleton, Psychologist
   Arpana Mohnani M.D., Physician            Julie Mumford, Social Work                Roda Neugebauer LCSW
   Sarah Mohr, Administrator                 Lawrence Mumm M.D. , Physician            Chelsea Neumann M.D., Psychiatrist
   Joseph Moldover Psy.D., Psychologist      Sarah Munday                              Iliana Neumann M.D., Physician
   Jonathan Moldover M.D., Physician         Arturo Mundigo Social Work                Ninfa Neuser Psy.D., Psychologist
   Connie Moler ARNP                         Kristen Mungcal, Social Work              Juliana Neuspiel, Psychologist
   Brittainey Molina                         Melissa Munoz                             Lynn Nevins CCC-SLP
   Patricia Molina M.D., Physician           Gabriela Munoz Ph.D., Psychologist        Priscilla Newcomb, Social Work
   Matthew Molloy M.D., Physician            Zaide Muñoz, Administrator                Jane Newell Ph.D., Administrator
   Merle Molofsky                            John Munsell M.D., Physician              Carly Newhouse, Social Work
   Vicktoria Molokin LCPC                    Carol Munter                              Michelle Newman
   Gloria Monahan, Nurse                     Catherine Murak M.D., Physician           Erica Newton, Social Work
   Ana Monas                                 Jessica Murakami-Brundage Ph.D.,          Bonnie Nezaj, Psychologist
   Liz Mongillo-Herman Ph.D., Psychologist   Psychologist                              Waitz Ngan M.D., Physician
   Heidi Monroe Ph.D., Nurse                 Kavitha Muralidharan MB, ChB              Deklerk Ngankam
   Pamela Montano Arteaga, Psychiatrist      Tessa Murdock-Bell, Social Work           Christine Nguyen D.O., Physician
   Gloria Montes Ph.D., Psychologist         Steph Muro, Social Work                   Sanh Nguyen D.O., Psychiatrist
   Nadyne Montiel, Social Work               Sarah Murphy M.D., Physician              Lily Nguyen M.D., Physician
   Yesika Montoya, Social Work               Joan Murphy LPC                           Bang Chau Nguyen PA-C
   Andre Montoya-Barthelemy M.D.,            Elissa Murphy Ph.D., Social Work          Danielle Nichols
   Physician                                 Theodore Murray M.D., Psychiatrist        Martina Nicholson M.D., Physician
   Diana Montoya-Williams M.D., Physician    Kelly Murray M.D., Physician              Chloe Nicksic, Psychologist
   Molly Moody                               Morgan Murray Ph.D., Psychologist         Sara Nielsen
   Krystal Moon, Social Work                 Amy Murrell, Psychologist                 Sheila Nielsen Esq.
   Cary Moore                                Maram Museitif                            Denise Niemira M.D., Physician
   Christopher Moore M.D., Physician         Joan Musitano LCSW, Social Work           Elena Nightingale M.D., Physician
   Janice Moore Ph.D., Social Work           Hattie Myers Ph.D., Social Work           Maria Niitepold, Psychologist
   Lisa Moore Ph.D., Public Health           Laura Myhr Ph.D., Psychologist            Natalia Nikolova Ph.D., Psychologist
   Jacqueline Moore M.D., Physician          Kirstin Nackers M.D., Physician           McKenzie Nino, Social Work
   Susan Moore-Motily, Psychologist          Nancy Nadel                               Stephanie Nitzschke M.D., Physician
   Mufadal Moosabhoy ACRB                    Janet Nader                               Janice Niver M.D., Psychiatrist
   Jaime Moo-Young M.D., Physician           Hani Naga, Physician                      Eleanor Nixon, Nurse
   Eduardo Morales Ph.D., Psychologist       Karen Nagy RRT                            Anjali Niyogi, Physician
   Xavier Morales, Public Health             Jennifer Nail Ph.D., Psychologist         Krystal Nizar, Psychiatrist
   Claudia Morales, Social Work              Anastasia Najarian, Scientist             J Noe
   Amanda Morales Clarke Psy.D.,             Linda Najjar Ph.D., Psychologist          Eri Noguchi Ph.D., Social Work
   Psychologist                              Kemi Nakabayashi M.D., Physician          Lyndsey Nolan, Public Health
   Teresa Moreira, Social Work               Nadine Nakamura, Psychologist             Patricia Noon, Social Work
   Roberta Morell                            Laura Naman Ph.D., Psychologist           Soledad Norin
   Jonathan Moreno Ph.D.                     Meghna Nandi Medical Student, Physician   Carmen Rosa Norona, Social Work
   Lisa Moreno MSW, Social Work              MaryBeth Napier, Psychologist             Laura Norris
   Amber Morgan M.D., Physician              Laura Naranjo, Nurse                      Dustianne North Ph.D., Social Work
   Rhea Morgan D.V.M.                        Rashmi Narayan M.D., Physician            Jennifer Northridge M.D., Physician
   Sharon Morgan PA                          Nicole Nardone LSW                        Michael Northrop M.D., Physician
   Julia Morgan                              Neha Narula, Physician                    Andrea Northwood Ph.D., Psychologist
   Kelly Morgan M.D., Physician              Samera Nasereddin                         Erin Nortrup LCSW-C, Social Work
   Richard Morhaime Psy.D., Psychologist     Maureen Naset                             Shannon Norwitz, Social Work
   Cari Morphet                              Rand Nashi, Physician                     Jesse Novak
   Melinda Morrill Ph.D., Psychologist       Caroline Nason MBA, Administrator         Jennifer Novello LMSW, Social Work
   Marsha Morris Ph.D., Psychologist         Scott Nass M.D., Physician                Kerry Novick
   Mark Morris LSW, Social Work              Paul Nassar M.D., Psychiatrist            Cristy Novotney, Social Work
   Leonette Morrison M.D., Psychiatrist      Shelley Nathans Ph.D., Psychologist       Dawn Novotny, Social Work
   Helene Morse Ph.D., Psychologist          Marie Naumann Ph.D., Psychologist         Heidi Nowak, Nurse
   Linda Morse, Nurse                        Dipesh Navsaria M.D., Physician           Kristin Nowak CNM, Public Health
   Lisa Moscatiello, Psychologist            Sarah Nayeem, Physician                   Nicole Nugent Ph.D., Psychologist
   Lisa Moschello LCSW, Social Work          Deborah Nazarian, Psychologist            Anchi Numfor
   Erica Moses ABPP, Psychologist            Sarah Nazarkhan M.D., Physician           Erika Nurmi Ph.D., Psychiatrist
   Michael Moskowitz Ph.D., Psychologist     Idara Ndon                                Karen Nuthals, Scientist
   Sally Moskowtiz Ph.D., Psychologist       Minal Nebhnani                            Bruce Nystrom Ph.D., Psychologist
   Denise Mosqueda, Public Health            Angela Neese Ph.D., Psychologist          Kristen O’Brien, Public Health
   Marcela Mota Aversa                       Brian Neff, Psychologist                  Carlos O’Bryan M.D., Physician
   Ferrell Motlow M.D., Physician            Daniel Neghassi, Physician                Kelly O’Connell-Seagraves
   Angelica Motta Physician                  Maria Nei                                 Erin O’Connor-Thygeson , Nurse
   Marlene Mouttet                           Azine Neiman, Psychologist                Louise O’Hanley
   Hawnyeu Moy M.D., Physician               Nick Nelson M.D., Physician               Michelle O’Regan
   Diane Moya                                Sharon Nelson, Psychologist               Janette O’Sullivan
   Jennifer Moyer, Nurse                     Steven Nelson Ph.D., Psychologist         Ariel Oakes , Nurse
   Nancy Mramor, Psychologist                James Nelson                              June Oates
   Rebecca Mueller M.D., Physician           Amy Nelson, Nurse                         Aura Obando M.D., Physician
   Mary Mueting                              Delphine Nelson, Physician                Samantha Ober M.D., Physician
   Amy Mugg M.D., Physician                  Meredith Nelson, Nurse                    Austin Oberlin, Physician
   Janice Muhr Ph.D., Psychologist           Terri Nelson, Social Work                 Kelley OConnell
   Romita Mukerjee M.D., Physician           Elena Nelson                              John OConnor Psy.D., Psychologist
   Angela Mukherjee D.O., Physician          Amber Nemeth Ph.D., Psychologist          Kathleen O'Connor LCSW, Social Work
   Emily Mukherji, Psychiatrist              Ron Nemirow                               Sharon O'Connor Ed.D., Psychologist




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   Tessie October, Physician                  Kathleen Pape, Psychologist                Sheri Perlman
   Mary Gail O'Dea, Psychologist              Carol Paradis                              Jacob Perlman Medical Student, Physician
   Kathleen ODonnell Burrows MSW, Social      Molly Paras, Physician                     Lauren Permenter MSW, Social Work
   Work                                       Seymour Pardo, Psychologist                Liza Perpuse M.D., Physician
   Lisa O'Donovan                             Emmanuelle Pare M.D., Physician            Carmela Perri CNS
   Danna Ogden D.O., Physician                Anish Parekh Medical Student, Physician    Sharon Perrotta Psy.D., Psychologist
   Robert Ogner, Social Work                  Monika Parikh, Administrator               Barbara Perry LSW, Social Work
   Taylor O'Grady Ph.D.,                      Shermi Parikh DPM, Physician               Sebastian Perumbilly Ph.D.
   Nicole Okezie M.D., Psychiatrist           Deborah Paris, Social Work                 Angeliki Pesiridou M.D., Psychiatrist
   Yemi Okunseinde M.D., Physician            Manuel Paris Psy.D., Psychologist          Deborah Peters Ph.D., Psychologist
   Heidi Olander M.D., Physician              Paul Park, Psychologist                    Rebecca Petersen, Social Work
   Kerrie O'Leary                             Heejung Park CPNP, Physician               Christine Peterson Ph.D., Psychologist
   Joseph Olejak                              Beth Parker LICSW, Social Work             Jaime Peterson, Physician
   Christy Olezeski Ph.D., Psychologist       Ann Parker, Physician                      Janice Petix LCSW, Social Work
   Mary Olin                                  Kelly Parker-Guilbert, Psychologist        Kimberly Petko M.D., Physician
   Stephanie Oliva, Physician                 Sharon Parkinson Psy.D., Psychologist      Michelle Petnov-Sherman LCSW, Social
   Gabrielle Oliveira, Scientist              Parveen Parmar M.D., Physician             Work
   Rachel Oliver Young                        Carla Parola LPC                           Sueli Petry Ph.D., Psychologist
   William Olsen                              Jennifer Parrish D.O., Physician           Mariah Pettapiece-Phillips, Public Health
   Brad Olson Ph.D., Psychologist             Gretchen Parrott MPH, Public Health        Barbara Petterson LMFT
   Naomi Olson LCSW, Social Work              Danielle Parsell Psy.D., Psychologist      Nora Pfaff M.D., Physician
   MaryEllen Olson, Social Work               Amanda Parsons M.D., Public Health         Margaret Pfeffer M.D., Physician
   Erin Ondercin Ph.D., Psychologist          Amy Pasternack, Physician                  Anne Phan-Huy M.D., Psychiatrist
   Lara ONeil APRN                            Nisha Patel M.D., Physician                Mara Pheister M.D., Physician
   Ilonka O'Neil RN, Nurse                    Kevin Patel M.D., Physician                Raina Phillips M.D., Physician
   Meagan ONeill, Physician                   Premal Patel M.D., Physician               Suzanne Phillips Psy.D., Psychologist
   Genoveva O'Neill M.D. , Physician          Nishant Patel Psy.D., Psychologist         Sharon Phillips, Physician
   Mary Kay O'Neill M.D., Physician           Laura Patel M.D., Physician                Natasha Phillips, Administrator
   Tamar Opler LCSW, Social Work              Ami Patel                                  Sarah Phillips LMSW, Social Work
   Susan Opotow, Ph.D.                        Vaidehi Patel M.D., Physician              Aurora Phillips
   Susan Orbach Ph.D., Psychologist           Anna Maria Patino-Fernandez Ph.D.,         Teresa Phillips, Physician
   Maureen O'Reilly-Landry Ph.D.,             Psychologist                               Carrissa Phipps Ph.D., Psychologist
   Psychologist                               Terence Patterson, Psychologist            Mojabeng Phoofolo, Physician
   Spyros D Orfanos, Psychologist             Mark Patterson, MD, PhD, Physician         Michele Piccolo Ph.D., Psychologist
   Alyssa Orinstein, Psychologist             Catherine Patteson, Social Work            Nancy Pienta PT
   Manuela Orjuela-Grimm M.D., Physician      Sarah Patz, Psychologist                   Robert Pierce Jr.
   Evelyn Orlando                             Jennifer Pauk, Social Work                 Jane Pierce
   Joel Ornelas, Physician                    Nat Paul                                   Amanda Pierce
   Kelly Orringer M.D., Physician             Yasmerlin Paulino, Social Work             Cathy Pierce
   Shelby Ortega Ph.D., Psychologist          Jeree Pawl Ph.D., Psychologist             Faradia Pierre, Physician
   Jennifer Orthmann Murphy, Physician        Julia Paz, Physician                       Anna Pineda
   Aracely Ortiz                              Julia Pazniokas, Physician                 Alex Pino
   Kim Ortiz, Social Work                     Gwen Pearl , Social Work                   Alexandra Pinon M.D., Physician
   Chantel Osman, Psychologist                Ellen Pearlman                             Laura Pinsky, Social Work
   Luisa Ospina, Social Work                  Stephanie Pearson M.D., Physician          Naomi Pinson
   Patrice Ostmeywr ADTR                      Farrokh Pebdani                            Renee Pinto Ph.D., Psychologist
   Greg Oswald Ph.D., Psychologist            Margaret Pechota Ph.D., Psychologist       Alex Pirie
   Paige Oszmanski LCSW, Social Work          Kristen Peck Ph.D., Psychologist           Elliot Pittel M.D., Psychiatrist
   Teresa Otoya-Mcadams                       Lydia Pecker M.D., Physician               Lauren Pittman
   Deborah Ottenheimer M.D., Physician        Mark Pecker M.D., Physician                William Pittman Ed.S., Administrator
   Sarita Overton Ph.D., Psychologist         Janet Peden Ph.D., Psychologist            Matthew Pius M.D., Physician
   Gavin Ovsak Medical Student                Annelisa Pedersen Ph.D., Psychologist      Lin Piwowarczyk M.D., Psychiatrist
   Kristal C. Owens Ph.D., Psychologist       Katherine Peeler M.D., Physician           Stuart Pizer Ph.D., Psychologist
   Donna Ozawa                                Joanna Peery Polyn, Nurse                  Jessica Piziali
   Cyrille P                                  Rebecca Peil FNP-BC, Nurse                 Julia Plascencia
   Maria Pacheco                              Ann Pellegrini Ph.D.                       Rebecca Platt, Psychologist
   Brenda Padilla Psy.D., Psychologist        Lori Pellegrino M.D., Psychiatrist         Erin Plews-Ogan
   Savita Pa, Physician                       Lisa Pelton, Social Work                   Janet Plotkin-Bornstein Ph.D.,
   Melinda Paige Ph.D.                        Nina Pelton APRN                           Psychologist
   Joquetta Paige M.D., Physician             Sheryl Pelton, Nurse                       Angela Pluguez
   Karen Pakula, Social Work                  Mary Pelton Cooper, Psychologist           Ellen Plumb M.D., Physician
   Ria Pal, Physician                         Rachael Peltz Ph.D., Psychologist          Pierrette Poinsett M.D., Physician
   Yelennia Palacios, Physician               Katherine Penebre FNP-C, Nurse             Nicholas Pokoj
   Samantha Palmaccio, Physician              Tagasichani Peralta, Social Work           Deborah Polacek, Nurse
   Carter Palmer                              Brenda Pereda M.D., Physician              Emily Polak Ph.D., Psychologist
   Rebecca Palmer                             Joy Pereths                                Laura Polania M.D., Psychiatrist
   Sara Palmer Ph.D., Psychologist            Vanessa Perez Medical Student              Peter Polatin M.D., Psychiatrist
   Lee Palmer                                 Nissa Perez M.D., Psychiatrist             Lisa Polenberg LCSW-R, Social Work
   Rea Panares, Public Health                 Georgina Perez, Social Work                Carly Policha, Nurse
   Deepa Panchang NP-C, Nurse                 Emiliana Perez APRN-BC, Nurse              Laura Polito M.D., Physician
   Diana Pandey M.D., Physician               Marisa Perez, Physician                    Maria Pollack
   Karen Pando-Mars                           Carla Perez Martinez Ph.D., Psychologist   Lise Pomerleau
   Heather Pane Seifert Ph.D., Psychologist   Maris Perez Johnson D.O., Physician        Arthur Pomponio Ph.D.
   Wendy J Panken, Social Work                Helen Perille Psy.D., Psychologist         JoAnn Ponder Ph.D., Psychologist
   Tina Panteleakos Ph.D., Psychologist       Uma Periyanayagam M.D., Physician          Eleanor Pope, Social Work
   Pranati Panuganti                          Kacey Perkins                              Keren Porat, Psychologist
   Joe Panzner LSW, Social Work               Sarah Perkins M.D., Physician              Maria Portela, Physician




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   Jennifer Porter M.D.                   Elsa Raker, Public Health                 Sr. Mary Sonia Reyes
   Jennifer Porter M.D., Physician        Susana Ramirez M.D., Physician            Jane Reynolds Ph.D., Psychologist
   Alesia Porter                          Sandra Ramirez LCSW, Social Work          Michele Reynolds, Physician
   Natalie Porter Ph.D., Psychologist     Maria Ramirez, Social Work                Angie Reynolds M.D., Physician
   Gina Posner M.D., Physician            Mark Ramirez LMFT, Psychologist           Dorca Reynoso
   Rebecca Post CSW, Social Work          Mari Ramos, Public Health                 Samina Reza M.D., Physician
   Tonia Poteat, Public Health            Brenda Ramos LVN, Nurse                   Wayne Reznick, Psychologist
   Carol Potter                           Victoria Ramos, Psychologist              Donya Rhett Ph.D., Psychologist
   Maria Pouria M.D., Physician           Allison Ramsey                            Ginger Rhodes Ph.D., Psychologist
   Kate Pourshariati                      Sonal Rana M.D., Psychiatrist             Madeline Rhum Ph.D., Psychologist
   Chelsea Powell M.D., Physician         Sheena Ranade M.D., Physician             Michele Ribeiro Ed.D., Psychologist
   Kavitha Prakash M.D., Physician        Kathryn Randall M.D., Physician           Steven Riccoboni M.D., Physician
   Mark Prasad                            Jocelyn Randall LCSW, Social Work         Roberta Rice, Social Work
   Nathan Praschan M.D., Physician        Catherine Raney, Physician                Susan Rich M.D., Psychiatrist
   Nancy Pratt                            Linda Rangel                              Nancy Richard, Administrator
   Nancy Prendergast M.D., Physician      Lena Ransohoff, Public Health             Arlene Richards
   Carol Presant, Social Work             Tucker Ranson LCSW, Social Work           D Roxanne Richards M.D., Physician
   Diana L Prescott Ph.D., Psychologist   Kavitha Rao, Psychologist                 Adam Richards M.D., Physician
   Jennifer Presnall-Shvorin Ph.D.,       Wendy Rapaport Psy.D., Psychologist       Wynn Richards
   Psychologist                           Evelyn Rappoport Psy.D., Psychologist     Claire Richards, Nurse
   Dan Prezant Ph.D., Psychologist        Christopher Raso RN, Nurse                Dorothy Richardson Ph.D., Psychologist
   Barbara Prezelin Ph.D., Scientist      Stephen Ratcliff, Social Work             Hannah Richardson Ph.D., Psychologist
   Alice Priano, Psychologist             Elizabeth Rathbun                         Hilary Richardson, Psychologist
   Norma Price M.D., Physician            Margaret Ratiner Ph.D., Psychologist      Reg Richburg LMSW, Social Work
   Maggi Price Ph.D., Psychologist        Daniel Ratner, Psychologist               Kristin Richey, Nurse
   Sean Price                             Barbara Rauch LCSW, Social Work           Sophia Richman Ph.D., Psychologist
   Patricia Priest RN, Nurse              Stefanie Raue                             Lisa Richman M.D., Physician
   Anthony Primavera                      Margaret Rauen Ph.D., Psychologist        Elizabeth Ridgway M.D. FAAP
   David Prince Psy.D., Psychologist      Girindra Raval M.D., Physician            Amy Riek M.D., Physician
   Jean Prince M.D., Physician            Sheila Ravendhran M.D., Physician         Robert Riethmiller Ph.D., Psychologist
   Alisa Prinos                           Simha Ravven M.D., Psychiatrist           Arleen Rifkind M.D., Physician
   Betty Pristera, Social Work            Anita Ray M.D., Physician                 Brandon Rigby Ph.D.
   Karen Proner MSEd, Psychologist        Moira Ray M.D., Physician                 Rebecca Rinehart Medical Student
   Shakira Provasoli                      Maggie Ray                                Krista Ring
   Audrey Provenzano M.D., Physician      Jennifer Raymond M.D., Physician          Rachael Ringwood LCSW, Social Work
   Rebecca Pruitt                         Molly Raynor                              Lisa Rinker , Physician
   Sarah Prysock, Nurse                   Cathleen Rea Ph.D., Psychologist          Monisha Rios MSW, Social Work
   Kira Pullig, Social Work               Romy Reading Ph.D., Psychologist          Luis Ripoll M.D., Psychiatrist
   Ronda Pulse M.D., Physician            Eleanor Reardon                           Robin Risler Psy.D., Psychologist
   Dianne Pulte, Physician                Lisa Reaves M.D., Physician               Ana Risse, Physician
   Amy Pumo LCSW, Social Work             Sylvia Reaves LMSW, Social Work           Susan Ritterman
   Laurie Punch, M.D.                     Marcus Reboa                              Phyllis Rittner
   Paul Puri M.D., Physician              James Recht M.D., Psychiatrist            Jomarie Rivera M.D., Physician
   Emily Puterbaugh M.D., Physician       Tam Redd, Psychiatrist                    Nancy Rivera M.D., Physician
   Frank Putnam M.D., Psychiatrist        Melissa Redden                            Krissia Rivera Perla
   Karen Putnam                           Cherkaleyna Redder-Haga D.O., Physician   Denise Rizzo, Nurse
   Maripat Putzer                         Lila Redmount, Social Work                Lina Roa, Physician
   Scott Pytluk ABPP, Psychologist        Michele Reed, Psychologist                TC Robbins, Physician
   Diane Qi                               John Reed                                 Jeanette Robbins, Social Work
   Sami Qreini, Social Work               Karolin Reed, Physician                   Lynn Roberts Ph.D., Public Health
   Kathleen Quinn, Social Work            Anne Reed-Weston                          Mary Roberts M.D., Physician
   Germán Quiñonez                        Daniel Reef                               Laura Roberts LCSW, Social Work
   Luis Quintero Medical Student          Ann Reese Psy.D., Psychologist            Jill Robertson
   Jessamine Quinzon, Nurse               Nicholas Reeves, Physician                Tracy Robin, Social Work
   Josh Quirk                             Deborah Reeves, Psychologist              Colin Robinson M.D.
   Zeeshan Qureshi D.O., Physician        Jill Reich                                Ruby Robinson
   Matt R, Social Work                    Brenna Reichman, Nurse                    Lori Robinson CCC-SLP
   Tracy Rabin M.D., Physician            Marian Reiff Ph.D., Public Health         Kahlila Robinson Ph.D., Psychologist
   Mara Rabin M.D., Physician             Barb Reilly RN, Nurse                     Barbara Robinson LCSW-R, Social Work
   Rebecca Rabin, Psychologist            Laura Reinacher, Public Health            Elizabeth Robinson
   Ariana Rabinowitsch Medical Student    Simba Reinhold                            Lisa Robinson M.D., Psychiatrist
   Donna Racines CNM, Nurse               Diane Reis M.D., Psychiatrist             Marva Robinson Psy.D., Psychologist
   Amy Rackear, Social Work               Wendy Reiser D.O., Psychiatrist           Rachel Robitz M.D., Physician
   Greg Raczkowski                        Steven Reisner Ph.D., Psychologist        Elizabeth Rocco M.D., Physician
   Shannon Radak, Nurse                   Joanne Reith RN, Nurse                    Maya Rockeymoore Ph.D., Public Health
   Audrey Raden LCPC                      Christine Reitmeyer                       Cristina Rodrigues
   Stephanie Radke M.D., Physician        Meegan Remillard M.D., Physician          Marlene Rodriguez M.D., Physician
   Nicole Rafanello Ph.D., Psychologist   Marcus Rempel, Physician                  Nina Rodriguez, Physician
   Sandra Rafman, Psychologist            Michele Renchner Ph.D., Psychologist      Gabriela Rodriguez Ph.D., Psychologist
   Cristy Ragland LPC                     Michelle Reno                             Jacqueline Rodriguez, Nurse
   Katie Raher Ph.D., Psychologist        Erika Rentas M.D., Physician              Yari Rodriguez
   Tabassum Rahman LMSW, Social Work      Liza Restifo, Social Work                 Ingrid Rodriguez Ph.D., Psychologist
   Aurnee Rahman                          Carolina Retamero M.D., Physician         Jaclyn Rodriguez, Forensics
   Hannah Raila Ph.D., Psychologist       Neelambika Revadigar, Psychiatrist        Von Marie Rodriguez-Guzman Ph.D.,
   Ashley Rainford, Psychologist          Elizabeth Revere, Physician               Psychologist
   Vinutha Rajesh M.D., Physician         Dinoska Reyes                             Cynthia Roe MPH, Public Health
   Vinutha Rajesh M.D., Physician         Claudia Reyes LCSW, Social Work           Lizabeth Roemer Ph.D., Psychologist




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   Soraya Rofagha, Physician                Florence Rowe ACRN, Social Work             Judith Sanchez M.D., Physician
   Wesley Rogers                            Kevin Rowe, Psychiatrist                    Dayana Sanchez MPH
   Juliet Rohde-Brown Ph.D., Psychologist   Laurel Rowen Ph.D., Psychologist            Henry Sanchez Medical Student
   Sarah Rojas M.D., Physician              Nora Rowley M.D., Forensics                 Amy Sanchez, Psychologist
   Kathryn Rolland Ed.D., Public Health     Kevin Roy Ph.D., Public Health              Antonio Sanchez Psychiatrist
   Emily Romano                             Ingrid Roze Ph.D., Psychologist             Antonio Sanchez
   Amy Romashko M.D., Physician             Desiree Rozier Psy.D., Psychologist         Shara Sand Psy.D, Psychologist
   Sandra Romero M.D., Physician            Hadassah Rsmin, Social Work                 Janay Sander Ph.D., Psychologist
   Robin Romine                             Nancy Rubbico                               Kirsten Sandgren Social Work
   Sylvia Romm M.D., Physician              Susan Rubin, Physician                      Hollie Sandlin Physician
   Rebecca Romo Psy.D., Psychologist        Lori Rubin M.D., Physician                  Sabrina Sandoval M.D., Psychiatrist
   Suzanne Roniger, Social Work             Penny Rubinfine D.S.W., Social Work         Eric Sandoval M.D., Physician
   Beth Rontal, Social Work                 Marie Rudden M.D., Psychiatrist             Maria Sandvik
   MaryEllen Rooney Ed.D., Administrator    Ginger Ruddy, Physician                     Rosa Sanluis
   Rebecca Rooney, Psychologist             Susan Rudolph, Psychologist                 Tracy Sanson M.D., Physician
   Danielle Rooney M.D., Physician          Dr. Dean Rudoy Ph.D., Psychologist          Patricia Santivanez
   Lindsey Rosa, Social Work                Carrie E Ruggieri, Psychologist             Sebastiano Santostefano Psy.D.,
   Andrew Rosales, Medical Student          Maritza Ruiz M.D., Physician                Psychologist
   Rachel Shira Rosan RN, Nurse             Elena Ruiz-Rios M.D., Physician             Anmol Satiani Ph.D., Psychologist
   Gabriela Rosas-Garcia M.D., Physician    Daniel Runde M.D., Physician                Alicia Sattler APRN-BC, Nurse
   Thomas Rosbrow Ph.D., Psychologist       Jennifer Rupert, Physician                  Erica Sauer LICSW, Social Work
   Patricia Rosbrow Ph.D., Psychologist     Patricia Rush M.D., Physician               Danielle Savage M.D., Physician
   Elizabeth Rose, Administrator            Judy Russell                                Esther Savitz LCSW-R, Social Work
   Teresa Rose Ph.D., Psychologist          Rachel Russell Psy.D., Psychologist         Annita Sawyer Ph.D., Psychologist
   Susan Rose Ph.D., Psychologist           Judith Ruszkowski                           Keegan Sawyer
   Anthony Rose                             Elizabeth Rutten-Turner LCSW, Social        Suzan Sayder
   Abigail Rose M.D., Physician             Work                                        Shannon Scanlan
   Christian Roselund                       Adriana Ruvalcaba LMSW, Social Work         Polly Scarvalone Ph.D., Psychologist
   Penny Rosen LCSW-R, Social Work          Avery Ryan LMSW, Social Work                Skyla Scarzella
   Barbara Rosen, Social Work               Julie Ryan Ph.D., Psychologist              Laurie Scgwartzer LCSW-R, Social Work
   Laura Rosen Ph.D., Psychologist          Karen Ryan                                  Milton Schaefer Ph.D., Psychologist
   Diane Rosenbaum Ph.D., Psychologist      Deborah Ryan Ph.D.                          Stephanie Schafer, Social Work
   Marion Rosenbaum Ph.D., Psychologist     Tracy Ryaru Ph.D., Psychologist             Katherine Schaff Dr.PH, Public Health
   Ruth Rosenbaum                           Kayce Ryberg PNP, Nurse                     Michael Schaffer Ph.D., Psychologist
   Larry Rosenberg Ph.D., Psychologist      Thalia Ryer LMHC, Psychologist              Michelle Schaffner, Social Work
   David Rosenberg Ph.D., Psychologist      Inna Ryvkin M.D., Physician                 Phyllis Schalet, Social Work
   Linda Rosenberg LCSW-R, Social Work      Anuja S                                     Kathy Jo Schanner
   Michele Rosenberg M.D., Psychiatrist     Moizah Saad D.O., Physician                 Elaine Schattner M.D., Physician
   Mindy Rosenberg Ph.D., Psychologist      Altaf Saadi M.D., Physician                 A Schatz
   Lynne Rosenberg                          Karen Saakvitne Ph.D., Psychologist         Gillian Schauer Ph.D., Public Health
   Ellen Rosenblum RN, Nurse                Fred Sabb Ph.D.                             Elizabeth Schauer
   Julia Rosenfield LICSW, Social Work      Raha Sabet                                  Diane S. Schaupp PHD
   Andrea Rosenstein AAHIVS, Psychologist   Marlene Sabio Ed.D.                         Joshua Schechtel, Physician
   Elizabeth Rosenthal M.D., Physician      Miranda Sacharin                            Andrew Schechterman Ph.D.
   Vicki Rosenthal MSW, Social Work         Anita Sacks LCSW-R, Social Work             Jessica Schemm M.D.
   Joshua Rosenthal Dr.PH.                  David Sacks Psy.D. Psychologist             Kellie Schenk M.D., Physician
   Nancy Rosenwasser                        Sehrish Saeed                               Carol Scherer
   Erika Roshanravan M.D., Physician        Sara Safarzadeh-Amiri M.D., Physician       Abigail Schiff, Medical Student Physician
   Esther Rosha-Stadtler, Psychologist      Luisa Saffiotti Ph.D., Psychologist         Gordon Schiff M.D., Physician
   Julie Rosinski, Social Work              Ellen Safier                                Eliza Schiffrin Social Work
   Samantha Rosman, Physician               Stella Safo, Physician                      Naomi Schiller
   Zach Rosner M.D., Physician              Angela Sagar M.D., Psychiatrist             Emily Schindler M.D., Physician
   David Rosner Ph.D., Public Health        Elahe Sagar M.D., Psychiatrist              Barbara Schinzinger, Physician
   Randall Ross M.D., Psychiatrist          Kristin Sagert Ph.D., Social Work           Anthony Schlaff, Physician
   Ellen Ross Psy.D., Psychologist          Priyanka Saha, Medical Student, Physician   Lauren Schleimer, Medical Student
   Joellyn Ross Ph.D., Psychologist         Sara Sahl Physician                         Morley Schloss
   Marianne Ross Ph.D., Psychologist        Thorayya Said Giovannelli, Psychologist     Judy Schmauss
   Valerie Ross LMFT, Psychologist          Gina Salamone MPHTM, Public Health          Luanne Schmidt RN, Nurse
   Jonathan Ross M.D., Physician            Kathleen Salandrea ASHS, Social Work        Ann Schmit RN, Nurse
   Whitney Ross, Physician                  Silvia Salas                                Malea Schmitt, Administrator
   Tamica Ross                              Claudia Salazar Psy.D., Psychologist        Carol Schneebaum M.D., Physician
   Steve Ross                               Alle Salazar, Social Work                   Alexis Schneider
   Kevin Michael Ross, MS, LMFT             Melissa Salazar PA-C                        Stephen Schneider Ph.D., Psychologist
   Laura Rossillo                           Sandra Salerno, Social Work                 Leah Schneider, Social Work
   Kerry Rossitto                           Tonya Salerno                               Celeste Schneider Ph.D., Psychologist
   Ragna Rostad, Physician                  Amy Salins, Social Work                     Jana Schneider
   Brad Roter M.D., Physician               Kelsie Salmen Psy.D., Psychologist          Alina Schneider, Nurse
   Katalin Roth M.D., Physician             Saurabh Saluja M.D., Physician              Peter Schneider Ph.D., Psychologist
   Judy Roth Ph.D., Psychologist            Sarah-Jeanne Salvy, Psychologist            Maayan Schoeman
   Scott Roth Psy.D., Psychologist          Yasmina Samaha, Medical Student             Erica Schoenberg Ph.D., Psychologist
   Lisa Roth, Psychologist                  Phillip Samayoa                             Nancy Schoenborn, Physician
   Jan Roth Ph.D., Psychologist             Maura Sammon M.D., Physician                Benjamin Schoendorff, Psychologist
   Jonathan Rothberg M.D., Physician        Ray Samoa M.D., Physician                   Kitturah Schomberg-Klaiss D.O. Physician
   Barbara Rothberg D.S.W., Social Work     Karen Samuels Ph.D., Psychologist           Julia Schonberg, Nurse
   Ben Rotter, Physician                    Rachel Samuelson M.D., Physician            Stephanie Schonholz
   Dana Rous LICSW, Social Work             Ana San Martin M.D., Psychiatrist           Leah Schraga M.D., Physician
   Deborah Rowden                           Diana Sanabria, Social Work                 Selena Schreyer




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   Naia Schroder                               Michael Shapiro M.D., Physician           Alexis Silas Psy.D, Psychologist
   Meadow Schroeder, CCRP                      Betsy Shapiro                             Richard Silberg M.D., Physician
   Seran Schug, Ph.D.                          Mia Shapiro LCSW, Social Work             Lynette Silva, Psychologist
   Gene Schulze Ph.D., Psychologist            Mindy Shapiro, Physician                  Manel Silva M.D.
   Peter Schuntermann M.D., Psychiatrist       Cappy Shapiro, Social Work                Alison Silver LCSW, Social Work
   Leah Schupp M.D., Psychiatrist              Sue A. Shapiro PhD, Psychologist          Talya Silver, Social Work
   Lisa Schwartz ANP-C, Nurse                  Aimee Shariat M.D., Physician             Mary Silverberg
   Sarah Schwartz, Psychologist                Hilda Sharifi M.D., Physician             Sandra Silverman, Social Work
   Dorothy Schwartz, Nurse                     Jaskiran Sharkey, Physician               Louise Silverstein Ph.D., Psychologist
   Michele Schwartz LCSW-R, Psychologist       Shreya Sharma                             Stephanie Sim M.D., Psychiatrist
   Stephanie Schwartz                          Manisha Sharma M.D., Physician            Zoya Simakhodskaya Ph.D., Psychologist
   Henry Schwartz MD, Psychiatrist             Susan B Sharp                             Daphne Simeon M.D., Psychiatrist
   Hanna Schwartzbaum, Psychologist            Kristen Sharp, Physician                  Andrew Simmons M.D., Physician
   Erin Schwarz D.O., Physician                Michelle Shasha Ph.D., Psychologist       Leigh Simmons M.D., Physician
   Megan Schwarzman M.D., Physician            Gabrielle Shatan, Psychologist            Iris Simon
   Erika Schwilk M.D., Physician               Sharon Shatil Ph.D., Psychologist         Jack Simons Ph.D. Psychologist
   Elena Schwolsky, Nurse                      Paula Shatsky, Social Work                Virginia Simons, Social Work
   Andres Sciolla, Psychiatrist                Amy Shattuck, Social Work                 Rebecca Simpkin M.D., Physician
   Bruce Scott M.D., Physician                 Alice Shaw Ph.D., Psychologist            John Simpkin RN, Nurse
   Kerry Scott, Social Work                    Stephanie Shaw, Physician                 Douglas Simpkin Ph.D.
   Alison Scott LPC                            Jennifer Shaw M.D., Physician             Amy Simpson, Physician
   Jennifer Scott                              Victoria Shaw Ph.D., Psychologist         Elizabeth M Simpson LCSW, Social Work
   Kate Scribner, Social Work                  Katherine Shea, Social Work               Melanie Sims, Social Work
   Sara Scripp                                 Marie Shebeck, Social Work                Elizabeth Singer, Physician
   Joe Scroppo Ph.D., Psychologist             Meghan Sheehan, Physician                 Jayne Singer Ph.D., Psychologist
   Laurie Scudder PNP                          Kate Sheehan, Social Work                 Meredith Singer Ph.D., Psychologist
   Sara Scull, Psychologist                    Jennifer Sheflin LCSW, Social Work        Mark Singer M.D., Psychiatrist
   Amy Scurlock M.D., Physician                Steven Shein M.D., Physician              Rachel Singer, Psychologist
   Cheryl Seaman M.D., Physician               Evelyn Sheldon                            Michael Sinha M.D., Physician
   Mark Seamon, Physician                      Jeminie Shell, Social Work                Joel Sjerven, Social Work
   Regine Anna Seckinger Ph.D., Psychologist   Donna Shelley, MD                         Katy Sjerven
   Trina Seefeldt Ph.D., Psychologist          Sara Shenker Psy.D., Psychologist         Anne Skamai Ph.D., Psychologist
   Margaret Seely, Social Work                 Rachel Shepard, Psychologist              Julia Skapik, Physician
   Erin Seery M.D., Psychiatrist               Heather Sher M.D.                         Karen Skean, Psychologist
   Jackie Segarra Social Work                  Audrey Sheridan M.D., Physician           Amanda Skiff, Social Work
   Sally Segel M.D. Physician                  Benna Sherman, Psychologist               Jared Skillings Ph.D., Psychologist
   Rachel Seitz RN-BC, Nurse                   Mark Sherman Ph.D., Psychologist          Kate Skolnick
   Emily Seltzer                               Patricia Sherman, Social Work             Judy Skolnick, Social Work
   Anne, Selvey Ph.D., Psychologist            Rachel Shey, Public Health                Licia Sky
   Erin Semcken J.D.                           Carol Shilliday Psy.D., Psychologist      Anne Slanina Psy.D., Psychologist
   Andrew Semegram APRN, Nurse                 Kevin Shilling, Physician                 Michelle Slapion-Foote , Psychologist
   Nancie Senet Ph.D., Psychologist            Ruth Shim M.D., Physician                 Sunnetta Slaughter, Public Health
   Caroline Sennett Esq.                       Suzanne Shimoyama M.D., Psychiatrist      Barry Slavis, Social Work
   Naomi Senser M.D., Physician                Joseph Shin M.D., Physician               Sharon Sloan, Physician
   Paola Sepulveda-Miranda, Public Health      Yael Shinar , Physician                   Phyllis L. Sloate Ph.D., Psychologist
   Lecia Sequist M.D., Physician               William Shinefield Psy.D., Psychologist   M Slobetz, Social Work
   Jordan Serchuk                              Kate Shirley                              Joyce Slochower Ph.D., Psychologist
   Jennifer Serlin Ph.D., Psychologist         Erica Shoemaker, Psychiatrist             Monica Slote, Nurse
   Steve Serlin M.D., Physician                Starla Sholl LCSW-C, Social Work          Jonathan Slutzman M.D., Physician
   Mary Serlin                                 Jessica Shore, Psychologist               Sarah Smalley
   Margo Serlin, Nurse                         Lauren Shores, Psychologist               Rhaina Smeds Psy.D., Psychologist
   Megan Serrano, Social Work                  Judith Shotwell                           Janet Smeltz CADC
   Esmeralda Serrano M.D., Physician           Whitney Showler                           Damion Smith, Psychologist
   Valeria Servranckx                          Kayleigh Shrader                          Emily Smith MSN, Nurse
   Lara Setti M.D., Physician                  Sharon Shrensel ACRC, Psychologist        Cabrini Smith
   David Shaddock, Psychologist                Rhodara Shreve                            Bea Smith
   Betsy Shadid M.D., Psychiatrist             Diane Shrier M.D., Psychiatrist           Andrew Smith, Pharmacist
   Emily Shaffer                               Devki Shukla, Medical Student             Vicki Smith
   Umber Shafique M.D., Physician              Barton Shulman, LCPC                      David Smith, Social Work
   Simon Shagrin Ph.D., Psychologist           Trysa Shulman Psy.D., Psychologist        Amy Smith Ph.D., Psychologist
   Priti Shah Ph.D., Psychologist              Lisa Shwartz RN, Nurse                    Charlene Smith
   Sural Shah, Physician                       Monica Sicilia, Psychologist              Vernon Smith Ph.D., Psychologist
   Ami Shah M.D., Physician                    Mary Sickles M.D., Psychiatrist           Olivia Smith, NP
   Farhana Shah Ph.D., Psychologist            Alexandra Sideroff                        Mark Smith
   Shivani Shah, Physician                     Jeri Sides Ph.D., Psychologist            Sidney Smith, Social Work
   Niki Shah, Administrator                    Shawn Sidhu, Psychiatrist                 Jenny Smith, RN
   Mohammad Shaikh M.D., Physician             Feroze Sidhwa M.D., Physician             Lawry Smith, Social Work
   Iram Shaikh-Abbasi M.D., Physician          Karin Siebenmorgen, Nurse                 Anne Smith, Nurse
   Laura Shail                                 Ben Siegel M.D., Physician                Lauren Smith, Administrator
   Beverly Shalom LCSW, Social Work            Jill Siegel Ph.D.                         Nicole Smith M.D., Physician
   Rose Shalom LMFT, Psychologist              Mari Siegel                               Stacey Smith, Administrator
   Kristin Shanahan, Psychologist              Audrey Siegel LCSW, Social Work           April Smith D.Phil., Psychologist
   LeAnn Shannon M.D., Physician               Roberta Siegel                            Emily Smith M.D., Physician
   Kate Shanovich                              Mark Siegert Ph.D., Psychologist          Keri Smith M.D., Physician
   Kathleen Shanovich, Nurse                   Mary Siemes Ph.D., Psychologist           Sacheen Smith
   Alicia Shapinsky Ph.D., Psychologist        Rachel Sienko Ph.D., Psychologist         Amy Smith Edwards LCSW, Social Work
   Caren Shapiro, Social Work                  Neha Sikka                                Melissa Smith-Parrish M.D., Physician




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   Marcella Smithson MPH, Public Health     Carmen Steckline, Physician            Susan Strom
   Maya Smolarek, Psychiatrist              Courtney Steer-Masasro CNM             Mark Stroman, Nurse
   Stephanie Snell                          Joann Stefano, Nurse                   Msrgaret Strosser
   Jane Snyder Ph.D., Psychologist          Lauren Steffel, Psychologist           Jennfer Strumwasser
   Elizabeth Snyder MSW, Social Work        Catherine Steffens                     Krysttel Stryczek
   Ramona Soberanis, Nurse                  Carrie Stein, Social Work              Jessica Stults, Social Work
   Lilien Socorro                           Alyson Stein                           Lee Sturdivant
   Lauren Soderstrom                        Laurie Stein, Social Work              Gabrielle Stutman Ph.D., Psychologist
   Vanessa Soetanto M.D., Physician         Jane Stein                             Lauren Suarez, Psychologist
   Keren Sofer Psy.D., Psychologist         Carolyn Steinberg M.D., Physician      Seymour Sub
   Kim Sogge Ph.D., Psychologist            Brenda Steinberg Ph.D., Psychologist   Jennifer Subasic-Marks
   Nicole Soileau                           Brenda Steinberg Ph.D., Psychologist   Elaine Suben LCSW-R, Social Work
   Lara Sokoloff                            Michelle Steinberg                     Rani Subramaniam
   Martine Solages M.D., Psychiatrist       Beian Steiner, Psychologist            Aditi Subramaniam
   Deana Solaiman M.D., Physician           Marlene Steiner                        Asha Subramanian M.D., Physician
   Alidra Solday LCSW-R, Social Work        Aimee Steiniger, Physician             Sujatha Subramanian Ph.D., Psychologist
   Stephen Soldz Ph.D., Psychologist        Christopher Stephano LMSW, Social      Alvin Sugarman
   Ellen Solomon M.D., Physician            Work                                   Iris Sugarman, CSW
   Alex Solomon LCSW, Social Work           Alice Stephens, Social Work            Kate Sugarman, Physician
   Rebecca Solomon                          Tricia Stephens, Social Work           Mark Sullivan, Social Work
   Caren Solomon                            Linda Story Stephenson, Social Work    Katie Sullivan, Medical Student
   Valerie Solorzano                        Laura Stephenson, Psychologist         Meghan Sullivan, Social Work
   Amythis Soltani                          Katrina Sterba                         Elise Sullivan, Physician
   Deborah Sommers D.S.W., Social Work      Marina Stern, Physician                Maggie Sullivan, Nurse
   Leslie Sommers                           Alexis Stern                           Lei Sun MSEd
   Kristin Sommerville                      Rebecca Stern                          Anisha Sunkerneni
   Soon-IL Song M.D., Physician             Donnel Stern Ph.D., Psychologist       Soksophea Suong
   Sam Song ANP-HIV, Physician              George Stern                           Alicia Supernault
   Mary Songster-Alpin D.V.M.               Lee Stern                              Rajat Suri, Physician
   Lily Sonis LCSW, Social Work             Rhonda Sternberg Ph.D., Psychologist   Paola Susan M.D., Physician
   Daniel Sonkin Ph.D., Psychologist        Corinne Stevens RN, Nurse              Shea Suskin M.D., Physician
   Sheila Sontag M.D., Psychiatrist         Deana Stevens Psy.D., Psychologist     Donna Sutter M.D., Physician
   CharuSood Psy.D, Psychologist            Stacey Stevens LMHC                    C. Jay Sutton, Psychologist
   Kimberly Sorensen LCSW, Social Work      Rae Stevenson, Physician               Jessica Suzuki, Psychologist
   Rachel Sosland, Social Work              Alice Steward                          Laura Suzuki, Nurse
   Joseph Sotomayor                         Karen Stewart, Social Work             Deanna Sverdlov OB/GYN, Physician
   Jerry Soucy Ph.D., Psychologist          Caroline Stewart LCSW, Social Work     Stephanie Swafford, Administrator
   Michael Southworth M.D., Physician       Amanda Stewart M.D., Physician         Sara Swain, Physician
   Renya Spak                               Stella Stewart, Social Work            Nicole Swain, LPC
   Susan Spalding                           Lacey Stewart, Social Work             Padma Swamy, Physician
   Eve Spangler                             Alejandra Stewart M.D., Physician      Suzanne Swanson Ph.D., Psychologist
   Kate Sparks, Social Work                 Arlene Stiffman Ph.D., Social Work     Lianne Swanson
   Carly Sparks LCSW, Social Work           Claire Stiles Ph.D.                    Kinya Swanson Psy.D., Psychologist
   Jessica Sparks RN, Nurse                 Kathryn Stinson, Social Work           Sarah Swanson-Damon
   Lauren Spears Ph.D., Psychologist        Michael Stocker Ph.D.                  Lauren Swartz
   Chris Spears-Bartunek                    Sandor Stockfleth, Psychologist        Zarana Swarup M.D., Physician
   Jennie Spector, Social Work              Sasha Stok, Psychologist               Nancy Sweeney Psy.D., Psychologist
   Paula Spector, Nurse                     Hanni Stoklosa                         Carolyn Swenson, Physician
   Valeriya Spektor Ph.D, Psychologist      Katherine Stolarz, Physician           Eve Switzer M.D., Physician
   Leah Spelman Public Health               Glenda Stoller LCSW-R, Social Work     Monica Swords, Social Work
   Ken Sperber M.D., Physician              James Stoltzfus M.D., Physician        Ricci Sylla M.D., Physician
   Paul Speziale J.D.                       Elizabeth Stone                        Joanna SymeouPsy.D., Psychologist
   Natalie Spicyn M.D., Physician           Geren Stone, Physician                 Shonda Szabo
   Paul Spiegel Dr.PH, Physician            Patricia Stone                         Dorota Szczepaniak M.D., Physician
   Margaret Spier Ph.D., Psychologist       Ann Stoneson                           Julio Szmuilowicz, Psychiatrist
   Cara Spitalewitz Ph.D., Psychologist     Michael Stoppiello, Psychologist       Sharon Szmuilowicz M.D., Psychiatrist
   Deborah Spitz M.D., Psychiatrist         Anne Stormorken M.D., Physician        Stephanie Tabashneck Psy.D.,
   Greta Spoering LICSW,Social Work         Bethany Storz ANP-BC, Nurse            Psychologist
   Amanda Spray Ph.D., Psychologist         Jeffrey Stovall M.D., Physician        Beth Tabor-lev Ph.D., Psychologist
   Frank Spring                             John Stracks M.D., Physician           Linda Tafapolsky Psy.D., Psychologist
   Judith Springer, Psychologist            Anne Strain, Social Work               Leah Taffel, Physician
   Susan St. John MSEd                      Angela Strain, Psychiatrist            Waqqas Tai, Physician
   B.F. St.AngeloVictor                     Kee Straits Ph.D., Psychologist        BReena Taira M.D., Physician
   Sta. Ana M.D., Physician                 Molly Stranahan Psy.D., Psychologist   Virginia Takagi M.D., Physician
   Christina Stableford                     Elspeth Strang LCSW-R, Social Work     Lucy S. Takagi, Psy.D. Psychologist
   Margaret Stager M.D., Physician          Yorgos Strangas M.D., Physician        Wajma Talib RN-BC, Nurse
   Emily Stagg APRN-BC, Nurse               Adam Strassberg, Psychiatrist          Kaaren Tam M.D., Physician
   Jessica Stahl Ph.D., Psychologist        Thomas Stratton, Physician             Jennifer Tamir, Nurse
   Juliet Stamperdahl Ph.D., Psychologist   Susaan Straus                          Paige Tang O.D.
   Geraldine Stampf, Social Work            Paula Strauss Psy.D., Psychologist     Aswita Tan-McGrory, Public Health
   Carol Stampfer, Nurse                    Jona Strauss, Physician                Nazeela Tanweer
   Flavia Stanley, Social Work              Barbara Streeter                       Shannon Tapia M.D., Physician
   Hannah Starobin, Social Work             Johanna Strobel, Psychologist          Kim Tappen Psy.D., Psychologist
   Karen Starr Psy.D., Psychologist         Matthew Strobel Psy.D., Psychologist   Cristian Taraschi, Social Work
   Judith Staub                             Lenore Strocchia-Rivera Ph.D.,         Aparna Tarc
   Sarah M Stearns Ph.D., Psychologist      Psychologist                           Shamyla Tareen, Social Work
   Nancy Steckler Ph.D., Psychologist       James Strohl Ed.D., Psychologist       Lucila Tarin M.D., Physician




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   Yael Tarshish M.D., Physician            Valerie Tobin APN, Scientist            Michelle Urman
   Jeanne Tate MSN, Nurse                   Mary Tobin-Anderson M.D., Physician     Sebastian Urrea
   Emilia Taubic                            Lauren Tobing-Puente, Psychologist      Mayur Urva
   Cathy Tauscher, Nurse                    Cynthia Tocman                          Kathy Usher
   Gabrielle Taylor Ph.D., Psychologist     Tahisha Tolbert M.D., Physician         Kelly Uusitalo
   Brent Taylor Ph.D.                       Terry Tolk Ph.D., Psychologist          Shantel Vachani, Social Work
   Ellen Taylor, Psychologist               Elizabeth Toll, Physician               Melanie Vaira
   Nicole Taylor Ph.D., Psychologist        Pat Tomasello, Public Health            Laura Valdes
   Brooke Taylor LMSW, Social Work          Allison Tom-Yunger, Social Work         Juanita Valdez-Cox
   May Taylor Ph.D, Psychologist            LeeAnn Toolan                           Kristin Valentino Ph.D. Psychologist
   Joy Taylor, Social Work                  Felice Toonkel                          Barbara Valenza
   Sara Teasdale, Physician                 Jeremy Topin M.D., Physician            Sarah Valeri
   Kam Tecaya, Physician                    Paula Toribio                           Holly Valerio M.D. Psychiatrist
   Linda Techell LMSW, Social Work          Mary Tornabene, Nurse                   Lisa Vallejos Ph.D. Psychologist
   Alice Teich M.D., Physician              Gina Torres, Social Work                Charleen Valli, Nurse
   Christina Temes, Ph.D.                   Amanda Torres, Social Work              Carol Valoris
   Lisa Temkin                              Bianca Torres                           Elizabeth Van Dyke, Physician
   Betsy Templeton                          Melissa Torres Ph.D., Social Work       Joyce Van Huis
   Linda Tennies                            Randi Torstenson Psy.D., Psychologist   Heather Van Wagner
   Debra Teplin PA-C                        Angela Tougas, Nurse                    Hima Bindu Vanapalli M.D. Physician
   Vincenzo Teran Psy.D., Psychologist      Kim Tousignant, Psychologist            Lisa M Vandemark Ph.D. Nurse
   Jill Terrell-Ouazzani                    Sima Toussi M.D., Physician             Kay Vandenberg M.D.Physician
   Nancy Terres Ph.D., Nurse                Luz Towns-Miranda Ph.D., Psychologist   Elizabeth Vandermark M.D. Physician
   Anna Terry M.D., Physician               Heather Tracey, Social Work             Jeffrey Vanderploeg Ph.D. Psychologist
   Melissa Tesher M.D., Physician           Jamie Trachtenberg LCSW, Social Work    Lennie Rae Vangorder
   Baylah Tessier-Sherman, Public Health    Celina Tracy                            Noelle VanHendrick
   Maria Testa, Psychologist                Carol Tracy Ph.D., Psychologist         Kristin Vann Sands, Nurse
   Susan Thackrey Ph.D., Psychologist       Patricia Trainor Ph.D., Psychologist    Tamara, Vanover
   Reshma Thadani, Physician                Vy Tran, Public Health                  Ted VanSickle
   Bob Thaden                               My Tuyet (Virginia) Tran                Kate VanZanten, Public Health
   Susan Thau Ph.D., Psychologist           Aminata Traore, Physician               Eliza Varadi M.D. Physician
   Micaela Theisen FNP-BC                   Colleen Traud APRN-BC                   Ruth Varkovitzky Ph.D. Psychologist
   Makani Themba, Public Health             Matt Travis                             Samantha Varner M.D. Physician
   Karin Theurer-Kaufman Ph.D.,             Jennifer Trebbin                        Jessica Vasquez M.D. Physician
   Psychologist                             Amanda Trecartin                        Melba Vasquez Ph.D. Psychologist
   Kelly Thibeault LCSW, Social Work        Diane Trees -Clay                       Sheryl Vassallo M.D. Physician
   Catharine Thomann Ph.D., Psychologist    George Tremblay Ph.D., Psychologist     Jessica Vaughn Physician
   Nina Thomas Ph.D., Psychologist          Jackie Treneer                          Linnea Vaurio Ph.D. Psychologist
   Catherine Thomas PNP, Nurse              Robin Treptoq Ph.D., Psychologist       Sara Vazquez M.D. Physician
   Marlene Thomas MHA, Nurse                Sylvia Trevino M.D., Physician          Lilliana Vazquez M.D. Physician
   Martha Thomas, Physician                 Melissa Tribuzio M.D., Physician        Desiree Vega, Psychologist
   Allie Thomas-Fannin M.D., Psychiatrist   Dr. David Trimble, Psychologist         Farah Vega M.D. Physician
   Nicole Thomasian, Physician              Catherine Trimbur M.D., Physician       Aurea Vega
   Tamara Thome. Physician                  Christy Trombley Psy.D., Psychologist   Natan Vega Potler
   JJ Thomlinson, Social Work               Lucianna Trujillo, Physician            Manasa Velagapudi
   Jason Thompson, Psychologist             Samantha Truong, Medical Student        Larissa Velez, Physician
   Nellie Thompson                          Linda Tsai D.O., Physician              Joann Veloudis
   Gretchen Thompson                        Elizabeth Tschoegl, Social Work         David Venarde Psy.D. Psychologist
   Celena Thompson Psy.D., Psychologist     Steven Tuber Ph.D., Psychologist        Laura Venuto Psy.D. Psychologist
   Julia Thompson CSW, Social Work          Richard Tuck Psy.D. Psychologist        Zoe Vercelli
   Valerie Thompson                         Bethany Tucker M.D. Psychiatrist        Noushin Verdi, Psychologist
   Craig Thompson M.D., Physician           Jane Tucker Ph.D. Psychologist          Raluca Veres
   Marnie Thompson                          Sondra Tuckfelt Ph.D. Psychologist      Juan Vernon M.D. Physician
   Thomas Thompson Ph.D., Psychologist      Michelle Tully, Social Work             Diana Vernon
   Janet Thompson LPN                       Shirley Tung, Social Work               Anne Vestergaard LISW, Physician
   Ann Thompson Cook. Social Work           Angela Tunno Ph.D. Psychologist         Maureen Vetter
   Ariana Thompson-Lastad Ph.D., Public     Robert Turer, Physician                 Yorleny Vicioso, Scientist
   Health                                   Michael Turken M.D. Physician           Craig Vickstrom M.D. Physician
   Kerry Thon                               William Turner M.D. Physician           Alejandro Victores
   Liviya Thoreson-Whyte D.O., Physician    Catharyn Turner M.D. Psychiatrist       Anne Victory MSN, Nurse
   Patricia Thrasher, Social Work           Ray Turner Psy.D. Psychologist          Alexis Vidaurri D.V.M.
   Benjamin Tiano                           Sarah Turney LMHC                       Julie Vieth MB ChB, Physician
   Alanna Ticali                            Karen Tuttle, Social Work               Nicole Vigoda Psy.D. Psychologist
   Wendy Tien M.D., Physician               Evelyn Twentyman M.D. Physician         Bianca Villalobos, Psychologist
   May Tift LMFT                            Jeanne Tyan M.D. Physician              Kathy Villalovos
   Blair Tilghman, Nurse                    Dale Tylor M.D. Physician               Rodrigo Villar M.D. Physician
   Jane Tillman Ph.D., Psychologist         Gabrielle Tynes-Labonte                 Camila Villasante
   Jaci Timmons M.D., Physician             Grayce Tyszko                           Nina Vinson, Scientist
   Ulrika Timvik-Abreau, Scientist          Efstathia Tzatha                        Elena Visconti MSEd
   Beth Tinker RN, Public Health            Hala Ubaid D.O. Physician               Tamar Vishlitzky LICSW, Social Work
   Jannett Tirado                           Gianna Ubinas Dr.PH. Physician          Kirsten Vitrikas, Physician
   Dennis Tirch Ph.D., Psychologist         Molly Uhlenhake D.O. Physician          Miguel Angel Viveros, Psychologist
   Elizabeth Tisei M.D., Physician          Sarah Ullman Ph.D. Psychologist         Jennine Vizcaino
   Sigrid Tishler M.D., Physician           Claudia Unger Ph.D. Psychologist        William Vlach Ph.D., Psychologist
   Mirjam Tkalcic, Psychologist             Jennifer Unterberg Ph.D. Psychologist   William Vlach Ph.D., Psychologist
   Matt Tobey M.D., Physician               Nina Urban M.D. Psychiatrist            Michelle Vo M.D. Physician
   Valerie Tobia                            Miren Uriarte Ph.D. Social Work         Diana Voellinger




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   Martha Vogel Ph.D. Psychologist           Jenna Weaver D.V.M.                         Karen Wickline, Social Work
   Monica Vohra M.D. Physician               Marcia Webb                                 Chana Widawski LMSW, Social Work
   Erin Volpe Ph.D. Psychologist             Sara Weber Ph.D. Psychologist               Robert Widner
   Bettina Volz Ph.D. Psychologist           Megan Webster M.D. Psychiatrist             Susie Wie M.D. Psychiatrist
   Gloria Von Oiste, Social Work             John Wechter Ed.D. Psychologist             Gina Wiggins, Psychologist
   Barbara VonKlemperer Ed.D. Psychologist   Elizabeth Weeks, Physician                  Katharine Wilcox
   Katie Voorhees                            Jane Weese, Nurse                           Dayle Wild LCSW-R Social Work
   Susan Voorhees Psy.D. Psychologist        Julie Wegener M.D. Psychiatrist             Rose Wilde MPH, Public Health
   Rajvee Vora M.D. Psychiatrist             Amelie Wegner, Physician                    Howard Wilinsky M.D. Psychiatrist
   Petra Vospernik Ph.D. Psychologist        Lori Weichenthal, Physician                 Risa Wilkerson, Public Health
   Raluca Vrabie, Physician                  Steven Wein, M.D. Psychiatrist              Beena Wilkins, Physician
   Maria Vukovich Ph.D. Scientist            Kristy Weinberg, Social Work                Shannon Wilks LCSW, Social Work
   Michael Vurek, Social Work                Kaethe Weingarten, Psychologist             Cynthia Willard M.D. Physician
   Carol Wachs Psy.D. Psychologist           Radhule Weininger Ph.D. Psychologist        Karen Willatt, Nurse
   Paul Wachtel Ph.D. Psychologist           Anne Weinsoft M.D. Physician                Karen Willatt
   Karen Wachtel, Psychologist               Marie Weinstein, Psychologist               Dayna Willems D.V.M. Physician
   Kristen Wade-Kempiak M.D. Physician       Lissa Weinstein Ph.D. Psychologist          Monique Willett, Social Work
   Lauren Wadsworth Dr.PH.                   Rev. Edie Weinstein, Social Work            Ingrid Willgren LMHC, Social Work
   Linda Wagner M.D. Physician               Zoe Weinstein M.D. Physician                Kira Williams M.D. Psychiatrist
   Lorryn Wahler                             Joanna Weinstock M.D. Physician             Steven Williams, Physician
   Barbara Wainberg                          Katrina Weirauch DO Physician               Jenifer Williams Ed.D. Psychologist
   Amanda Wakefield, Psychologist            Laura Weisberg Psychologist                 Brie Williams, Physician
   Karen Walant Ph.D. Social Work            Lise Weisberger M.D. Physician              Risa Williams
   Richard Waldhorn M.D. Physician           Anat Weisenfreund, Administrator            Shenoa Williams CRNP
   Kate Waldman                              Deborah Weisinger Psy.D. Psychologist       Natalie Williams
   Amy Waldner                               Tanya Weisman M.D. Psychiatrist             Shanna Williams, Social Work
   Melissa Walker LCSW-R, Social Work        Andrea Weiss Ph.D. Psychologist             Sherril, Willis
   Susan Walker-Matthews Ph.D.               Howard Weiss Ph.D. Psychologist             Miryam Wilson, Physician
   Psychologist                              Lois Weithorn Ph.D. Psychologist            Laurie J. Wilson, Psychologist
   Tami Walkup                               Ashley S. Weitz                             Frederic Wilson M.D. Physician
   Anuhea Wall MSW, Social Work              Anna Welch MSEd                             Kristen Wilson, Nurse
   Joseph Wall                               Bryant Welch, Psychologist                  Hinda Winawer LCSW Social Work
   Jennifer Wallach, Psychologist            Christauria Welland, Psychologist           Elizabeth Winchell, Social Work
   Hannah Wallerstein Ph.D. Psychologist     Nicole Wellbaum, Physician                  M Margit Winckler Ph.D. Psychologist
   David Wallin Ph.D. Psychologist           Karen Welling, Social Work                  Jyoti Wind
   Stephanie Wallio Ph.D. Psychologist       Risa Wells Ph.D. Psychologist               Rebekah Windmiller
   Bill Walter, Physician                    Mariah Wells, Nurse                         Jennifer Wineke
   Anne Walters Ph.D. Psychologist           Jessica Welt-Betensky Psy.D. Psychologist   Daniel Winetsky, Physician
   Lynn Walters Ph.D.                        Amy Wenger, Nurse                           Anna Wing
   Heather Walton Ph.D. Psychologist         Carol Wenzel-Rideout Psy.D. Psychologist    Rebecca Winkel Ph.D. Psychologist
   Sheshali Wanchoo D.O. Physician           Marisa Werner M.D. Physician                Jessica Winkels, Medical Student
   Karen Wang M.D. Physician                 Anne Wesh Ph.D. Psychologist                Taryn Winkle M.D. Physician
   Leah Wang Ph.D. Psychologist              Elissa West LCSW-R, Social Work             Jon Winkle
   Holly Wanic                               Druesella West LMFT                         Kristin Winnor, Nurse
   Saman Waquad                              Sarah West                                  Wendy Winograd D.S.W. Social Work
   Margaret E. Ward Ph.D.                    Emily West                                  Marcia Winter Ph.D. Psychologist
   Elizabeth Ward, Psychologist              C. William Wester M.D. Physician            Terry Winter Nurse
   Kimiora Ward, CNO                         Tammy Westergaard LMHC, Psychologist        Bernadette Winter-Villaluz, Social Work
   Karlyn Ward LCSW, Social Work             Ariel Westerman, Psychologist               Randi Wirth, Psychologist
   Deborah Warden LCSW, Social Work          MarWesthead Psy.D. Psychologist             Annamarie Wise MPH, Public Health
   Meredith Warden M.D. Physician            Ellen Westrich Ph.D. Psychologist           Gabriel Wishik M.D. Physician
   Jessica Ware, Social Work                 Karen Wexler Ph.D. Social Work              Susan Siegeltuch Witkin LCSW-C, Social
   Layla Ware de Luria LCSW, Social Work     Marly Wexler                                Work
   Leslie Warfield Psy.D. Psychologist       Susan Whedbee LCSW-R, Psychologist          Agnieszka Witkowski M.D. Physician
   Ellie Warner-Rousseau                     Rachel Wheeler M.D. Physician               Renee Witlen M.D. Psychiatrist
   Colleen Warnesky, Psychologist            Elizabeth Wheeler Ph.D. Psychologist        Emily Witt
   Kristan Warnick, Social Work              Ann Wheeler LICSW, Social Work              Kirsten Wittenborn Psy.D. Psychologist
   Barbara Warren MSEd, Psychologist         Kathy Whelan                                Jack Wiuse
   Erin Warren D.V.M.                        Scott Whipple LCSW Social Work              Cynthia Woelfel Ph.D. Psychologist
   Susan Warshaw Ed.D. Psychologist          Cortnee Whipple D.C.                        Diana Wohler M.D. Physician
   Deborah Washburn, Social Work             Ray White, Forensics                        Kimberly Wolf Physician
   Linda Washburn CSW Social Work            Katherine White Th.D. Nurse                 Astrid Wolf-O'Hern
   Ashley Waterberg, Social Work             Lina White RN, Nurse                        Abigail Wolfson, Nurse
   Patricia Waterman                         Erika White Ph.D. Psychologist              Andrea Wollenberg
   Deirdre Waters Psy.D. Psychologist        Amy White                                   Todd Wolynn M.D. Physician
   Gregory Waters Ph.D.                      Darden White LPC                            Philip Wong, Psychologist
   Melanie Wathugala                         Stefanie White M.D. Physician               Haeinn Woo, Physician
   Mary Watkins Ph.D. Psychologist           Tyrone White, Social Work                   Sally Wood Ph.D. Psychologist
   Danielle Watson                           Kaylin White                                Ashley Woodhull, Psychologist
   Fiona Watson LCSW-R Social Work           Kristen White, Administrator                Lindsay Woodruff
   Laurel Watson Dr.PH. Psychologist         Gary Whited, Psychologist                   Tracy Woodruff
   Morgan Watson, Social Work                Carolanne Whitfield                         Monika Woods M.D. Physician
   Terry Watson                              Chris Whitman                               Jared Woods
   Sara Watson M.D. Physician                Chelsea Whitney MPH, Nurse                  Alicia Woodsby, Social Work
   Deborah Waxenberg, Psychologist           Lindsay Whittington, Nurse                  Catherine Worden M.D. Physician
   Judith Weatherly LMFT                     Byron Whyte M.D. Physician                  Jennifer Workman M.D. Physician
   Gina Weaver, Social Work                  Alison Whyte, Social Work                   Hilary Worthen M.D. Physician




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   Catherine Wraight M.D. Physician         Eva Young                                 Rebecca Zash M.D. Physician
   Lisa Wray M.D. Physician                 Catherine Young                           Lynne Zeavin Psy.D. Psychologist
   Darrell Wright M.D. Physician            Jackie Young LMHC                         Miriam Zehavi, Social Work
   JD Wright, Psychologist                  Janine Young, M.D.Physician               Paula Zerfoss, Social Work
   Tricia Wright M.D. Physician             Stuart Youngner, Psychiatrist             Sarah Zerull
   Joe Wright, Physician                    Sidra Younus M.D. Physician               Heidi Zetzer Ph.D. Psychologist
   Bessy Wrights, Public Health             Aisha Yousafzai Ph.D. Public Health       Judith Zevin Psy.D. Social Work
   Frances Wrle LMT                         Albert Yu, Physician                      Cindy Zhao , Physician
   Wendell Wu, Physician                    Doris Yu M.D. Physician                   Emily Zhou
   Synphen Wu M.D. Physician                Kate Yun, Physician                       Elaine Zickler LCSW, Social Work
   Ashley Wu                                Ilana Zablow, Social Work                 Christine Zidell, Scientist
   James Wulach Ph.D. Psychologist          Rachel Zack Ishikawa Ph.D. Psychologist   Denise Zielinski
   Marijo Wunderlich Dr.PH. Public Health   Alexandra Zagoloff, Psychologist          Suzanne Zilber Ph.D. Psychologist
   Andy Wurl, Psychologist                  Hengameh Zahed, Physician                 Carol Zimmer
   Rachel Wyner Ph.D. Psychologist          Sarah Zaheer M.D. Physician               Anna Zimmer, Physician
   Matthew Wynia M.D. Physician             Nora Zaizar LPC                           Linda Zimmerman
   Stephen N. Xenakis M.D. Physician        Amy Zajakowski Uhll LCPC, Psychologist    Randi Zimmerman, Social Work
   Ilya Yacevich LMFT Psychologist          Angela Zallen M.D. Physician              Ellen Zimmerman, Social Work
   Carolina Yahne Ph.D. Psychologist        Ellen Zaltzberg, Public Health            Kathleen Zimmerman, Nurse
   Laura Yahr Nelson M.D. Psychiatrist      Tauheed Zaman M.D. Psychiatrist           Peter Zimmermann Ph.D.
   Inna Yalovetskaya, Physician             Moneeka Zaman M.D. Physician              Alissa Zingman M.D. Physician
   Stephanie Yamout, Physician              Milagros Zambrano-Rishel Psy.D.           Nancy Zintak, Administrator
   Lanbo Yang                               Psychologist                              Ruth Zitner, Psychologist
   Yvonne Yang, Psychiatrist                Eleana Zamora M.D. Physician              Kate Zona Ph.D. Psychologist
   Susan Yanow, Social Work                 Anuradha Zangri                           Jeannine Zoppi Ph.D. Psychologist
   Margaret Yard Ph.D. Psychologist         Ana Luiza Zaninotto Ph.D. Psychologist    Cindy Zou
   Sarah Yasmin, Psychiatrist               Cassidy Zanko M.D. Physician              Laura Zucker
   Joannie Yeh M.D. Physician               Mary Zanko, Social Work                   Amy Zuckerman LCSW-R, Social Work
   Mary Yerkes Ph.D. Psychologist           Andrea Zanko                              Lauren Zurenda Ph.D. Psychologist
   Brooke Yetter Psy.D. Psychologist        Robert Zannoni                            Fiona True, Social Work
   Alexis Yetwin Ph.D. Psychologist         Lela Zaphiropoulos LCSW, Social Work
   Katie Yoast                              Michael Zaretsky LCSW-R, Social Work
   Rachel Yoder, Psychiatrist               MichellZarowitz Psy.D. Psychologist




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                  Exhibit J




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      June 14, 2018

      President Donald Trump
      The White House
      1600 Pennsylvania Avenue
      Washington, DC 20500

      Dear President Trump:

      On behalf of the American Psychological Association (APA), we are writing to express
      our deep concern and strong opposition to the Administration’s new policy of separating
      immigrant parents and children who are detained while crossing the border. We
      previously wrote to then Secretary of Homeland Security John Kelly on April 5, 2017,
      about this matter. Based on empirical evidence of the psychological harm that children
      and parents experience when separated, we implore you to reconsider this policy and
      commit to the more humane practice of housing families together pending immigration
      proceedings to protect them from further trauma.

      APA is the leading scientific and professional organization representing psychology in
      the United States. Our membership includes researchers, educators, clinicians,
      consultants, and students. APA works to advance the creation, communication, and
      application of psychological knowledge to benefit society and improve people’s lives.
      We have 115,700 members and affiliates across the United States and in many other
      countries, many of whom serve immigrant youth and adults in a wide range of settings,
      including schools, community centers, hospitals and refugee resettlement centers.

      The current policy calls for children to be removed from their parents and placed for an
      often indeterminate period of time in the custody of the Office of Refugee Resettlement.
      Decades of psychological research have determined that it is in the best interest of the
      child and the family to keep families together. Families fleeing their homes to seek
      sanctuary in the United States are already under a tremendous amount of stress. 1 Sudden
      and unexpected family separation, such as separating families at the border, can add to
      that stress, leading to emotional trauma in children. 2 Research also suggests that the
      longer that parents and children are separated, the greater the reported symptoms of
      anxiety and depression are for children. 3 Adverse childhood experiences, such as parent-

      1
        Chaudry, A. (2011). Children in the aftermath of immigration enforcement. The Journal of the History of
      Childhood and Youth, 4 (1), 137-154.
      2
        Dreby, J. (2012). The burden of deportation on children in Mexican immigrant families. Journal of
      Marriage and Family,74, 829-845. Doi:10.1111/j.1741-3737.2012.00989x
      3
        Suárez-Orozco, C., Bang, H.J. & Kim, H.Y (2010). I felt like my heart was staying behind: Psychological
      implications of family separations and reunifications for immigrant youth. Journal of Adolescent Research
      26(2), 222-257.




                                                                                        Exhibit 38, Page200
Case 3:18-cv-00428-DMS-MDD Document 78 Filed 06/25/18 PageID.1612 Page 206 of 259



      child separation, are important social determinants of mental disorders. For children,
      traumatic events can lead to the development of post-traumatic stress disorder and other
      mental health disorders that can cause long lasting effects. 4 Furthermore, immigration
      policies, such as separating families at the border, can also adversely impact those
      immigrants who are already in the United States. They can suffer from feelings of
      stigmatization, social exclusion, anger, and hopelessness, as well as fear for the future. 5

      As a tragic example of the current policy’s serious potential for harm, a Honduran man
      who was separated from his wife and 3-year-old son after he crossed the border into
      Texas recently took his own life while detained in a holding cell, according to the
      Customs and Border Protection officials, public records, and media reports. 6 There are
      also reports of detained immigrants foregoing legitimate claims for asylum by pleading
      guilty to expedite the return of their separated children and reports of parents being
      deported while their children, including infants, remain in custody. These incidents serve
      to highlight the mental health crisis for many families caused by the Administration’s
      policy.

      Given these considerations, a change in immigration policy regarding the detention of
      immigrant families at the border is desperately needed – from separating parents and
      children to housing them together and providing needed physical and mental health
      services. As psychologists, we have documented multiple harmful effects of parent-child
      separation on children’s emotional and psychological development and well-being and
      urge that the current policy of family separation be reversed. Should you have any
      questions regarding these comments, please contact Serena Dávila, J.D., with our Public
      Interest Directorate at sdavila@apa.org or 202-336-6061.

      Sincerely,




      Jessica Henderson Daniel, Ph.D., ABPP                        Arthur C. Evans, Jr., Ph. D.
      President                                                    Chief Executive Officer


      cc:     U.S. Attorney General Jeff Sessions
              U.S. Secretary of Homeland Security Kirstjen Nielsen


      4
        Rojas-Flores, L., Clements, M., Koo, J. London, J. (2017). Trauma and Psychological Distress in Latino
      Citizen Children Following Parental Detention and Deportation. Psychological Trauma: Theory, Research,
      Practice, and Policy, Vol 9, No. 3, 352.
      5
        Suárez-Orozco, C., (2017). Conferring Disadvantage: Behavioral and Developmental Implications for
      Children Growing up in the Shadow of Undocumented Immigration Status. Wolters Kluwer Health, Inc.,
      426.
      6
        Mays J. & Stevens M. (2018, June 10). Honduran Man Kills Himself After Being Separated From Family at
      U.S. Border, Reports Say. The New York Times. Retrieved from
      https://www.nytimes.com/2018/06/10/us/border-patrol-texas-family-separated-suicide.html.




                                                                                       Exhibit 38, Page201
Case 3:18-cv-00428-DMS-MDD Document 78 Filed 06/25/18 PageID.1613 Page 207 of 259




                  Exhibit K




                                                           Exhibit 38, Page202
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   June 19, 2018



   The Honorable Kirstjen M. Nielsen                         The Honorable Jefferson B. Sessions, III
   Secretary of Homeland Security                            Attorney General of the United States
   3801 Nebraska Avenue, NW                                  U.S. Department of Justice
   Washington, DC 20528                                      950 Pennsylvania Avenue, NW
                                                             Washington, DC 20530
   The Honorable Alex M. Azar, II
   Secretary
   U.S. Department of Health & Human Services
   Hubert H. Humphrey Building
   200 Independence Avenue, SW
   Washington, DC 20201


   Dear Secretary Nielsen, Secretary Azar, and Attorney General Sessions:

   On behalf of the physician and medical student members of the American Medical Association (AMA), I
   am writing to strongly urge the federal government to withdraw its “zero tolerance” policy that requires
   the separation of migrating children from their parents or caregivers. Instead, we urge the Administration
   to give priority to supporting families and protecting the health and well-being of the children within
   those families.

   The Administration’s “zero tolerance” policy was a topic recently discussed at the AMA’s Annual
   Meeting, which includes delegates representing over 170 state and national medical specialty societies.
   During this meeting we heard from delegates that the Administration’s policy will do great harm to
   children and their parents or caregivers, who felt compelled to make a dangerous and uncertain journey
   because of safety concerns in their own countries. Families seeking refuge in the U.S. already endure
   emotional and physical stress, which is only exacerbated when they are separated from one another. It is
   well known that childhood trauma and adverse childhood experiences created by inhumane treatment
   often create negative health impacts that can last an individual’s entire lifespan. Therefore, the AMA
   believes strongly that, in the absence of immediate physical or emotional threats to the child’s well-being,
   migrating children should not be separated from their parents or caregivers.

   We urge you to take prompt action on this matter.

   Sincerely,


   James L. Madara, MD


   cc: Office of Refugee Resettlement, U.S. Department of Health & Human Services



                                                                                     Exhibit 38, Page203
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                  Exhibit L




                                                           Exhibit 38, Page204
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   HOME  ACP NEWSROOM  ACP OBJECTS TO SEPARATION OF CHILDREN FROM THEIR PARENTS AT BORDER




   ACP Objects to Separation of Children from their
   Parents at Border
   Statement attributable to:
   Ana María López, MD, MPH, FACP
   President, American College of Physicians

   Washington, DC (May 31, 2018)—The American College of Physicians strongly objects to the Department
   of Homeland Security’s “zero tolerance ” policy that requires that all unlawful border crossers be
   referred to the Department of Justice for prosecution as a misdemeanor of illegal entry, including parents
   seeking asylum from persecution who enter the U.S. with their children. Their children will be treated as if they
   were “unaccompanied minors,” separated from their parents and sent into facilities administered by the
   federal government.

   In a 2017 position statement  on U.S. immigration policy, ACP expressed our concern about
   immigration policies that would split up families. While ACP policy recognizes the right of the U.S. to
   control who enters its borders, a policy of universally separating children from their parents entering U.S.
   borders will do great harm to children, their parents, and their families.

   Childhood trauma and adverse childhood experiences create negative health impacts  that will last an
   individual’s entire lifespan. Separating a child from his or her parents triggers a level of stress consistent
   with trauma. Families seeking refuge in the U.S. already endure emotional and physical stress, and
   separating family members from each other only serves to dramatically exacerbate that stress.

   The American College of Physicians calls on the Department of Homeland Security, Attorney General
   Sessions, and President Trump to withdraw its new policy to require separation of children from their
   parents, and instead, give priority to supporting families and protecting the health and well-being of the
   children within those families.

                                                                          ***

   About the American College of Physicians

   The American College of Physicians is the largest medical specialty organization in the United States with
   members in more than 145 countries worldwide. ACP membership includes 152,000 internal medicine
   physicians (internists), related subspecialists, and medical students. Internal medicine physicians are specialists

https://www.acponline.org/acp-newsroom/acp-objects-to-separation-of-children-from-their-parents-at-border
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   who apply scientiﬁc knowledge and clinical expertise to the diagnosis, treatment, and compassionate care of
   adults across the spectrum from health to complex illness. Follow ACP on Twitter  and Facebook .




https://www.acponline.org/acp-newsroom/acp-objects-to-separation-of-children-from-their-parents-at-border
                                                                                                            Exhibit 38, Page206    2/2
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                  Exhibit M




                                                           Exhibit 38, Page207
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                         Social Media (http://newsroom.acep.org/acep_social_media)

                                 Contact Us (http://newsroom.acep.org/contact_us)




   ACEP Opposes Current DHS “Zero Tolerance” Immigration
   Policy
   Jun 19, 2018

   WASHINGTON — In response to a Department of Homeland Security (DHS) “zero tolerance”
   policy for addressing illegal border crossings in the Southern United States, Paul Kivela, MD,
   FACEP, president of the American College of Emergency Physicians (ACEP) released the following
   statement opposing the federal policy:

   “ACEP recognizes the right of the United States to regulate immigration and secure its borders,
   but as emergency physicians, a policy of separating children and parents suspected of entering
   the U.S. illegally is cruel and will do great harm to the children.

   “These separations result in signi cant health risks for both children and their parents.  Children
   without criminal records or increased security concerns whose parents seek haven in the United
   States should never be placed in detention facilities.

   “We join other professional medical organizations in opposing this current policy and call on the
   federal government to immediately change course regarding separation of immigrant families
   with children, and instead, give priority to protecting the health and well-being of the vulnerable
http://newsroom.acep.org/2018-06-19-ACEP-Opposes-Current-DHS-Zero-Tolerance-Immigration-Policy
                                                                                                 Exhibit 38, Page208   1/2
6/24/2018
      Case                         News Releases 78
             3:18-cv-00428-DMS-MDD Document      | American
                                                      Filed College of Emergency
                                                              06/25/18           Physicians
                                                                             PageID.1620    Page 214 of 259
   children within these families.”     

   ACEP is the national medical specialty society representing emergency medicine. ACEP is
   committed to advancing  emergency care through continuing education, research and public
   education. Headquartered in Dallas, Texas, ACEP  has 53 chapters representing each state, as well
   as Puerto Rico and the District of Columbia. A Government Services Chapter represents
   emergency physicians employed by military branches and other government agencies. 

   For further information: Mike Baldyga | 202-370-9288 | mbaldyga@acep.org |
   newsroom.acep.org




             Annals of Emergency Medicine (http://www.annemergmed.com/) | EMAF Website
                         (http://www.acep.org/emactionfund/) | ACEP Policy Statements
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                                    Events (http://www.acep.org/meetings-events/)




http://newsroom.acep.org/2018-06-19-ACEP-Opposes-Current-DHS-Zero-Tolerance-Immigration-Policy
                                                                                                 Exhibit 38, Page209   2/2
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                  Exhibit N




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 News Releases




May 30, 2018


APA Statement Opposing Separation of
Children from Parents at the Border
WASHINGTON, D.C. — The American Psychiatric Association issued the following statement from
President Altha Stewart, M.D.:


"As physician experts in mental health, the American Psychiatric Association opposes any policy that
separates children from their parents at the United States border. Children depend on their parents for
safety and support. Any forced separation is highly stressful for children and can cause lifelong trauma, as
well as an increased risk of other mental illnesses, such as depression, anxiety, and posttraumatic stress
disorder (PTSD). The evidence is clear that this level of trauma also results in serious medical and health
consequences for these children and their caregivers. Many families crossing the United States border are
fleeing war and violence in their home countries and are already coping with the effects of stress and
trauma. These children deserve our protection and should remain with their families as they seek asylum.
The APA recommends an immediate halt to the policy of separating children from their parents."


American Psychiatric Association
The American Psychiatric Association, founded in 1844, is the oldest medical association in the country.
The APA is also the largest psychiatric association in the world with more than 37,800 physician members
specializing in the diagnosis, treatment, prevention and research of mental illnesses. APA's vision is to
ensure access to quality psychiatric diagnosis and treatment. For more information please visit
www.psychiatry.org.




    Media Contacts
    Glenn O'Neal, 202-459-9732
    press@psych.org                                                                                        Exhibit 38, Page211
https://www.psychiatry.org/newsroom/news-releases/apa-statement-opposing-separation-of-children-from-parents-at-the-border       1/2
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    Erin Connors, 202-609-7113
    econnors@psych.org




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https://www.psychiatry.org/newsroom/news-releases/apa-statement-opposing-separation-of-children-from-parents-at-the-border       2/2
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                  Exhibit O




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  AAP Statement Opposing Separation of Children
  and Parents at the Border
  5/8/2018 by: Colleen Kraft, MD, MBA, FAAP, President, American Academy of Pediatrics


  “As a pediatrician, as a parent, as the president of the American Academy of Pediatrics (AAP), I am appalled by a new policy
  reportedly signed by Department of Homeland Security that will forcibly separate children from their parents, a practice that
  this Administration has already been carrying out for months. In fact, during my recent trip to the border, I saw its impact with
  my own eyes, and I am not alone in my outrage and dismay at its sweeping cruelty. The AAP is opposed to this policy and will
  continue to urge the Department of Homeland Security and the Department of Justice to reverse it immediately.

  “So many of these parents are fleeing for their lives. So many of these children know no other adult than the parent who
  brought them here. They can be as young as infants and toddlers.

  “Separating children from their parents contradicts everything we stand for as pediatricians – protecting and promoting
  children’s health. In fact, highly stressful experiences, like family separation, can cause irreparable harm, disrupting a child's
  brain architecture and affecting his or her short- and long-term health. This type of prolonged exposure to serious stress -
  known as toxic stress - can carry lifelong consequences for children.

  “The new policy is the latest example of harmful actions by the Department of Homeland Security against immigrant families,
  hindering their right to seek asylum in our country and denying parents the right to remain with their children. We can and
  must do better for these families. We can and must remember that immigrant children are still children; they need our
  protection, not prosecution.”

                                                                      ###



  The American Academy of Pediatrics is an organization of 66,000 primary care pediatricians, pediatric medical subspecialists
   and pediatric surgical specialists dedicated to the health, safety and well-being of infants, children, adolescents and young
                   adults. For more information, visit www.aap.org and follow us on Twitter @AmerAcadPeds.



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 Professional Education Publications
 Education in Quality Improvement for Pediatric Practice (EQIPP)
 Life Support Programs
                                                                                                       Exhibit 38, Page215
https://www.aap.org/en-us/about-the-aap/aap-press-room/Pages/StatementOpposingSeparationofChildrenandParents.aspx                      2/3
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https://www.aap.org/en-us/about-the-aap/aap-press-room/Pages/StatementOpposingSeparationofChildrenandParents.aspx            3/3
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                  Exhibit P




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                                                                                  06/25/18       the stage for a public Page
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APHA > News & Media > News Releases > APHA News Releases > Parent child separation TFAH statement

  Separating parents and children at US border is inhumane and sets the stage for a
  public health crisis
  Date: Jun 15 2018
  APHA Contact: Megan Lowry, 202-777-3913                                                                  Become a Member      >
  TFAH Contact: Becky Salay, 202-864-5945

       Statement from the American Public Health Association and Trust for America’s Health                Donate Now           >
                                                                                                           Newsletter sign up   >
  Washington, D.C., June 15, 2018 — "The Trump administration’s policy of separating
  parents and children at the U.S.-Mexico border will have a dire impact on their health, both
  now and into the future. 

  "As public health professionals we know that children living without their parents face
  immediate and long-term health consequences. Risks include the acute mental trauma of
  separation, the loss of critical health information that only parents would know about their
  children’s health status, and in the case of breastfeeding children, the signi cant loss of
  maternal child bonding essential for normal development. Parents’ health would also be
  affected by this unjust separation.

  "More alarming is the interruption of these children’s chance at achieving a stable
  childhood. Decades of public health research have shown that family structure, stability and
  environment are key social determinants of a child’s and a community’s health.

  "Furthermore, this practice places children at heightened risk of experiencing adverse
  childhood events and trauma, which research has de nitively linked to poorer long-term
  health. Negative outcomes associated with adverse childhood events include some of
  society’s most intractable health issues: alcoholism, substance misuse, depression, suicide,
  poor physical health and obesity.

  "There is no law requiring the separation of parents and children at the border. This policy
  violates fundamental human rights. We urge the administration to immediately stop the
  practice of separating immigrant children and parents and ensure those who have been
  separated are rapidly reunited, to ensure the health and well-being of these children.”

                                                 ###

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      health profession. We speak out for public health issues and policies backed by science. We
       are the only organization that in uences federal policy, has a nearly 150-year perspective
         and brings together members from all elds of public health. Visit us at www.apha.org.

   



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 https://www.apha.org/news-and-media/news-releases/apha-news-releases/2018/parent-child-separation
                                                                                                                        Exhibit 38, Page218   1/1
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                  Exhibit Q




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                                                                                                          70                   7



   June 20, 2018

   Statement on Harmful Consequences of Separating Families at the U.S. Border

   We urge the U.S. Department of Homeland Security to immediately stop separating migrant children from their
   families, based on the body of scientific evidence that underscores the potential for lifelong, harmful consequences
   for these children and based on human rights considerations.

   Reports from the National Academies of Sciences, Engineering, and Medicine contain an extensive body of
   evidence on the factors that affect the welfare of children – evidence that points to the danger of current
   immigration enforcement actions that separate children from their parents. Research indicates that these family
   separations jeopardize the short- and long-term health and well-being of the children involved. In addition, the
   Committee on Human Rights (http://www7.nationalacademies.org/humanrights/) of the National Academies, which
   has a long history of addressing issues at the intersection of human rights, science, and health, stresses that the
   practice of separating parents from their children at the border is inconsistent with U.S. obligations under the
   International Covenant on Civil and Political Rights.

   Parents’ impact on their children’s well-being may never be greater than during the earliest years of life, when a
   child’s brain is developing rapidly and when nearly all of her or his experiences are shaped by parents and the
   family environment (NASEM, 2016, p. 1 (https://www.nap.edu/read/21868/chapter/2)). Young children who are
   separated from their primary caregivers may potentially suffer mental health disorders and other adverse
   outcomes over the course of their lives (NASEM, 2016, p. 21-22 (https://www.nap.edu/read/21868/chapter/3#21)).
   Child development involves complex interactions among genetic, biological, psychological, and social processes
   (NRC and IOM, 2009, p. 74 (https://www.nap.edu/read/12480/chapter/7#74)), and a disruption in any of these –
   such as family disruption – hinders healthy development and increases the risk for future disorders (NRC and IOM,
   2009, p.102-104 (https://www.nap.edu/read/12480/chapter/7#102)). Young children are capable of deep and
   lasting sadness, grief, and disorganization in response to trauma and loss (NRC and IOM, 2000, p. 387
   (https://www.nap.edu/read/9824/chapter/20#387)). Indeed, most mental, emotional, and behavioral disorders
   have their roots in childhood and adolescence (NRC and IOM, 2009, p. 1
   (https://www.nap.edu/read/12480/chapter/2)), and childhood trauma has emerged as a strong risk factor for later
   suicidal behavior (IOM, 2002, p. 3 (https://www.nap.edu/read/10398/chapter/2#3)).

   Decades of research have demonstrated that the parent-child relationship and the family environment are at the
                                                                                                Exhibit 38, Page220
http://www8.nationalacademies.org/onpinews/newsitem.aspx?RecordID=06202018&_ga=2.158375806.559449867.1529328563-861433489.1524492…   1/3
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   foundation of children’s well-being and healthy development. We call upon the Department of Homeland Security
   to stop family separations immediately based on this evidence.

   Marcia McNutt
   President, National Academy of Sciences

   C. D. Mote, Jr.
   President, National Academy of Engineering

   Victor J. Dzau
   President, National Academy of Medicine


          Parenting Matters: Supporting Parents of Children Ages 0-8 (https://www.nap.edu/catalog/21868/parenting-
          matters-supporting-parents-of-children-ages-0-8) (2016)
          Preventing Mental, Emotional, and Behavioral Disorders Among Young People: Progress and Possibilities
          (https://www.nap.edu/catalog/12480/preventing-mental-emotional-and-behavioral-disorders-among-young-
          people-progress) (2009)
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          Literature (https://www.nap.edu/catalog/10698/psychosocial-concepts-in-humanitarian-work-with-children-a-
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          (https://www.nap.edu/catalog/9824/from-neurons-to-neighborhoods-the-science-of-early-childhood-
          development) (2000)


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                            UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF CALIFORNIA

              BEFORE HONORABLE DANA M. SABRAW, JUDGE PRESIDING
       _______________________________________
                                              )
      MS. L. AND MS. C.,                      )
                                              )CASE NO. 18CV0428-DMS
                   PETITIONERS-PLAINTIFFS,    )
                                              )
      VS.                                     )
                                              )SAN DIEGO, CALIFORNIA
      U.S. IMMIGRATION AND CUSTOMS            ) FRIDAY JUNE 22, 2018
      ENFORCEMENT ("ICE"); U.S. DEPARTMENT    ) 12:00 P.M. CALENDAR
      OF HOMELAND SECURITY ("DHS"); U.S.      )
      CUSTOMS AND BORDER PROTECTION ("CBP"); )
      U.S. CITIZENSHIP AND IMMIGRATION        )
      SERVICES ("USCIS"); U.S. DEPARTMENT     )
      OF HEALTH AND HUMAN SERVICES ("HHS");   )
      OFFICE OF REFUGEE RESETTLEMENT ("ORR"); )
      THOMAS HOMAN, ACTING DIRECTOR OF ICE;   )
      GREG ARCHAMBEAULT, SAN DIEGO FIELD      )
      OFFICE DIRECTOR, ICE; ADRIAN P. MACIAS, )
      EL PASO FIELD DIRECTOR, ICE; FRANCES M. )
      JACKSON, EL PASO ASSISTANT FIELD        )
      OFFICE DIRECTOR, ICE; KIRSTJEN NIELSEN, )
      SECRETARY OF DHS; JEFFERSON BEAUREGARD )
      SESSIONS III, ATTORNEY GENERAL OF THE   )
      UNITED STATES; L. FRANCIS CISSNA,       )
      DIRECTOR OF USCIS; KEVIN K.             )
      MCALEENAN, ACTING COMMISSIONER OF       )
      CBP; PETE FLORES, SAN DIEGO FIELD       )
      DIRECTOR, CBP; HECTOR A. MANCHA JR.,    )
      EL PASO FIELD DIRECTOR, CBP;            )
      ALEX AZAR, SECRETARY OF THE             )
      DEPARTMENT OF HEALTH AND HUMAN          )
      SERVICES; SCOTT LLOYD, DIRECTOR         )
      OF THE OFFICE OF REFUGEE RESETTLEMENT, )
                                              )
                   RESPONDENTS-DEFENDANTS.    )
      ----------------------------------------
                    REPORTER'S TRANSCRIPT OF PROCEEDINGS
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      COUNSEL APPEARING TELEPHONICALLY:
      FOR PLAINTIFF:                    LEE GELERNT, ESQ.
                                        ACLU IMMIGRANT RIGHTS PROJECT
                                        125 BROAD STREET 18TH FLOOR
                                        NEW YORK, NEW YORK 10004
                                        BADIS VAKILI, ESQ.
                                        ACLU FOUNDATION OF SAN DIEGO
                                        AND IMPERIAL COUNTIES
                                        P.O. BOX 87131
                                        SAN DIEGO, CALIFORNIA 92138
      FOR DEFENDANT:                    SARAH B. FABIAN, ESQ.
                                        U.S. DEPARTMENT OF JUSTICE
                                        OFFICE OF IMMIGRATION LITIGATION
                                        P.O. BOX 868
                                        BEN FRANKLIN STATION
                                        WASHINGTON, DC 20044
                                        ADAM L. BRAVERMAN
                                        INTERIM UNITED STATES ATTORNEY
                                        BY: SAM BETTWY
                                        ASSISTANT U.S. ATTORNEY
                                        880 FRONT STREET
                                        SAN DIEGO, CALIFORNIA 92101




      REPORTED BY:                        LEE ANN PENCE,
                                          OFFICIAL COURT REPORTER
                                          UNITED STATES COURTHOUSE
                                          333 WEST BROADWAY, ROOM 1393
                                          SAN DIEGO, CALIFORNIA 92101




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  1     SAN DIEGO, CALIFORNIA - FRIDAY, JUNE 22, 2018 - 12:10 P.M.
  2                                    *    *   *
  3              THE CLERK:    NO. 12 ON CALENDAR, CASE NO. 18CV0428,
  4   MS. L. VERSUS U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT; ON FOR
  5   A STATUS CONFERENCE.
  6              THE COURT:    GOOD AFTERNOON.       THIS IS JUDGE SABRAW.
  7              IF COUNSEL CAN HEAR ME, CAN YOU ENTER YOUR
  8   APPEARANCES, PLEASE.
  9              MR. GELERNT:    YES, YOUR HONOR.      THIS IS LEE GELERNT
10    FROM THE ACLU FOR PLAINTIFFS.
11               MR. VAKILI:    GOOD AFTERNOON, YOUR HONOR.       THIS IS
12    BARDIS VAKILI FROM THE ACLU SAN DIEGO FOR PLAINTIFFS.
13               MS. FABIAN:    GOOD AFTERNOON, YOUR HONOR.       SARAH
14    FABIAN WITH THE DEPARTMENT OF JUSTICE FOR DEFENDANTS.
15               MR. BETTWY:    GOOD AFTERNOON, YOUR HONOR.       SAM BETTWY
16    WITH THE U.S. ATTORNEY'S OFFICE FOR DEFENDANTS.
17               THE COURT:    OKAY.       IS THAT ALL COUNSEL?
18               MR. GELERNT:    YOUR HONOR, WE HAVE SOME COUNSEL HERE
19    BUT THEY ARE NOT GOING TO BE SPEAKING.         I DON'T KNOW WHETHER
20    YOU WOULD LIKE US TO ANNOUNCE ALL OF THEM.
21               THE COURT:    NO, THAT'S OKAY.
22               MR. GELERNT:    OKAY.
23               THE COURT:    I JUST WANTED A RECORD FOR TODAY'S
24    APPEARANCES.
25               AND I KNOW WE HAVE A NUMBER OF MEDIA ONLINE, AND I




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  1   THE BEGINNING, THE TEN DOCTORS' AFFIDAVITS.        THEY SHOW THE
  2   HARM ACUTELY AND THEY PREDICTED WHAT WAS GOING TO HAPPEN, AND
  3   SO WHAT HAS HAPPENED AFTER IS JUST CONSISTENT WITH WHAT THEY
  4   TOLD YOU.
  5               THE COURT:   WITH REGARD TO ONE OF THE FORMS OF
  6   RELIEF YOU ARE REQUESTING, AND THAT IS INJUNCTIVE RELIEF TO
  7   REUNIFY THE CHILDREN WHO HAVE ALREADY BEEN SEPARATED SO THAT
  8   THE FAMILIES CAN BE DETAINED TOGETHER; IF THAT RELIEF WERE
  9   GRANTED, WOULDN'T THAT BE GOOD FOR ONLY A 20-DAY PERIOD IN
10    LIGHT OF THE FLORES SETTLEMENT, ABSENT JUDGE GEE MODIFYING.
11                MR. GELERNT:   RIGHT.   YOUR HONOR, I AM GLAD YOU
12    ASKED ABOUT THAT, BECAUSE I DO THINK THE GOVERNMENT HAS BEEN
13    PUSHING THAT NARRATIVE AND I THINK THERE IS SOME CONFUSION IN
14    THE MEDIA.    SO I WANT TO BE AS ABSOLUTELY CLEAR AS POSSIBLE
15    ABOUT THE FLORES SETTLEMENT.
16                AND I THINK, YOU KNOW, AS A LEGAL MATTER I AM NOT
17    SURE THAT THE GOVERNMENT FULLY BELIEVES IT, AND I THINK THAT
18    IS WHY THEY RELEGATED THE FLORES DISCUSSION IN THEIR PAPERS
19    BEFORE YOU TO ONE SENTENCE IN A FOOTNOTE.
20                BUT HERE IS, I THINK, THE SITUATION WITH FLORES.
21                FIRST OF ALL, AT A MINIMUM THEY SHOULD BE DETAINING
22    THE CHILDREN FOR THE 20 DAYS.       SO EVEN UNDER THE GOVERNMENT'S
23    UNDERSTANDING OF FLORES THE FAMILIES NEED TO BE REUNITED, AND
24    THEN PEOPLE CAN SEE WHAT HAPPENS AT 20 DAYS.        BUT I DON'T EVEN
25    THINK THE 20 DAYS WILL ULTIMATELY BE RELEVANT FOR THE




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  1   FOLLOWING REASONS.
  2              MOST FAMILIES ARE RELEASED BEFORE 20 DAYS BECAUSE
  3   THEY ARE NOT A FLIGHT RISK OR A DANGER.       AS YOUR HONOR
  4   PROPERLY NOTED IN HIS OPINION, THESE ARE ASYLUM SEEKERS, THEY
  5   ARE CREDIBLE FEAR, SO MOST ARE GOING TO BE RELEASED.
  6              THE OTHER CRITICAL POINT THAT I THINK HAS GOTTEN
  7   LOST IN THE MEDIA ACCOUNTS AND GOVERNMENT'S NARRATIVE IS
  8   FLORES IS ULTIMATELY, AT THE END OF THE DAY, A SETTLEMENT FOR
  9   THE BEST INTEREST OF THE CHILD.      IF A MOTHER IS GOING TO HAVE
10    HER BOND HEARING AT THE 34TH DAY SHE CAN SAY, I DON'T WANT MY
11    TWO-YEAR-OLD CHILD SENT TO SOME FACILITY IN CHICAGO, I WOULD
12    RATHER HAVE MY CHILD STAY WITH ME IN THIS FACILITY.
13               THE FACT THAT THE FACILITY IN CHICAGO MAY HAVE
14    BETTER CRAYONS AND TOYS DOES NOT MEAN SHE HAS TO ALLOW HER
15    CHILD, UNDER FLORES, TO BE FORCED -- TO BE SENT TO CHICAGO,
16    SHE CAN KEEP HER CHILD WITH HER.       I THINK THAT IS SORT OF
17    BASIC SETTLEMENT LAW.     AND THAT THE PARENT CAN ALWAYS SAY,
18    LOOK, THE BEST INTEREST OF MY CHILD IS TO REMAIN WITH ME.
19               FLORES WAS SET UP FOR SITUATIONS WHERE KIDS ARE
20    UNACCOMPANIED OR THE PARENT SAYS, LOOK, THE CHILD IS 15 YEARS
21    OLD AND HE KNOWS HIS UNCLE VERY WELL IN ST. LOUIS, I AM FINE
22    WITH HIM GOING IN 19 DAYS.
23               BUT NOTHING ABOUT FLORES REQUIRED THE RELEASE OF A
24    CHILD AT 19 DAYS OVER A PARENT'S OBJECTION, SO THAT AGAIN
25    BABIES WILL BE RIPPED OUT OF THEIR PARENT'S ARMS AT THE 19TH




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  1   DAY IN THE DETENTION CENTER.
  2               THE COURT:   BUT HOW DOES FLORES PROVIDE PARENTS WITH
  3   ANY RIGHTS.    AS I UNDERSTAND IT, IT IS A DOCUMENT CREATED FOR
  4   THE MINOR ONLY.
  5               MR. GELERNT:   YOUR HONOR, I THINK THAT IS A GOOD
  6   QUESTION.    WHAT I UNDERSTAND FLORES TO DO, I MEAN WHAT, YOU
  7   KNOW -- AND THE NINTH CIRCUIT HAS SAID THIS, HAS SAID IT
  8   DOESN'T PROVIDE THE PARENT WITH ANY RELEASE RIGHTS.         BUT IT
  9   CERTAINLY DOESN'T TAKE AWAY THE PARENT'S RIGHT TO MAKE
10    DECISIONS FOR THE CHILD, YOU KNOW, ESPECIALLY FOR YOUNG
11    CHILDREN.
12                SO THERE IS NO QUESTION THE PARENT CAN SAY, YEAH,
13    MAYBE I CAN'T CITE FLORES TO GET OUT MYSELF, BUT I CERTAINLY
14    CAN SAY, I HAVE -- I MAKE THE DECISIONS FOR MY CHILD AND KNOW
15    WHAT IS IN THE BEST INTEREST OF MY CHILD, AND CAN WAIVE THE
16    FLORES RIGHT TO RELEASE AT THE 19TH DAY.
17                SO YOUR HONOR IS ABSOLUTELY RIGHT, IT DOESN'T
18    PROVIDE RELEASE FOR THE PARENTS, BUT IT DOESN'T REMOTELY
19    SUGGEST A PARENT IS STILL NOT MAKING DECISIONS FOR THE CHILD'S
20    BEST INTEREST SO THAT THE CHILD DOESN'T HAVE TO BE TORN AWAY.
21                AND AGAIN I WOULD CIRCLE BACK, YOUR HONOR, TO WHAT I
22    SAID IN THE BEGINNING, IS THAT WE ARE NOT EVEN AT THAT
23    SITUATION.    I MEAN, THE GOVERNMENT IS NOT SAYING, WE ARE
24    SENDING KIDS TO BE REUNITED FOR 19 DAYS AND THEN THERE IS THE
25    PROBLEM.




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  1              I THINK THIS WHOLE -- THIS WHOLE IDEA OF FLORES IS
  2   REALLY TO GET RID OF FLORES' OTHER PROTECTIONS FOR KIDS, THAT
  3   FACILITIES HAVE TO BE LICENSED AND ALL OF THAT, AND THEY ARE
  4   USING THE 19-DAY THING AS SORT OF A TRANSPARENT LOOPHOLE.
  5              SO AGAIN, BECAUSE THE PARENT CAN WAIVE THE 19-DAY
  6   RELEASE, ESPECIALLY WHEN IT IS A YOUNG CHILD, BECAUSE THE
  7   GOVERNMENT DOES AND CAN RELEASE PARENTS WHO ARE NOT A FLIGHT
  8   RISK OR A DANGER, ESPECIALLY THE PARENTS WHO HAVE PASSED THE
  9   INITIAL ASYLUM SCREENING, I DON'T THINK FLORES IS AN
10    IMPEDIMENT.
11               THE COURT:    WITH REGARD TO THE RELIEF THAT YOU ARE
12    REQUESTING AND THE CLASS CERTIFICATION, IF WE CAN MOVE TO THAT
13    FOR A MOMENT.
14               DO YOU CONCEDE THAT THE GOVERNMENT CAN PROPERLY
15    SEPARATE A PARENT FROM A CHILD IF THERE ARE OTHER LEGITIMATE
16    CONSIDERATIONS BEYOND DANGER TO THE CHILD.        THOSE COULD
17    INCLUDE, FOR EXAMPLE, CRIMINAL HISTORY, CONTAGIOUS OR
18    COMMUNICABLE DISEASES, THINGS LIKE THAT.        DO YOU CONCEDE THAT?
19               MR. GELERNT:    WELL, YOUR HONOR, I THINK WHAT THAT
20    WOULD DO IS -- I THINK THOSE THINGS, YOU WOULD PUT THEM UNDER
21    THE BEST INTEREST OF THE CHILD OR IF THERE IS A DANGER TO THE
22    CHILD.   SO IF THE PARENT, YOU KNOW, IN THE RARE CASE, HAD A
23    CONTAGIOUS DISEASE THAT WAS GOING TO BE HARMFUL TO THE CHILD
24    AND THERE WAS, YOU KNOW, CLEAR EVIDENCE OF THAT, THEN I THINK
25    OF COURSE, YOUR HONOR.




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  1               WHAT WE WOULD SAY IS, THE PARENT AND CHILD HAVE TO
  2   BE REUNITED, AND THEN ULTIMATELY THE PARENT WILL HAVE TO PASS
  3   THEIR PAROLE OR BOND HEARING.      AND CRIMINAL CONVICTIONS ARE
  4   TAKEN INTO ACCOUNT, AND OTHER INDICIA OF FLIGHT RISK ARE TAKEN
  5   INTO ACCOUNT, AND THOSE WILL BE INDIVIDUALIZED.        WE ARE SIMPLY
  6   SAYING THAT MOST PARENTS WILL GET OUT.
  7               BUT I DON'T THINK YOUR INJUNCTION HAS TO GO ANYWHERE
  8   NEAR DECIDING WHETHER THE GOVERNMENT HAS TO RELEASE A
  9   PARTICULAR PARENT.     I THINK THERE ARE GUIDELINES IN PLACE, AND
10    THOSE GUIDELINES WILL GOVERN WHETHER ANY PARTICULAR PARENT
11    GETS OUT.    WE ARE SIMPLY SAYING THAT MOST PARENTS, ESPECIALLY
12    ASYLUM SEEKERS, WILL GET OUT BECAUSE THEY ARE AT LEAST SHOWN
13    NOT TO BE A FLIGHT RISK OR A DANGER.        BUT I DON'T THINK YOU
14    NEED TO GO SAY ANYTHING ONE WAY OR THE OTHER ABOUT EXACTLY
15    WHAT TYPE OF CRIMINAL CONVICTION MAY LEAD THE GOVERNMENT TO
16    DENY PAROLE OR NOT.
17                THE COURT:   WHAT ABOUT CLASS DEFINITION PURPOSES.
18    DO YOU ARGUE THAT IT SHOULD REMAIN AS DEFINED WHICH COULD
19    INCLUDE PARENTS WITH SOME CRIMINAL HISTORY OR COMMUNICABLE
20    DISEASES.    IT COULD INCLUDE NON ASYLUM SEEKERS WITHIN THE
21    INTERIOR OF THE COUNTRY.     DO YOU STAND ON THE PRESENT
22    DEFINITION?
23                MR. GELERNT:   YOUR HONOR, IF I COULD TAKE THOSE ONE
24    AT A TIME.    I THINK I AM JUST STARTING FROM THE LAST ONE,
25    ABOUT ASYLUM SEEKERS.




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  1              YOU ARE RIGHT, WE DID NOT DEFINE THE CLASS AS ONLY
  2   ASYLUM SEEKERS.    WE THINK THAT MOST OF THESE INDIVIDUALS ARE
  3   ASYLUM SEEKERS.    WE WOULD ASK YOUR HONOR NOT TO LIMIT IT TO
  4   ASYLUM SEEKERS ONLY.
  5              WE UNDERSTAND THAT YOU FEEL THAT THE ASYLUM SEEKERS
  6   ARE A PARTICULARLY POWERFUL CASE.       WE DO THINK, HOWEVER, THERE
  7   MAY BE PARENTS WITH OTHER TYPES OF CLAIMS.        AND, YOU KNOW,
  8   MAYBE THEY ARE GOING TO LOSE, MAYBE THEY ARE GOING TO WIN, BUT
  9   ULTIMATELY TAKING A CHILD AWAY IS ITS OWN DISTINCT HARM.
10               IN TERMS OF THE INJUNCTION NOT ALLOWING YOU -- NOT
11    ALLOWING THE GOVERNMENT TO SEPARATE WHERE THERE IS A DANGER TO
12    THE CHILD, I THINK THAT THAT IS SOMETHING, YOU ARE RIGHT,
13    YOUR HONOR, MAYBE WE DIDN'T DO AS CAREFUL ENOUGH JOB IN
14    SETTING FORTH THE CLASS DEFINITION.       BUT I THINK IF YOUR HONOR
15    WANTS TO MAKE CLEAR THAT THE PARENT IS A DANGER TO THE CHILD
16    WHERE THEY MAY BE ABUSIVE OR NEGLECTFUL OR HAVE A CONTAGIOUS
17    DISEASE OR SOMETHING ALONG THOSE LINES THAT WOULD CONSTITUTE A
18    PERMISSIBLE BASIS FOR SEPARATION UNDER STANDARD CHILD
19    PRACTICES EXERCISED BY THE STATES OR THE FEDERAL GOVERNMENT IN
20    OTHER CONTEXTS, I THINK THAT WOULD BE ABSOLUTELY FINE, YOUR
21    HONOR.
22               THE COURT:    ALL RIGHT.    AND THEN ON THE CLASS
23    DEFINITION WITH RESPECT TO CRIMINAL HISTORY, I UNDERSTAND YOU
24    TO BE ARGUING THAT TO THE EXTENT ANY CLASS DEFINITION INCLUDES
25    PARENTS WHO HAVE SOME CRIMINAL HISTORY, HOWEVER MINOR, THEY




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  1              THE COURT:    ALL RIGHT.
  2              MR. VAKILI:    MR. VAKILI IS ON, YOUR HONOR.      THANK
  3   YOU.
  4              MS. FABIAN:    THIS IS SARAH FABIAN, I AM ON.
  5              THE COURT:    ALL RIGHT.    IS MR. BETTWY WITH US?
  6              OKAY.   THEN WE WILL PROCEED WITH JUST MS. FABIAN.
  7              I BELIEVE WE HAVE MOST, IF NOT ALL, OF THE MEDIA
  8   BACK ON, SO I AM GRATEFUL THAT WE WERE ABLE TO GET THE
  9   CONFERENCE CALL BACK IN ORDER.
10               WHERE WE LEFT OFF, MS. FABIAN WAS ADDRESSING SOME
11    ISSUES.   NOW, BEFORE I ASK THE NEXT QUESTION, MS. FABIAN, DID
12    YOU WANT TO COMPLETE ANYTHING YOU WERE SAYING BEFORE WE WERE
13    INTERRUPTED?
14               MS. FABIAN:    NOT THAT I RECALL, YOUR HONOR.      I
15    APOLOGIZE.
16               THE COURT:    ALL RIGHT.
17               WITH RESPECT TO THE EXECUTIVE ORDER, IT PUTS AN END
18    TO FAMILY SEPARATION.     IT ALSO CONTEMPLATES THAT CRIMINAL
19    PROSECUTION WILL CONTINUE.      AND THAT IF FAMILIES ARE
20    APPREHENDED AT THE BORDER THAT I AM ASSUMING THE GOVERNMENT IS
21    SUGGESTING, THROUGH THE EXECUTIVE ORDER, THAT THE FAMILIES
22    WILL BE DETAINED TOGETHER IN SOME FASHION.        IF SO, HOW IS THAT
23    GOING TO WORK, BECAUSE ONE OF THE CENTRAL ISSUES IN THIS CASE
24    AND ONE OF THE CENTRAL CONCESSIONS IN THIS CASE AS TO
25    PLAINTIFF MS. C. WAS THAT SHE WAS NOT CONTESTING HER INITIAL




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  1   SEPARATION, CONCEDING THAT UNDER EXISTING LAW IF THE
  2   GOVERNMENT ELECTED TO PROSECUTE FOR CRIMINAL ILLEGAL ENTRY IT
  3   WOULD NECESSARILY EFFECTUATE A SEPARATION BETWEEN PARENT AND
  4   CHILD FOR THE PERIOD OF TIME THAT MS. C. WAS IN CRIMINAL
  5   CUSTODY.   AND THEN, OF COURSE, THE ARGUMENT WAS ONCE SHE
  6   COMPLETED HER CRIMINAL SENTENCE AND WAS RETURNED TO
  7   IMMIGRATION DETENTION SHE WAS ENTITLED TO REUNIFICATION.
  8              SO I GUESS THE INITIAL QUESTION IS, IS THIS ZERO
  9   TOLERANCE POLICY CONTINUING; AND, IF SO, HOW DOES THE
10    GOVERNMENT NOT SEPARATE PARENT AND CHILD UNDER THE CURRENT
11    STATUTORY MECHANISM WHICH PROVIDES, OF COURSE, THAT CHILDREN
12    CANNOT BE DETAINED IN CUSTODY WITH THEIR PARENTS WHILE THEY
13    ARE UNDERGOING CRIMINAL PROCEEDINGS.
14               MS. FABIAN:    I AM NOT SURE I CAN ANSWER ALL OF THOSE
15    QUESTIONS TODAY, YOUR HONOR.      I THINK THAT IS -- SOME OF THE
16    IMPLEMENTATION QUESTIONS ARE STILL UNDERWAY.        AND THAT I JUST
17    DON'T HAVE THE INFORMATION TO ANSWER ALL OF THOSE QUESTIONS
18    TODAY.
19               WHAT I WOULD SAY IS THAT TO THE EXTENT THE POLICY
20    THAT WE ARE TALKING ABOUT WAS IMPLEMENTED SINCE THIS CASE WAS
21    BRIEFED AND ARGUED THAT THAT IS -- IF THAT IS SOMETHING THAT
22    THE COURT WANTS PUT BEFORE THE COURT FOR CONSIDERATION, I
23    THINK THAT THAT NEEDS TO BE BROUGHT INTO THE CASE THROUGH
24    BRIEFING BY THE PLAINTIFFS AND RESPONSIVE BRIEFING BY THE
25    DEFENDANT.




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  1              BUT I TAKE THE COURT'S POINT THAT AT THE TIME WHEN
  2   WE WERE TALKING ABOUT MS. C.'S CASE, MS. C. WAS SEPARATED DUE
  3   TO A PROSECUTION.     MY RECOLLECTION IS THAT SHE WAS SENTENCED
  4   TO A PERIOD OF THREE DAYS, AND THAT AT THAT TIME IT WAS
  5   NECESSARY TO EFFECTUATE A SEPARATION.
  6              I JUST CAN'T SPEAK TO THE CHANGES WITH THE NEW
  7   POLICY AND TO THE EXTENT THAT THAT CREATED ADDITIONAL
  8   PROSECUTIONS, AND THEN THE FURTHER EFFECT OF THE EXECUTIVE
  9   ORDER ON THAT DETENTION.     I CAN'T SPEAK TO THAT TODAY.
10               THE COURT:    ALL RIGHT.
11               WITH RESPECT TO THE REUNIFICATION ISSUE, I INQUIRED
12    LAST TIME WHETHER THERE WAS ANY MECHANISM THAT THE GOVERNMENT
13    HAS BETWEEN AND AMONG ITS AGENCIES TO AFFIRMATIVELY REUNIFY;
14    THAT IS H.H.S. AND O.R.R. COMMUNICATING IN SOME INTELLIGENT
15    MANNER WITH OTHER GOVERNMENT AGENCIES UNDER THE UMBRELLA OF
16    D.H.S., LIKE ICE OR B.O.P., SUCH THAT THE PARENT IS AWARE
17    WHERE HIS OR HER CHILD IS.      AND THAT THERE IS A MECHANISM UPON
18    COMPLETION OF HIS OR HER CRIMINAL SENTENCE THAT THE GOVERNMENT
19    CAN BEGIN A REUNIFICATION PROCESS.
20               SO THERE ARE TWO QUESTIONS HERE.       ONE, IS THERE
21    CURRENTLY ANY COMMUNICATION BETWEEN H.H.S. AND, FOR EXAMPLE,
22    D.H.S. OR B.O.P.; AND, NUMBER TWO, IS THERE ANY AFFIRMATIVE
23    REUNIFICATION PROCESS THAT THE GOVERNMENT HAS IN PLACE ONCE
24    PARENT AND CHILD ARE SEPARATED.
25               MS. FABIAN:    I WOULD SAY, YOUR HONOR, WHEN WE SPOKE




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  1   ABOUT THAT INITIALLY, I THINK MY ANSWER -- I RECALL THAT IT
  2   WAS A MORE NARROW QUESTION; AND THAT WAS, WHEN A PARENT IS
  3   RELEASED FROM CRIMINAL CUSTODY AND TAKEN INTO ICE CUSTODY IS
  4   THE PRACTICE TO REUNITE THEM IN FAMILY DETENTION.         AND AT THAT
  5   TIME I SAID NO, THAT THAT WAS NOT THE PRACTICE.
  6               I THINK MY ANSWER ON THAT NARROW QUESTION WOULD BE
  7   THE SAME.    I THINK WHAT YOU ARE ASKING NOW IS A BROADER
  8   QUESTION.    AND ONE THING THAT HAS TO BE CONSIDERED WITH THAT
  9   QUESTION IS THE NUMBER OF DIFFERENT WAYS, AGAIN, THAT A
10    SEPARATION COULD BE EFFECTED, AND THAT IS A SEPARATION DUE TO
11    A DETERMINATION OF DANGER AS OPPOSED TO A SEPARATION THAT MAY
12    RESULT FROM PROSECUTION.
13                ALL OF WHICH GOES TO SAY I STILL THINK ON A BROAD --
14    AS A BROAD MATTER THERE IS NOT A SINGULAR ACTION OF SEPARATION
15    THAT -- IN WHICH, THEN, THE RESPONSE FOR PROCEDURALLY WOULD
16    BE -- WOULD BE THE SAME FOR ALL CASES.       SO THAT IS SORT OF THE
17    PRECURSOR TO MY ANSWER.
18                THERE ARE PROCEDURES BY WHICH O.R.R. THEN RELEASES
19    MINORS TO THE CUSTODY OF A PARENT WHO HAS BEEN RELEASED FROM
20    CUSTODY, AND THOSE ARE THE PROCEDURES UNDER THE T.V.P.R.A. FOR
21    REUNIFICATION.    WHETHER THERE IS -- IN LIGHT OF ADDITIONAL
22    SEPARATIONS WHETHER THERE ARE ADDITIONAL PROCEDURES THAT CAN
23    BE PUT IN PLACE TO IMPROVE THOSE PROCEDURES OR EXPEDITE THOSE
24    PROCEDURES, I THINK THAT IS SOMETHING THAT IS THE SUBJECT OF
25    ONGOING DISCUSSION.     BUT AT THE MOMENT THE PROCESS IS THE




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  1   SAME, AND IT IS THE RELEASE PROCESS UNDER THE T.V.P.R.A.
  2              AS FAR AS COMMUNICATIONS BETWEEN O.R.R. AND D.H.S.,
  3   I THINK -- I KNOW THAT THERE ARE COMMUNICATIONS.         I THINK TO
  4   THE EXTENT THAT THAT IS SOMETHING THE COURT WANTS TO CONSIDER,
  5   I THINK -- AS WITH MUCH OF THIS, I THINK THAT THIS IS
  6   SOMETHING THAT THE COURT WOULD -- WHAT THE GOVERNMENT WOULD
  7   SUGGEST IS THAT THE COURT SHOULD TAKE -- GIVE THE OPPORTUNITY
  8   FOR BRIEFING AND PERHAPS THE SUBMISSION OF EVIDENCE OR A
  9   HEARING OR SOMETHING TO THAT EXTENT.        BECAUSE I DON'T THINK
10    THAT I CAN MAKE ANY REPRESENTATIONS TODAY THAT WOULD BE
11    SUFFICIENT FOR THE COURT TO BE ABLE TO RELY ON.
12               THE COURT:    YOU MENTIONED THAT THERE IS SOME
13    COMMUNICATION BETWEEN O.R.R. AND D.H.S. AGENCIES.         WHAT ARE
14    THOSE?
15               MS. FABIAN:    WHEN A CHILD IS SEPARATED OR IS --
16    REGARDLESS, WHEN D.H.S. IS GOING TO TRANSFER A CHILD TO THE
17    CUSTODY OF O.R.R. THERE IS A PORTAL THAT IS USED TO
18    ESSENTIALLY MAKE THAT REQUEST FOR A SPACE TO BE PROVIDED BY
19    O.R.R.
20               SO IN THAT D.H.S. WILL PUT THE INFORMATION REGARDING
21    THE CHILD, REGARDING -- GENERALLY THAT WILL NOTATE THAT.          IF
22    IT HAS BEEN A SEPARATION THE SAME PORTAL WOULD ALSO BE USED
23    FOR A U.A.C., BUT GENERALLY IN THAT THERE WOULD BE PROVIDED
24    INFORMATION OF A SEPARATION.      SO THAT INFORMATION, THEN, IS
25    ABLE TO BE SHARED WITH O.R.R. AND O.R.R. IS ABLE TO BE AWARE




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  1   OF THAT.
  2              I DO KNOW THAT O.R.R. WILL THEN, WHEN THEY TAKE
  3   CUSTODY OF THE CHILD, WHEN THEY ARE AWARE THAT THE CHILD WAS
  4   SEPARATED FROM THE PARENT, FOLLOW UP AND MAKE EFFORTS TO ALLOW
  5   THE CHILD TO COMMUNICATE BACK WITH THEIR PARENT THROUGH D.H.S.
  6              THE COURT:    DO YOU KNOW WHETHER THAT IS OCCURRING?
  7   WHAT YOU HAVE OUTLINED IS A MECHANISM BY WHICH D.H.S.
  8   COMMUNICATES WITH O.R.R., BUT IS THERE COMMUNICATION FROM
  9   O.R.R. TO D.H.S. WHICH WOULD HELP ASSIST REUNIFICATION?          DO
10    YOU KNOW THAT TO BE A FACT?
11               MS. FABIAN:    THERE IS A RECENT MEMORANDUM OF
12    UNDERSTANDING BETWEEN O.R.R. AND D.H.S. IN WHICH D.H.S. DOES
13    ASSIST O.R.R. IN OBTAINING INFORMATION FOR THE SUITABILITY
14    ANALYSIS WHEN O.R.R. IS RELEASING A MINOR.        SO TO SOME EXTENT
15    THAT DOES PROVIDE SOME AVENUE FOR COMMUNICATION.
16               I DON'T -- TODAY I DON'T WANT TO MISREPRESENT
17    EXACTLY WHETHER THERE IS A FORMAL POLICY.        I BELIEVE THERE IS
18    COMMUNICATION, BUT WHETHER THERE IS SORT OF A FORMAL AVENUE OF
19    COMMUNICATION, I CAN'T SPEAK TO THAT TODAY.
20               AGAIN, I WOULD SAY -- ASK FOR THE OPPORTUNITY TO
21    SUBMIT TO THE COURT SOMETHING IN THE FORM OF BRIEFING OR
22    ANOTHER EVIDENTIARY SUBMISSION ON THAT.
23               THE COURT:    BUT WHEN THE O.R.R. CONSIDERS RELEASE TO
24    THE PARENT OR AN APPROPRIATE GUARDIAN UNDER THE T.V.P.R.A.,
25    THAT OFTEN OCCURS.     AND WITH RESPECT TO RELEASE TO A PARENT IT




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  1   ONLY OCCURS, FROM MY UNDERSTANDING, WHEN THE PARENT INITIATES
  2   THE EFFORT TO REUNIFY.     IS THAT CORRECT?
  3              MS. FABIAN:    I BELIEVE THAT IS THE TRADITIONAL WAY,
  4   AND IT IS FREQUENTLY THE WAY THAT THAT IS INITIATED.
  5              I UNDERSTAND THAT O.R.R. WILL ALSO, IF THEY ARE
  6   AWARE THAT THE CHILD HAS A PARENT, THEY WILL MAKE EFFORTS TO
  7   REACH OUT TO THE PARENTS.
  8              NOW, WHETHER O.R.R. HAS THE MECHANISM TO DISCOVER
  9   WHEN THE PARENT IS RELEASED FROM CUSTODY, I DON'T BELIEVE THEY
10    DO.   BUT O.R.R. WILL MAKE EFFORT IF THE CASE WORKER AT O.R.R.
11    IS AWARE THAT THE CHILD HAS BEEN SEPARATED FROM A PARENT.          OR
12    EVEN THAT, FOR EXAMPLE, IF THE CHILD COMES INTO THE COUNTRY
13    WITH THE PHONE NUMBER OF A RELATIVE, O.R.R. WILL MAKE EFFORTS
14    TO REACH OUT TO THAT RELATIVE AND FACILITATE THE
15    REUNIFICATION.
16               SO I THINK THE SAME PROCESS WOULD BE USED IF O.R.R.
17    IS AWARE THAT THE CHILD WAS SEPARATED FROM A PARENT, O.R.R.
18    WILL MAKE SIMILAR EFFORTS TO LOCATE THE PARENTS AND TO
19    FACILITATE REUNIFICATION THAT WAY.
20               THE COURT:    O.R.R. IS NOT NOTIFIED BY D.H.S. OR
21    B.O.P. WHEN A PARENT IS RELEASED FROM CRIMINAL CUSTODY, IS IT?
22               MS. FABIAN:    NOT TO MY KNOWLEDGE.
23               THE COURT:    THE REUNIFICATION PROCESS, THEN, OCCURS,
24    IF AT ALL, BASED ON THE PARENT'S EFFORT TO LOCATE AND TRACK
25    DOWN THEIR CHILD.     AM I CORRECT?




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                                                                       41
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  1              I WANT TO ADD THAT SOME OF THE ISSUES THAT THE COURT
  2   HAS BEEN ASKING ABOUT, THIS ABILITY TO LOCATE, AND I THINK
  3   YOUR HONOR ASKED ABOUT THE QUESTION OF PARENTS BEING REMOVED
  4   WITHOUT THEIR CHILD.     WELL, I AGREE THAT THOSE ARE DIFFICULT
  5   ISSUES AND IMPORTANT ISSUES TO TALK ABOUT.        I AM NOT SURE THAT
  6   THEY ARE A PART OF THIS CASE IN TERMS OF THEY WERE NOT PLED IN
  7   THE ORIGINAL COMPLAINTS AND THEY ARE NOT SITUATIONS THAT ARE
  8   ENCOMPASSED BY THE NAMED PLAINTIFFS.
  9              SO I THINK I WOULD REITERATE MY CONCERNS WITH
10    ENCOMPASSING TOO MUCH -- WITH BRINGING THESE ISSUES INTO THE
11    CASE AT THIS TIME AND WITHOUT THE OPPORTUNITY FOR PUTTING IN
12    SOME EVIDENCE OF THAT TO SORT OF REACH DECISIONS IN THIS CASE
13    BASED ON NEWS REPORTS.     WHILE I UNDERSTAND THAT THE COURT IS
14    CONCERNED WITH THOSE AND MAY BE INTERESTED IN THOSE, I THINK
15    WE NEED TO CONSIDER WHAT HAS BEEN BRIEFED IN THIS CASE.
16               THE COURT:    THAT WAS ONE OF THE CLAIMS FOR RELIEF,
17    THOUGH, SET OUT EITHER IN THE AMENDED COMPLAINT OR IN THE
18    MOTION FOR PRELIMINARY INJUNCTION WAS FOR REQUESTING THE COURT
19    TO ORDER AN INJUNCTION TO PROHIBIT THE REMOVAL OF PARENT AND
20    CHILD AT SEPARATE TIMES.     SO IT SEEMED TO ME THAT IT WAS PART
21    AND PARCEL OF THIS REUNIFICATION ISSUE AS IT RELATES TO, FOR
22    EXAMPLE, MS. C.'S CASE.     DO YOU DISAGREE?
23               MS. FABIAN:    NO.   I AGREE.    AND AS YOUR HONOR SAYS,
24    I DO RECALL THAT THAT IS -- PART OF THE CHALLENGE HERE IS THAT
25    THERE WAS NOT -- WITHOUT A PROPOSED ORDER I THINK THERE WAS




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                                                           Exhibit 38, Page248
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                  Exhibit U




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Torn Apart by Zero Tolerance, Kept
Apart by Red Tape
By Miriam Jordan

June 24, 2018


Mother and son last spoke on the child’s ninth birthday, a week ago. This was no celebratory call.

Lidia Karina Souza had been released from immigration detention nearly two weeks earlier. But
she could not tell Diogo, who was separated from her shortly after they reached the United
States, when they would see each other again.

“Don’t cry. You are going to get a Nintendo, a birthday party. Don’t worry,” Ms. Souza, who is from
Brazil, told her son. The telephone conversation was recorded and later provided to The New
York Times.

They had parted ways at the southwest border on May 30. Ms. Souza was locked up. Diogo was
ﬂown to Chicago, where he was placed in a shelter. Ms. Souza was released on June 9 and allowed
to join relatives in Hyannis, Mass., but it is still not clear when her son will rejoin her.

“I am going to do everything to get you out of there,” she told him on the call. “It’s so many papers
they need.”

President Trump has ofﬁcially ended the policy of separating families when parents are being
prosecuted under the “zero tolerance” border enforcement program that took effect in May. But
frustrating stories like that of the Souza family are playing out across the country, as parents of
more than 2,300 children who were separated after their arrival in the United States now face
lengthy bureaucratic delays in recovering them.

While some of the children have been reunited with their parents in recent days, interviews with
immigration lawyers and government ofﬁcials suggest that most of the children are likely to
remain parked in group facilities or foster homes for some time to come.

“There was clearly no plan for reuniting the families,” said Karen Hoffmann, an immigration
attorney at Aldea-The People’s Justice Center in Reading, Penn., who is suing the government to
reunite three migrants with their children.

Part of the problem is that in many cases, parents and children are being detained thousands of
miles apart, and the parents do not know exactly where their children are. Though federal
agencies have registered each child with an identiﬁcation number and set up hotlines for parents,
                                                                                                        Exhibit 38, Page250
https://www.nytimes.com/2018/06/24/us/family-separation-brazil.html?hp&action=click&pgtype=Homepage&clickSource=story-heading&module=first-c…   1/5
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immigrant advocates say that many parents have trouble getting through or are not given
answers when they call.

Late Saturday, the departments of Homeland Security and Health and Human Services
announced that they had a “well-coordinated” process for reuniting families. As of June 20, their
statement said, there were 2,053 separated minors in government custody. It said that another
522 children who had not yet been sent by the Border Patrol to a shelter or a foster family were
returned to their parents at the border.

“A parent who is ordered removed from the U.S. may request that his or her minor child
accompany them,” the statement said. “It should be noted that in the past, many parents have
elected to be removed without their children.”

If a parent is released from detention, the authorities say, he or she will be reunited with a
separated child once the parent fulﬁlls requirements set by the government. But as Ms. Souza’s
case illustrates, the red tape can cause lengthy delays.

Senator Chuck Schumer, Democrat of New York, called on the Trump administration on Sunday
to appoint a “czar” to be in charge of coordinating federal agencies to quickly reunite families.

“You don’t need to be a foreign relations expert to know that the situation created by zero
tolerance has left many people with zero conﬁdence that the administration will be able to quickly
reunite the kids,” Mr. Schumer said at a news conference.

Noting that three different cabinet departments had a role in the situation, Mr. Schumer said, “No
one is really in charge if there are three people in charge.”

Shortly before the government ofﬁcially announced the zero tolerance policy, it issued a
memorandum setting stringent new rules for vetting parents, relatives and other potential
sponsors who wish to get children from government custody.

For one thing, the memo said that Health and Human Services must obtain the “citizenship,
immigration status, criminal history and immigration history” of the potential sponsor. It also
said that the department must collect the names, dates of birth, addresses, ﬁngerprints and
identiﬁcation documents of the potential sponsor and “all adult members in the potential
sponsor’s household,” and provide that information to Immigration and Customs Enforcement,
the agency that oversees deportation.

Previously, Health and Human Services did not share such information with ICE; other members
of the household were not typically screened as part of the process; and parents did not have to
be ﬁngerprinted to get their children back.



                                                                                                        Exhibit 38, Page251
https://www.nytimes.com/2018/06/24/us/family-separation-brazil.html?hp&action=click&pgtype=Homepage&clickSource=story-heading&module=first-c…   2/5
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“We have cases of Brazilian minors who remain in a shelter because of the new demands, which
ended up intimidating relatives who wanted to bring them home,” said Luisa Lopes, the director
of consular affairs for Brazilians abroad. Ms. Lopes said she is aware of 49 Brazilian children who
were separated from their parents.

Ms. Souza, 27, and her son turned themselves in to the Border Patrol on May 29, declaring that
they had a fear of returning to their home country and wished to obtain asylum in the United
States. The following day, an agent used Google Translate, she said, to explain to her — as Diogo
erupted in tears — that because she had not presented herself at an ofﬁcial port of entry, she had
entered the United States illegally; therefore she would go to jail, and he would go to a shelter.
The son saw his mother being handcuffed.

“I told him, I’m not going to jail,” she recalled in an interview conducted in Portuguese. “I am
going to a place with other mothers. You are going to a place for children.”

Ms. Souza appeared soon after in federal court in El Paso, where she pleaded guilty to illegal
entry, a misdemeanor, and was sentenced to time served. Three detention centers and 10 days
later, she was allowed to join a relative in Massachusetts, having passed an interview meant to
ascertain whether she had a credible reason to fear returning to Brazil.

Before the authorities dropped her off in Dallas for her ﬂight to Boston, they handed her a toll-
free number she could call to locate Diogo.

She tried the number when she reached Massachusetts, but she could not get through to anyone.

“I was devastated, desperate, crazed,” she said.

Ms. Souza, an evangelical Christian, said she sought strength in prayer.

She also searched on Facebook for a Brazilian woman she had met in detention whose child had
also been removed from her. The woman, who is now in Pennsylvania, told Ms. Souza that her
daughter had been at a shelter in Chicago called Casa Guadalupe and had befriended a Brazilian
boy there named Diogo. She gave Ms. Souza the number.

Mother and son spoke for the ﬁrst time in more than two weeks. She learned that Diogo had
contracted chickenpox and, as a result, was isolated from other children. He sobbed, pleading for
his mother to come get him.

Since then, they have been allowed to speak to each other by phone twice a week, for 10 minutes
at a time.

“It has been 16 days, but don’t worry,” Ms. Souza told her son over one call that was recorded.
“It’s coming to an end. Be well. Stay with Jesus. With God on our side, it will all work out.”

                                                                                                        Exhibit 38, Page252
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To get her son back, Ms. Souza learned, she would have to provide the shelter, which is run by
Heartland Alliance, with a mountain of documents.

Assisted by a lawyer, Ms. Souza ﬁlled out a 36-page packet and submitted documents attesting to
her relationship to Diogo. But “every day, they wanted something else,” Ms. Souza in an interview
on Saturday.

For example, the adults in the family with whom she lives in Hyannis also had to submit ﬁve
pages of personal information for a background check.

On another call, Diogo urged his mother to hurry his release. With his voice breaking, the boy
begged, “Ai, Mom, get the papers done fast.”

“It isn’t up to me,” she tried to explain. “I am doing everything, but it’s a lot of paperwork to
handle.”

But more days passed, and more requirements had to be met.

The last straw, she said, was the ﬁngerprint request last week. A case worker notiﬁed Ms. Souza
that she and two other adults in the household would have to visit a designated location in their
area to be ﬁngerprinted — on July 6. Her request to get back her son would then take 22 days to
be approved, she was told.

“They said she can only get the child in August,” said Jesse Bless, her lawyer. “That is completely
unacceptable. What kind of process for reuniﬁcation is this?”

“It was zero tolerance, zero planning, zero thought,” said Mr. Bless, a senior counsel at Jeff
Goldman Immigration, based in Boston, who has taken Ms. Souza’s case pro bono.

He expressed outrage to shelter managers, telling them that Ms. Souza had already been
ﬁngerprinted at the border. In response, a Health and Human Services ofﬁcial emailed Mr. Bless,
saying: “Policy and Procedures recently changed and requires all household members and
sponsor’s to ﬁngerprint. I can assure you that while at Heartland, Diogo is not isolated.

“Case Managers at Heartland truly care about our children and are working diligently to ensure
all of our minors are safely released.”

Mr. Bless said that after he threatened to sue the shelter, “they agreed to a more expedited, but
undeﬁned schedule.” Unsatisﬁed, he said on Sunday that he intended to travel to Chicago to press
the matter further.

Meanwhile, Ms. Souza is next scheduled to speak with her son on Wednesday.



                                                                                                        Exhibit 38, Page253
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Her last words to him on his tear-ﬁlled birthday were: “Don’t cry. I want you to be okay. Please be
strong. O.K., son? Stay with Jesus, my son. Tchau. I love you.”

“I love you too,” the boy responded.

Correction: June 23, 2018
Because of an editing error, a picture caption with an earlier version of this article misspelled Lidia
Souza’s middle name. It is Karina, not Karine.


Nikita Stewart contributed reporting.

A version of this article appears in print on June 24, 2018, on Page A14 of the New York edition with the headline: Torn Apart at the Border, Kept Apart by Red
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